              Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 1 of 216
                           Home Team Marketing, LLC - List of Creditors


1100 King Associates LLC
PO Box 21739
New York, NY 10087-1739

21st Century Charter School
Attn: Ricky Haskins
724 Washington St
Gary, IN 46402


A & M Consolidated High School
Attn: Lee Fedora
1801 Harvey Mitchell Parkway S
College Station, TX 77840


A P Randolph Academics Of Technology
Attn; Cathy Barnes
1157 Golfair Blvd
Jacksonville, FL 32209

Academy of Careers and Exploration
Attn: David Van Norman
15350 Riverview Road
Helendale, CA 92342

ACE HIGH SCHOOL
Attn: David Van Norman
13943 Rivers Edge Road
HELENDALE, CA 92342

Activities Beyond the Classroom
ATTN: Brian Leshner or Latricia Jones
635 West 7th Street
Cincinnati, OH 45203

Adams High School
Attn: Tammy Berebitsky
808 S. Twyckenham Dr
South Bend, IN 46615

Adrian High School
Attn: Abe Lewis
601 N Houston St
Adrian, MO 64720

Adrian RIII School
Attn; Abe Lewis
601 N Houston St
Adrian, MO 64720


Affton High School
Attn; Dan Oliver
8309 Mackenzie Rd
Saint Louis, MO 63123

                                         Page 1
              Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 2 of 216




Agbu Manoogian Demirdjian School
Attn: Arpi Avanesian-Idolor
6844 Oakdale Ave
Canoga Park, CA 91306

Akins High School
Attn: Leal Anderson
10701 S. 1st Street
Austin, TX 78748

Alamo Heights High School
Attn: Jennifer Roland
6900 Broadway St
San Antonio, TX 78209

Alba-Golden Junior Senior High School
Attn; Derek Smith
1373 County Rd 2377
Alba, TX 75410

Albany Junior Senior High School
Attn; Kevin Hill
501 E. South 1st St
Albany, TX 76430

Alcorn Central High School
Attn: Jarrad Robinson
8 Country Road 264
Glen, MS 38846


Alcovy High School
Attn; Kris Williams
14567 Highway 36
Covington, GA 30014

Aldine Senior High School
Attn; Carl Semler
11101 Airline Dr
Houston, TX 77037

Alexandria-Monroe High School
Attn; Mickey Hosier
1 Burden Ct
Alexandria, IN 46001

Alhambra High School
Attn; Wendy Truvillion
3839 W Camelback Rd
Phoenix, AZ 85019

Alhambra High School
Attn; Jerry DeSantis
101 S 2nd St
                                        Page 2
                Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 3 of 216



Alhambra, CA 91801

Alhambra High School
Attn; Pat Ertola
150 E St
Martinez, CA 94553

All Saints Episcopal School
Attn; Eddie Francis
2695 W SW Loop 323
Tyler, TX 75701

Allen County-Scottsville High School
Attn; Kerry Harwood
1545 Bowling Green Rd.
Scottsville, KY 42164

Allen   Park High School
Attn;   Kenneth Stephens
18401   Champaign St.
Allen   Park, MI 48101

Allendale High School
Attn; James Hogan
10760 68th Ave Box 40
Allendale, MI 49401

Allstate Insurance
Attn: Clay Colvard
1726 Cherokee Ace SW, Ste C
Cullman, AL 35055

Alpena High School
Attn; Tim Storch
3303 South 3rd Street
Alpena, MI 49707

Alpha Omega Academy
Attn; Paul Davidhizar
3891 SH 30
Huntsville, TX 77340

Alpharetta High School
Attn: Brian Leonard
3595 Webb Bridge Road
Alpharetta, GA 30005

Alter High School
Attn; Rick Willits
940 E David Rd
Kettering, OH 45458

Altoona Area High School
                                        Page 3
                Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 4 of 216



Phil Riccio
1415 6th Ave
Altoona, PA 16602

Alvarado Athletic Booster Club
Attn: Jeff Dixon AD
PO Box 387
Alvarado, TX 76009


Alvarado High School
Attn: Jeff Dixon AD
PO Box 387
Alvarado, TX 76009


Alvarado High School
Attn; Jeff Dixon
1301 S. Parkway
Alvarado, TX 76009

AlWood High School
Attn: Ali Jones
301 E. Fifth Ave
Woodhull, IL 61490

Amador High School
330 Spanish St
Sutter Creek, CA 95685

Amarillo High School
Attn: Chad Dunman
4225 Danbury
Amarillo, TX 79109

Amelia High   School
Attn: James   Collins
1351 Clough   Pike
Batavia, OH   45103

American High School
Attn: Tracy Kalning
36300 Fremont Blvd
Fremont, CA 94536

American High School
Attn; Lisa Lopez
36300 Fremont Blvd
Fremont, CA 94536

American International School of Utah
Attn: Megan Sticht
4998 Galleria Dr
Murray, UT 84123


                                        Page 4
              Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 5 of 216



American Senior High School
18350 NW 67th Ave
Hialeah, FL 33015

Amphitheater High School
Attn; Jon Lansa
125 W Yavapai Rd
Tucson, AZ 85705


Anaheim High School
Attn; Alfonso Rodriguez
811 W Lincoln Ave
Anaheim, CA 92805


Anahuac High School
Attn; Jason Speights
804 MIKHAEL RICKS DR
Anahuac, TX 77514

Anderson High School
Attn: Leal Anderson
8403 Mesa Dr
Austin, TX 78759

Anderson High School
Attn; Chris Newton
7560 Forest Rd
Cincinnati, OH 45255

Anderson Preparatory Academy
Attn: Jill Barker
101 WEST 29TH ST
Anderson, IN 46016

Anderson Shiro Junior Senior High School
Attn: Brad Hodges
458 FM 149 WEST
Anderson, TX 77830

Andrean High School
Attn: Tony Bonta
5959 Broadway
Merrillville, IN 46410

Andress High School
Attn: Martha Teran / James Forbes
5400 Sun Valley Dr
El Paso, TX 79924


Andrew High School
Attn: Michael Dwyer
9001 W 171st St.
Tinley Park, IL 60477

                                        Page 5
              Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 6 of 216




Andrew Jackson High School
Attn; Nina Farmer
3816 N Main St
Jacksonville, FL 32206

Anna-Jonesboro High School
Attn: Rick Livesay
608 S Main St
Anna, IL 62906

Annandale High School Athletic
Attn: Karl Kerns
4700 Medford Dr
Annandale, VA 22003

Annawan High School
Attn: Caitlyn Demay or Matt Huber
501 W South St
Annawan, IL 61234

Antelope Valley High School
Attn; Jason Chronister
44900 N Division St
Lancaster, CA 93535

Anthony Wayne High School
Attn: John Snyder - Athletic Department
5967 Finzel Rd.
Whitehouse, OH 43571


Antioch Senior High School
Attn; Steve Sanchez
700 W 18th St
Antioch, CA 94509

Antonian College Preparatory High School
Attn: Chana Finch or Devlyn Lovell
6425 West Ave
San Antonio, TX 78213

Apache Junction High School
Attn: Kristina Harshman
2525 S Ironwood Dr
Apache Junction, AZ 85220

Apalachee High school
Attn; Spencer Bernstein
940 Haymon Morris Rd
Winder, GA 30680

Appleton High School East
Attn: Tim Zachow
2121 Emmers Dr
                                        Page 6
              Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 7 of 216



Appleton, WI 54915

Appleton North High School
Attn: Kevin Herrling
5000 N Ballard Rd.
Appleton, WI 54913

Aptos High School
Attn: Mark Dorfman
100 Mariner Way
Aptos, CA 95003

Aquinas Institute
Attn: Anthony Bianchi
1127 Dewey Avenue
Rochester, NY 14613

Aransas Pass High School
Attn; Wanese Butler
450 S. Avenue A
Aransas Pass, TX 78336

Arapahoe High School
Attn: Pat McCabe
2201 E Dry Creek Rd
Centennial, CO 80122

Arcata High School
Attn; Troy Ghisetti
1720 M St
Arcata, CA 95521

Archbishop Carroll High School
Attn: Allison Papantoniou or Brady Kramer
211 Matson Ford Rd
Radnor, PA 19087

Archbishop Coleman Carroll High School
Attn: Melanie Garcia
10300 SW 167th Ave
Miami, FL 33196

Archbishop Hanna High School
Leslie Petersen
17000 Arnold Drive
SONOMA, CA 95476

Archbishop Hannan High School
Attn: Joe Hines
71324 Highway 1077
Covington, LA 70433

Archbishop Hoban High School
                                         Page 7
              Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 8 of 216



Attn: Randy Thomas or Matt Bing
1 Holy Cross Blvd.
Akron, OH 44306

Archbishop Moeller High School
Attn; Mike Asbeck
9001 Montgomery Rd.
Cincinnati, OH 45242


Archbishop Shaw High School
Attn; Tom Alef
1000 Barataria Blvd
Marrero, LA 70072


Archbishop Stepinac High School
Attn; Mike O'Donnell
950 Mamaroneck Ave
White Plains, NY 10605

Archer High School
Attn: Tim Watkins
2255 New Hope Road
Lawrenceville, GA 30045

Archie High School
Attn: Bryon Cecil
302 W State Rt A PO Box 106
Archie, MO 64725

ARIZONA COLLEGIATE HIGH SCHOOL
Attn; FRANK BURNSED
3161 N 33rd Ave
PHOENIX, AZ 85017

Arlington High School
Attn; Scott Peach
818 W Park Row Dr
Arlington, TX 76013

Armada High School
Attn: Don Holston
23655 Armada Center Rd
Armada, MI 48005

Armstrong Middle School
Attn: Greg Arp
3805 Timberline Drive
Plano, TX 75074

Armwood Football
Attn: Evan Davis
12000 E US Hwy 92
Seffner, FL 33584

                                      Page 8
                Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 9 of 216




Arrowhead High School
Attn: Kevin Flegner or Ryan Mangan
800 North Ave.
Hartland, WI 53029

Arroyo High School
Attn; Andy Waranoff
15701 Lorenzo Ave
San Lorenzo, CA 94580

Arthur Hill High School
Attn; Benjamin Leal
3115 Mackinaw St.
Saginaw, MI 48602

Asbury Park High School
Walter Barrett
1003 Sunset Ave
Asbury Park, NJ 07712

Ashdown High School
Attn; Matt Richardson
751 Rankin St
Ashdown, AR 71822

Ashland High School
Attn; Jason Goings
1407 Claremont Ave
Ashland, OH 44805


Assumption High School
Attn: Carey Jones or Andy Craig
1020 W Central Park Ave
Davenport, IA 52804

Astoria High School
Attn: Howard Rub
1001 W Marine Dr
Astoria, OR 97103

Atascocita   High School
Attn: Troy   Kite
13300 Will   Clayton Parkway
Humble, TX   77346

Atlanta High School
Attn; Terre Gaston
106 W Main St
Atlanta, TX 75551

Atlantic High School
Attn; Zach Rigney
1250 Reed Canal Rd
                                         Page 9
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 10 of 216



Port Orange, FL 32129

Auburn High School
Attn: Susie Capella or Dave Bates
511 N. Seventh Street
Auburn, IL 62615

Auburndale Senior High School
1 Bloodhound Trl
Auburndale, FL 33823

Aurora Central High School
Attn: Robert Harrison
11700 E 11th Ave
Aurora, CO 80010

Aurora High School
Attn: Paul Powers
109 W Pioneer Trl
Aurora, OH 44202

Aurora High School
Attn: Scott Spooner
305 W Prospect St
Aurora, MO 65605

Aurora West College Preparatory
Academy High School
Attn; Tyler Smith
10100 E 13Th Ave
Aurora, CO 80010

Austin High School
Attn: Rodney Chant
3434 Pheasant Creek Drive
Sugar Land, TX 77498

Austin High School
Attn; Leal Anderson
1715 W Cesar Chavez
Austin, TX 78703

Austin High School
Attn; Lisa Quednow-Bickler
301 Third Ave NW
Austin, MN 55912

Austintown Fitch High School
Attn: Lewis E VanHoose or Rob Conklin
4560 Falcon Dr.
Austintown, OH 44515

Avant Garde Academy
                                        Page 10
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 11 of 216



Attn: Pamela Wolfgramm
2880 N Orange Blossom Trail
Kissimmee, FL 34741

Avon High School
Attn: Erich Frombach
37545 Detroit Rd.
Avon, OH 44011


Avondale High School
Attn; Keith Gust
2800 Waukegan
Auburn Hills, MI 48326


Ayala   High School
Attn;   Warren Reed
14255   Peyton Dr
Chino   Hills, CA 91709

Badin High School
Attn: Geoff Melzer
571 Hamilton New London Rd
Hamilton, OH 45013

Baldwin High School
Attn; Joe Graham
291 Mill St W
Baldwin, FL 32234

Baltimore Polytechnic Institute
Attn: Carla Barrera
1400 W Cold Springs Ln
Baltimore, MD 21209

Bandera High School
Attn; Jeff Hamilton
474 Old San Antonio Hwy
Bandera, TX 78003

Barat Academy
Attn: Dave Hall
17815 WILD HORSE CREEK RD
Chesterfield, MO 63005

Barbe High School
Attn: Randy Yellot
2200 West McNeese
Lake Charles, LA 70605


Barren County High School
Attn: Warren Cunningham
507 Trojan Trl
Glasgow, KY 42141

                                       Page 11
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 12 of 216




Barry Goldwater High School
Attn: MARK GORMAN
2820 W Rose Garden Ln
Phoenix, AZ 85027

Bartlett High School
Attn; Jeff Bral
701 Schick Rd.
Bartlett, IL 60103

Basalt High School
ATTN: Sean Nunan
600 Southside Dr PO Box Z
Basalt, CO 81621

Basha High School
Attn: Marques Reischl
5990 South Val Vista Drive
Chandler, AZ 85249

Bassett High School
Attn: Christopher Long
755 N Ardilla Ave
La Puente, CA 91746

Battle Creek Central High School
Attn: Mike VanHoven or Charles Seils
100 W Van Buren St
Battle Creek, MI 49017


Battle Mountain High School
Attn: Chris Bailey
151 Miller Ranch Road
Edwards, CO 81632

Bay City High School
Attn: Linda Leissner
400 Seventh Street
Bay City, TX 77414

Bay High School
Attn: Matt Spellman
29230 Wolf Rd
Bay Village, OH 44140

Bay View High School
Attn: Bill Molbeck
2751 S Lenox St.
Milwaukee, WI 53207

Bayard Rustin High School
Attn: Chris Lunardi
1100 Shiloh Road
                                       Page 12
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 13 of 216



West Chester, PA 19382

Baytown Christian Academy
Attn: Jim Twardowski
5555 North Main Street
Baytown, TX 77521

BCHS Athletics
Attn: Todd Sobrilsky
16900 W Gebhardt Rd.
Brookfield, WI 53005

Beachwood City Schools
Attn: Ken Veon or Shana Wallenstein
25100 Fairmount Blvd
Beachwood, OH 44122

Bear River High School
Attn: Erin Beatie
11130 Magnolia Rd
Grass Valley, CA 95949

Beaver Area High School
Attn: Pat McDanel
1 Gypsy Glen Rd
Beaver, PA 15009

Beavercreek High School
Attn: Brad Pompos - Athletic Dept
2660 Dayton Xenia Rd
Beavercreek, OH 45434

Bedford High School
Attn: Mark German
8285 Jackman Rd.
Temperance, MI 48182

Beechcroft High School
Attn: Anthony Brown
6100 Beechcroft Rd
Columbus, OH 43229

Beechwood High School
Attn: Suzy Wera or Ryan Booth
54 Beechwood Rd.
Fort Mitchell, KY 41017

Belen High School
Attn: Jim Danner or Steve Contreras
1619 W Delgado Ave
Belen, NM 87002

Belgrade Booster Club
                                        Page 13
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 14 of 216



PO Box 976
Belgrade, MT 59714

Bell High School
Attn: Henry Santiago
4328 Bell Ave
Bell, CA 90201

Bella Vista Wrestling Team
Attn: Mike Lee
8301 Madison Ave
Fair Oaks, CA 95628

Bellaire High School
Attn: Marmion Dambrino or James Glover
5100 Maple St
Bellaire, TX 77401

Bellefontaine High School
Attn: Matt Comstock
555 E Lake Ave
Bellefontaine, OH 43311

Belleville High School
Attn: Joe Brodie
501 W Columbia
Belleville, MI 48111

Bellevue West High School
Attn: Jon Mauro
1501 Thurston Rd
Bellevue, NE 68123

Beloit Memorial High School
1225 4th St
Beloit, WI 53511

Belpre High School
Attn: Stephanie Evans
612 3rd St
Belpre, OH 45714

Belton High School
Attn: Brady Hammond
801 West North Avenue
Belton, MO 64012

Bement High School
Attn: Sheila Greenwood
201 S. Champaign St.
Bement, IL 61813

Ben Lomond High School
                                         Page 14
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 15 of 216



Attn: Jeff Kilts
800 Jackson Ave
Ogden, UT 84404

Benbrook High School
Attn: Cody Slater
1501 University Dr
Fort Worth, TX 76107

Bend Senior High School
Attn: Dave Williams
230 NE 6th St
Bend, OR 97701

Benedictine Military High School
Attn: Susan Johnson
6502 Seawright Drive
Savannah, GA 31406


Benson High School
Attn: Ben Rodriguez
360 S Patagonia St
Benson, AZ 85602

Benton High School
5655 S. 4th St.
Saint Joseph, MO 64504

Benton High School
Attn: Ryan Miller
511 E. Main
Benton, IL 62812

Berea-Midpark High School
Attn: Desiree Peterson or Adam Howard
165 E Bagley Rd.
Berea, OH 44017

Berkeley High School
Attn: Charlie Harrison
406 W Main St.
Moncks Corner, SC 29461

Berkmar High School
Attn: Greg Phillips
405 Pleasant Hill Road
Lilburn, GA 30047

Berkner High School
Attn: Leslie Slovak
400 S. Greenville Avenue
Richardson, TX 75081


                                        Page 15
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 16 of 216



Berks Catholic High School
Attn: Bill Hess
955 E Wyomissing Blvd
Reading, PA 19611

Berkshire High School
Attn: Beth McCaffrey
14510 Main St PO Box 365
Burton, OH 44021

Berrien High School
Attn: Tim Hathcock
500 E. Smith Ave
Nashville, GA 31639


Bethany Christian High School
Attn: Gary Chupp
2904 S Main St
Goshen, IN 46526

Bethesda Christian High School
Attn: Allison Stephens
7950 N County Rd 650 E
Brownsburg, IN 46112

Bettendorf High School
Attn: Kevin Skillett
3333 18th St
Bettendorf, IA 52722


Bexley High School
Attn: Corinne Taylor or Harley Williams
or Eli Goldberger
326 S Cassingham Rd
Bexley, OH 43209

Beyer High School
Attn: Doug Severe
1717 Sylvan Ave.
Modesto, CA 95355


Big Sandy High School
Attn: Larry Minter
401 wildcat drive
Big Sandy, TX 75755

Big Springs School
707 E 11th Pl,
Big Spring, TX 79720

Big Time Jersey, LLC
11426 Moog Drive
Saint Louis, MO 63146

                                      Page 16
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 17 of 216




Billy Ryan High School
Attn: Eric Lokey
5101 E McKinney
Denton, TX 76208

Bingham High School
Attn: Andee Bouwhuis
2160 W 10400 S
South Jordan, UT 84095

Birmingham High School
Attn: Rick Prizant
17000 Haynes St
Van Nuys, CA 91406

Bishop Chatard High School
Attn: Mike Ford
5885 N Crittenden Ave
Indianapolis, IN 46220

Bishop Fenwick High School
Attn: Jon Payne
4855 State Route 122
Franklin, OH 4500

Bishop George Ahr High School
Attn: Michael Wolfthal
1 Tingley Ln
Edison, NJ 08820


Bishop John Snyder High School
Attn: Zach Osbeck
5001 Samaritan Way
Jacksonville, FL 32210

Bishop Lynch Catholic High School
Attn: Jaynie Poff
9750 Ferguson Rd.
Dallas, TX 75228

Bishop McCort High School
25 Osborne St
Johnstown, PA 15905

Bishop McDevitt High School
Attn: Coach Jeff Weachter
1 Crusader Way
Harrisburg, PA 17111


Bishop McNamara High School
Attn: John Rutter
550 W. Brookmont Blvd.
Kankakee, IL 60901
                                        Page 17
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 18 of 216




Bishop McNamara High School
Attn: Anthony Johnson
6800 Marlboro Pike
Forestville, MD 20747

Bishop Montgomery High School
Attn: Andy Marafino
5430 Torrance Blvd
Torrance, CA 90503

Bishop Neumann Junior Senior High School
Attn: Rick Ahrens
202 S Linden St
Wahoo, NE 68066

Bishop Noll Institute
Attn: Brandi Krolak
1519 Hoffman St
Hammond, IN 46375

Bishop O'Dowd High School
Attn: Mike Bowler
9500 Stearns Ave
Oakland, CA 94605

Bishop Shanahan High School
220 Woodbine Rd
Downington, PA 19335

Bishop Thomas K Gorman Catholic School
Attn: Rod Kaspar
1405 E Southeast Loop 323
Tyler, TX 75701

Bishop Watterson High School
Attn: Doug Etgen - Athletic Department
99 E. Cooke Rd.
Columbus, OH 43214

Bixby Athletics
Attn: Mark Chambers
601 S Riverview Rd PO Box 160
Bixby, OK 74008

Bixby High School
Attn: Stephanie Blackwell
601 S Riverview Rd
Bixby, OK 74008


Blackduck High School
Attn: Ryan Grow
156 1st St E PO Box 550
                                         Page 18
             Case 19-12233-LSS    Doc 8    Filed 10/18/19   Page 19 of 216



Blackduck, MN 56630

Blackford High School
Attn: Tony Uggen
2392 N State Rd 3
Hartford City, IN 47348

Blaine High School
Attn: Shannon Gerrety
12555 University Ave NE
Blaine, MN 55434

Blanchester High School
953 Cherry St
Blanchester, OH 45107

Bland High School
Attn: Rodney Godwin
6164 FM2194
Merit, TX 75458

Blessed Trinity High School
Attn: Ricky Turner
11320 Woodstock Road
Roswell, GA 30075

Bloomer High School
Attn: Jason Steinmetz
1310 17th Ave
Bloomer, WI 54724

Bloomfield Hills High School
Attn: Mike Cowdrey
4200 Andover Road
Bloomfield Hills, MI 48302

Bloomfield Hills Schools
Attn: Mike Cowdrey
3456 Lahser Rd
Bloomfield Hills, MI 48302

Blue Ridge High School
Attn: Kevin Wiggins
11020 CR 504
Blue Ridge, TX 75424


Blue Springs High School
Attn: Sarah Schulenberg or Frank Wheeler
2000 NW Ashton Dr
Blue Springs, MO 64015

Bluffton High School
Attn: Reggie Fields
                                      Page 19
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 20 of 216



12 H McCracken CR
Bluffton, SC 29910

BMHS Athletics
Attn: Tony Miller
6000 Long Look Dr
Prescott Valley, AZ 86314

Boardman High School
Attn: Marco Marinucci
7777 Glenwood Ave
Boardman, OH 44512

Boerne Champion High School
Attn: Stan Leech
201 Charger Blvd
Boerne, TX 78006

Boerne High School
Attn: Stan Leech
1 Grayhound Lane
Boerne, TX 78006

BOERNE ISD ATHLETIC CLUB
Attn: GINA DEVANE
201 Charger Blvd
Boerne, TX 78006

Boiling Springs High School
Attn: Hal McManus
21 Academy Street
Boiling Springs, PA 17007

Boling High School
Attn: Keith Jedlicka
407 Atlantic St PO Box 119
Boling, TX 77420

Bolingbrook High School
Attn: Robert Rose
365 Raiderway
Bolingbrook, IL 60440

Bonham High School
Attn: Jordan Thompson
1005 Chestnut St.
Bonham, TX 75418

Bonita High School
Attn: Darren Baumunk
3102 D St
La Verne, CA 91750


                                     Page 20
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 21 of 216



Bonita Vista High School
Attn: Wayne Wooten or Don Dumas
751 Otay Lakes Rd
Chula Vista, CA 91913

Bonney Lake High School
Attn: Jesse Snyder
10920 199th A Ct. E
Bonney Lake, WA 98391

Boone County High School
Attn: Marty Steele or Lance Melching
7056 Burlington Pike
Florence, KY 41042


Boone Grove High School
Attn: Mallory Horvat
260 S 500 W
Valparaiso, IN 46385

Bosse High School
1300 Washington Ave
Evansville, IN 47714

Bountiful High School
Attn: Gregory Wilkey
695 S. Orchard Drive
Bountiful, UT 84010

Bowie High School
Attn: Robert Padilla
801 S San Marcial St
El Paso, TX 79905

Bowie High School
Attn: Leal Anderson
4103 Slaughter Ln.
Austin, TX 78749

Bowling Green High School
Attn: Scott Seeliger or Dirk Conner
530 West Poe Rd.
Bowling Green, OH 43402

Bowling Green High School
Attn: Don Sherrill
1801 Rockingham Ln
Bowling Green, KY 42104

Bowman Academy
Attn: Arthur Haggard
3401 West 5th Ave
Gary, IN 46406

                                       Page 21
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 22 of 216




Bowsher High School
Attn: Terry Reeves
2200 Arlington Ave.
Toledo, OH 43614

Box Elder High School
380 S 600 W
Brigham City, UT 84302

Boylan Catholic High School
Attn: Paul Heitkamp
4000 Saint Francis Dr
Rockford, IL 61103

Brackenridge High School
Attn: Willie Hall
400 Eagleland Dr.
San Antonio, TX 78210

Braden River High School
Attn: Matt Nesser
6545 State Road 70 East
Bradenton, FL 34203


Bradford High School
Attn: Brian Tomlinson
581 N Temple Ave
Starke, FL 32091

Bradford High School
Attn: Adam Sulko
3700 Washington Rd.
Kenosha, WI 53144

BRADFORD UNION CAREER TECH CTR
Attn: Patricia Nobles
609 N. Orange Street
STARKE, FL 32091

Bradley Technical High School
Attn: Bill Molbeck
700 S 4th St.
Milwaukee, WI 53204

Bradley-Bourbonnais High School
Attn: Dirk Campbell
700 W. North St
Bradley, IL 60915

Bradshaw Mountain High School
Attn: Mark Ernster
6000 Long Look Dr
Prescott Valley, AZ 86314
                                      Page 22
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 23 of 216




Brainerd Senior High School
Attn: Charlie Campbell
702 S 5th St
Brainerd, MN 56401

Brandon Athletic Department
1025 Ortonville Rd.
Ortonville, MI 48462

Branham High School
Attn: Heather Cooper
1570 Branham Ln
San Jose, CA 95118

Braswell High School
Attn: Eric Lokey
26750 E University Dr
Aubrey, TX 76227

Brazoswood High School
Attn: Karla Christman
302 W Brazoswood Dr
Clute, TX 77531

Brecksville Broadview Heights High School
Attn: Mark Maslona
6380 Mill Rd
Broadview Heights, OH 44147

Brenham High School
Attn: Kim Weatherby or Glen West, AD
525 A H Ehrig Dr
Brenham, TX 77833

Brighton High School
Attn: John Thompson
7878 Brighton Rd.
Brighton, MI 48116


Brighton High School
Attn: Ty Gordon
360 South 8th Avenue
Brighton, CO 80601


Britten Banners & Event Solutions
P.O. Box 633723
Cincinnati, OH 45263-3723

Broad Run High School
Attn: Ryan Young
21670 Ashburn Road
Ashburn, VA 20147
                                        Page 23
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 24 of 216




Brookfield East High School
Attn: Ben Westphal
3305 N Lilly Rd.
Brookfield, WI 53005

Brookfield High School
Attn: Marc Balanda
45 Long meadow Hill Rd
Brookfield, CT 06804

Brookville Area High School
Attn: David Osborne
96 Jenks St
Brookville, PA 15825

Brookwood High School
Attn: Thad Fitzpatrick
15981 Hwy 216
Brookwood, AL 35444

Brother Rice High School
Attn: Phil Cahill - Athletics
10001 S Pulaski Rd.
Chicago, IL 60655

Brown Deer High School
Attn: Mike Novak or Gerald McGregory
8060 N 60th St.
Brown Deer, WI 53223


Brownsboro High School
Attn: Tami Hooker
Hwy 31 W PO Box 465
Brownsboro, TX 75756

Brownsburg High School
Attn: Kelli Waggoner
1000 S Odell St
Brownsburg, IN 46112

Brownstown Central High School
Attn: Joe Sheffer
500 N Elm St
Brownstown, IN 47220

Brownstown High School
Attn: Vince Rohr
421 S. College Ave.
Brownstown, IL 62418

Brownwood High School
Attn: Mitch Moore
                                       Page 24
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 25 of 216



2100 Slayden
Brownwood, TX 76801

Brunswick High School
Attn: John Justice
3581 Center Rd.
Brunswick, OH 44212

Brunswick High School
Attn: Steve Waters
3920 Habersham St
Brunswick, GA 31520

Brush High School
Attn: Scott Hodgson
527 Industrial Park Rd
PO Box 585
Brush, CO 80723

Brush High School
Attn: Rob Atwood or Mike Murphy
4875 Glenlyn Rd.
Lyndhurst, OH 44124

Brush Vocal Music Boosters
Attn: Teanna Weeks
4875 Glenlyn Rd
Lyndhurst, OH 44124

Bryan Adams High School
Attn: Mark Ramsey
2101 Millmar Dr
Dallas, TX 75228

Bryan High School
Attn: Ann Hunter, A.D
4700 Giles Rd
Omaha, NE 68157

Buckeye Local High School
Attn: Glen Reisner or Tom Harrington
3084 Columbia Rd
Medina, OH 44256

Buckeye Union High School
Attn: Patrick Witter
1000 E. Narramore
Buckeye, AZ 85326

Buckhannon Upshur High School
Attn: Tristen Gray
50 B-U Dr
Buckhannon, WV 26201

                                       Page 25
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 26 of 216




Buena High School
Attn: Craig Williams
5670 Telegraph Rd
Ventura, CA 93003

Buena High School
5225 Buena School Blvd
Sierra Vista, AZ 85635

Bullard High School
Attn: Jeff Shrode
1426 South Houston St.
Bullard, TX 75757

Bullard High School
Attn: Brandon Gilbert
5445 N Palm Ave
Fresno, CA 93704

Bullitt Central High School
Attn: Clark Teague - Athletics
1330 Hwy 44 E
Shepherdsville, KY 40165

Buna High School
Attn: Adrian Kibbles
177 Farm Rd Hwy 253
PO Box 1087
Buna, TX 77612


Burkburnett High School
Attn: Danny Nix
109 W Kramer St
Burkburnett, TX 76354

Burleson Senior High School
Attn: Phil Anderson
100 Elk Drive
Burleson, TX 76028

Burns High School
Attn: Barry Ward
524 E 4th St
Burns, WY 82053

Burnsville Senior High School
Attn: Guillaume Paek
600 E Hwy 13
Burnsville, MN 55337

Burrell School District
Attn: Joel Ceraso
1021 Puckety Church Rd.
                                     Page 26
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 27 of 216



Lower Burrell, PA 15068

Burris Laboratory School
Attn: Rachel Milligan
2000 W University Ave
Muncie, IN 47306

Bushland High School
Attn: Ricky Wright
1201 S FM 2381
Bushland, TX 79012

Butler Boys Basketball Parent
Attn: Kelly Ruggles
120 Campus Ln.
Butler, PA 16001

Butler Football Boosters
Attn: Kelly Ruggles
120 Campus Ln.
Butler, PA 16001

Butler High School
Attn: Jordan Shumaker
600 S Dixie Dr
Vandalia, OH 45377

Butler Junior Senior High School
Attn: Kirk Hannah
420 S Fulton St
Butler, MO 64730

Butte Senior High School
Attn: Chuck Merrifield
401 S Wyoming
Butte, MT 59701

BVSW Boy Basketball Boosters
Attn: Kelly Davis
17600 Quivira Road
Overland Park, KS 66062

BVSW Football
Attn: Kelly Davis
17600 Quivira Road
Overland Park, KS 66062

Bynum High School
Attn: Larry Mynarcik
704 State Hwy 171
Bynum, TX 76631

C C WINN HIGH SCHOOL
                                       Page 27
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 28 of 216



Attn: Dwight Arganbright
265 Foster Maldonado St
EAGLE PASS, TX 78852

Cadillac High School
Attn: Fred Bryant
400 Linden St
Cadillac, MI 49601


Calallen High School
Attn: Rey Saenz
4001 Wildcat Dr.
Corpus Christi, TX 78410


Calexico High School
1030 Encinas Ave
Calexico, CA 92231

Calumet High School
Attn: Cynthia Trevino
3900 Calhoun St
Gary, IN 46408

Cambria Heights High School
426 Glendale Lake Rd.
Patton, PA 16668

Cambridge High School
Attn: Deborah Eves
28901 Cambridge St
GARDEN CITY, MI 48135

Campbell High School
Attn: Jeff Hutson
5265 Ward St
Smyrna, GA 30080

CAMPO VERDE HIGH SCHOOL
Attn: Renee Regoli
3870 S Quartz Street
GILBERT, AZ 85297

Canal Winchester High School
Attn: Kent Riggs or Patrick Durbin
300 Washington St.
Canal Winchester, OH 43110

Cane Ridge Athletics
Attn: James Reese
12848 Old Hickory Blvd.
Antioch, TN 37013

Canfield High School
                                         Page 28
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 29 of 216



Attn: Greg Cooper
100 Cardinal Dr.
Canfield, OH 44406

Cannon Falls High School
Attn: Jake Winchell
820 East Minnesota Street
Cannon Falls, MN 55009


Canon City High School Athletics
ATTN: Scott Manchester
1313 College Ave
Canon City, CO 81212


Canton Football Activity
Attn. Coach Robert Ivey
1100 W Hwy 243
Canton, TX 75103

Canton H.S. Athletic Department
Attn: Brad Hulet
1001 N Main St
Canton, IL 61520

Canton High School
Attn: Al White
8415 N. Canton Center Rd.
Canton, MI 48187

Canton High School
Attn: Dan Priebe
200 S 4th St
Canton, MO 63435

CANTON PREPARATORY HIGH SCHOOL
Attn: Lindsey Galli
46610 Cherry Hill Rd
CANTON, MI 48187

Canton South High School
Attn: Andy Harms
600 Faircrest SE
Canton, OH 44707

Cantwell Sacred Heart Of Mary High
Attn: Marrisa Garica
329 N Garfield Ave
Montebello, CA 90640


Canyon Crest Academy
Attn: Sean Keenan
5951 Village Center Loop Road
San Diego, CA 92130

                                         Page 29
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 30 of 216




Canyon High School
Attn: Joe Moczygemba
1510 E IH 35
New Braunfels, TX 78130

Canyon High School
Attn: Blake Bryant
1701 23rd Street
Canyon, TX 79015

Caprock High School
Attn: Daniel Sherwood
3001 E 34th Ave
Amarillo, TX 79103

Carbondale Area High School
101 Brooklyn St.
Carbondale, PA 18407

Cardinal High School
Attn: Jimmy Soltis
14785 Thompson Ave PO Box 7
Middlefield, OH 44062

Carl Albert High School
Attn: Gary Rose
2009 S Post Rd
Midwest City, OK 73130

Carl Hayden Community High School
Attn: Christopher Oglesby
3333 W Roosevelt Ave
Phoenix, AZ 85009

Carlinville High School
829 W Main St
Carlinville, IL 62626

Carlisle School
Attn: Rocky Baker
8960 FM 13
Henderson, TX 75654

Carlsbad High School
Attn: Amanda Waters
3557 Lancer Way
Carlsbad, CA 92008

Carlyle High School
Attn: Darin Smith
1461 Twelfth St.
Carlyle, IL 62231

                                        Page 30
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 31 of 216




Carman Ainsworth High School
Attn: Michael Gates
1300 N. Linden Rd
Flint, MI 48532

Carmel High School
Attn: Jim Inskeep
520 East Main Street
Carmel, IN 46032

Carondelet High School
Attn: Christi Rossi
1133 Winton Dr
Concord, CA 94518

Carroll High School
Attn: Scott Molfenter
4524 Linden Ave.
Dayton, OH 45432

Carroll High School
Attn: Jackie Hamilton
2939 Renwick St
Monroe, LA 71211

Carrollton High School
Attn: Mark Beatty
950 S. Third St
Carrollton, IL 62016

Carrollton-Farmers Branch ISD
Attn: Renee Putter
1330 Valwood Parkway
Carrollton, TX 75006

Carrollwood Day School
Attn: Baker Mabry
1515 West Bearss Avenue
Tampa, FL 33613

Carson City Crystal High School
Attn: Travis Wilcox
213 E Sherman St
Carson City, MI 48811

Carter High School
Attn: Joe Paluba
2630 N Linden Ave
Rialto, CA 92377

Carterville High School
Attn: Todd Rogers or Brett Diel
1415 West Grand Ave
                                      Page 31
             Case 19-12233-LSS    Doc 8    Filed 10/18/19   Page 32 of 216



Carterville, IL 62918

Carver High School
Attn: Joe Kegler
3100 8th St
Columbus, GA 31906

Casa Roble High School
Attn: Torrence Paoli
9151 Oak Ave
Orangevale, CA 95662

Cascade High School
Attn: Scott Stevens
6565 S County Rd 200 W
Clayton, IN 46118

Case High School
Attn: Eugene Syvrud
7345 Washington Ave.
Racine, WI 53406

Casey Westfield High School
Attn: Mike Leichty
306 E Edgar St
Casey, IL 62420

Cass Technical High School
Attn: Thomas Wilcher or Jerome Foster
2501 2nd Ave.
Detroit, MI 48201

Casteel High School
Attn: Spencer Stowers
24901 S. Power Rd
Queen Creek, AZ 85142

Castle Park High ASB
Attn: Ed Bajet
1395 Hilltop Dr
Chula Vista, CA 91911

Castle View High School
Attn: Derek Cordes
5254 North Meadows Drive
Castle Rock, CO 80109

Castro Valley High School
Attn: Marie Gray
19400 Santa Maria Ave
Castro Valley, CA 94546

Cathedral Preparatory School
                                        Page 32
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 33 of 216



Attn: Bill Flanagan or Lauren Varner
225 W 9th St.
Erie, PA 16501

Catholic Central High School
Attn: Trevor Hinshaw
319 Sheldon Blvd SE
Grand Rapids, MI 49503


Catholic Memorial High School
Attn: Greg Gamalski or Matt Bergan
601 E College Ave
Waukesha, WI 53186


Catoosa Athletics
Attn: Tony Martray
2000 S Cherokee
Catoosa, OK 74015

CBIZ MHM, LLC
25450 Network Place
Chicago, IL 60673-1254

CCISD Athletics
Attn: Brenda Marshall
1 Battlin Buc Blvd
Corpus Christi, TX 78408

Ceaser Chavez High School
Attn: ROBERT WHITFIELD
8501 Howard Dr
Houston, TX 77017

Cedar Creek High School
Attn: Jeremy Tjarks
793 UNION CHAPEL RD
Cedar Creek, TX 78612

CEDAR HILL 9TH GRADE CENTER
Attn: Gina Farmer
1515 W. Beltline Rd
CEDAR HILL, TX 75104

Cedar Hill Collegiate High School
Attn: Pamela Thomas
1533 High Pointe Lane
Cedar Hill, TX 75104

Cedar Hill High School
Attn: Melanie Benjamin
1 Longhorn Blvd
Cedar Hill, TX 75104


                                         Page 33
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 34 of 216



Cedar Park High School
2150 Cypress Creek Rd.
Cedar Park, TX 78613

Cedar   Springs High School
Attn:   John Norton
204 E   Muskegon St
Cedar   Springs, MI 49319


Celeste High School
Attn: Demetrius Rector
609 FM 1562
Celeste, TX 75423


Celina High School
Attn: Bill Elliott
205 S Colorado
Celina, TX 75009

Centennial High School
Attn: Brian Hegseth
4707 North Rd
Circle Pines, MN 55014

Centennial High School
Attn: Craig Newell
4300 Centennial Ln
Ellicott City, MD 21042

Centennial High School
Attn: Eric Music
1441 Bethel Rd
Columbus, OH 43221

Centennial High School
Attn: Jeff Burch
9310 Scott Rd
Roswell, GA 30076

Center Grove High School
Attn: Jon Zwitt or Mike Garrison
2717 S Morgantown Rd
Greenwood, IN 46143

Center Grove High School
Attn: Mike Garrison
4778 Brentridge Parkway
Greenwood, IN 46143


Center High School
Attn: Barry Bowman
658 Roughrider Dr.
Center, TX 75935

                                       Page 34
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 35 of 216




Center High School
Attn: Margo Hurst
8715 Holmes St
Kansas City, MO 64131

Centerville Athletic Department
Attn: Centerville Ahtletics
500 E Franklin St
Centerville, OH 45459

Centerville High School
Attn: Rob Dement
500 E Franklin St
Centerville, OH 45459

Central A & M High School
Attn: Charles Brown, Principal
229 E. Pine St
Moweaqua, IL 62550

Central Cambria High School
204 Schoolhouse Rd
Ebensburg, PA 15931

Central Catholic High School
Attn: Mike Padgett
2550 Cherry St
Toledo, OH 43608

Central Catholic High School
Attn: John Paul
4824 W. Tuscarawas St.
Canton, OH 44708

Central Catholic High School
Attn: Mark Ruiz
1403 N Saint Mary's St
San Antonio, TX 78215


Central High School
Attn: Tyler Fleming
2425 Tuxedo St
Detroit, MI 48206


Central High School
Attn: Gilbert Jones
4525 N Central Ave
Phoenix, AZ 85012

Central High School
Attn: Jimmy Macon
2425 Tuxedo St
Detroit, MI 48206
                                      Page 35
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 36 of 216




Central High School
Attn: Dylan Patterson
2432 N Drake Rd.
Kalamazoo, MI 49006

Central HS
Attn: Chad Whitworth
5500 Education Dr.
Cheyenne, WY 82009

Central Montcalm High School
Attn: John Kearney
1480 Sheridan Rd SW
Stanton, MI 48888

Central Mountain High School
64 Keystone Central Dr.
Mill Hall, PA 17751

Centralia High School
Attn: Veronica Zamora or Chuck Lane
2100 E. Calumet
Centralia, IL 62801

Centura Activities Account
Attn: Holly Christiensen
PO Box 430
Cairo, NE 68824

Cesar Chavez High School
Attn: Matthew Georgia
3921 W Baseline Rd
Laveen, AZ 85339

Chagrin Falls High School
Attn: Charlie Barch
400 East Washington St.
Chagrin Falls, OH 44022

Chamberlain High School
Attn: Donald Hill
9401 North Blvd
Tampa, FL 33612

Champion High School
Attn: Tim Cope
5976 Mahoning Ave
Warren, OH 44483


Chancellor High School
Attn: Leonard Carlson
6300 Harrison Rd
                                      Page 36
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 37 of 216



Fredericksburg, VA 22407

Chandler High School
Attn: Jim Culver
350 N Arizona Ave
Chandler, AZ 85225

Chapel Hill High School
Attn: Matt Garrett
1069 County Road 4660
Mount Pleasant, TX 75455

Chapel Hill High School
Attn: Jeff Riordan or Thomas Sitton
13172 State Hwy 64 E
Tyler, TX 75707

Chapel Hill High School Football
Attn: Jason Hooker
13172 State Hwy 64 E
Tyler, TX 75707

Chapin High School
Attn: Jonathan Watters
7000 Dyer Street
El Paso, TX 79904

Chapin High School
Attn: Rusty Todd
300 Columbia Ave
Chapin, SC 29036

Chardon High School
Attn: Doug Snyder
151 Chardon Ave
Chardon, OH 44024

Charlestown High School
1 Pirate Pl
Charlestown, IN 47111

Charlotte High School
Attn: Shawn Vowell
70 Trojan Dr
Charlotte, TX 78011

Charlton County High School
Attn: Joshua Howard
994 Indian Trail
Folkston, GA 31537

Chavez High School
Attn: Guy Goedhart
                                       Page 37
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 38 of 216



2929 Windflower Lane
Stockton, CA 95205

Checotah High School
Attn: Brian Terry
491 West Paul Carr Drive
Checotah, OK 74426

Cheney Senior High School
Attn: Jim Missel
460 N 6th St
Cheney, WA 99004

Cherokee High School
Attn: Jack Wallner or Jeremy Adams
930 Marietta Hwy
Canton, GA 30114

Cherokee Trail High School
Attn: Steve Carpenter
25901 E. Arapahoe Rd.
Aurora, CO 80016

Cherry Creek High School
Attn: JASON WILKINS
9300 E Union Ave
Greenwood Village, CO 80111

Chesaning Union High School
850 N 4th St PO Box 157
Chesaning, MI 48616

Chesterton High School
Attn: David Milligan
2125 S 11th St
Chesterton, IN 46304

Cheyenne Mountain High School
Attn: Rita Helwege
1200 Cresta Rd
Colorado Springs, CO 80906

Cheyenne South High School
Attn: Steve Salazar
1213 West Allison Road
Cheyenne, WY 82007

Chiawana High School
Attn: John Cazier
8125 W. Argent Rd
Pasco, WA 99301

Chicago Public Schools
                                         Page 38
               Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 39 of 216



54 N. Hermitage
Chicago, IL 60618

Chico High School
Attn: Lane Wilson
263 FM 2952
Chico, TX 76431

Chippewa High School
Attn: Drew Conyers
100 Valley View Rd.
Doylestown, OH 44230

Chippewa Valley High School
Attn: Chad Hottle
18300 Nineteen Mile Road
Clinton Township, MI 48038

Cholla High School
Attn: Virgil Henderson
2001 W Starr Pass Blvd
Tucson, AZ 85713

Christ Presbyterian Academy
Attn: Mike Ellson
2323-A Old Hickory Blvd
Nashville, TN 37215

Christian Brothers College High School
Attn: Coach Streb
1850 De La Salle Dr
Saint Louis, MO 63141

Christopher Columbus Boys Catholic High School
Attn: David Pugh
3000 SW 87th Ave
Miami FL, 33165

Cibola High School
Attn: Ray Rodriguez
1510 Ellison Dr NW
Albuquerque, NM 87114

Cienega High School
12775 E Mary Anne Cleveland Way
Vail, AZ 85641

Cinco   Ranch High School
Attn:   Heath Burg
23440   Cinco Ranch Blvd
Katy,   TX 77494

Citrus Hill High School
                                         Page 39
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 40 of 216



18150 Wood Rd.
Perris, CA 92570

Citrus Valley High School
800 West Pioneer Ave.
Redlands, CA 92374

City View Junior/Senior High School
1600 City View Dr.
Wichita Falls, TX 76306

Clairemont High School
Attn: Manny Diaz
4150 Ute Dr
San Diego, CA 92117

Clark High School
Attn: Financial Clerk
523 Spring Creek Pky
Plano, TX 75023

Clark High School
Attn: Don Willis or Janelle Halverson
4291 Pennwood Ave
Las Vegas, NV 89102


Clark Montessori High School
Attn: Monica Ratterman
5425 Winton Ridge Ln.
Cincinnati, OH 45232

Clarksville High School
Attn: Adrienne Goldman
800 Dr. Dot Lewis Drive
Clarksville, IN 47129

Clarksville High School
Attn: Davis Dewaski
1500 W. Main
Clarksville, TX 75426

Classen School Of Advanced Studies
1901 N Ellison
Oklahoma City, OK 73106

Clay High School
Attn: Tim Pletcher
19131 Darden Rd
South Bend, IN 46637


Clay High School
Attn: Jay Stilianou
2025 Hwy 16 W
                                         Page 40
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 41 of 216



Green Cove Springs, FL 32043

Claysburg Kimmel High School
531 Bedford St.
Claysburg, PA 16625

Clearview High School
Attn: Mike Collier
4700 Broadway Ave.
Lorain, OH 44052

Clements High School
Attn: Rodney Chant
4200 Elkins Dr
Sugar Land, TX 77479

Cleveland Central Catholic High School
Attn: MAGGIE LASH
6550 Baxter Ave.
Cleveland, OH 44105

Cleveland High School
Attn: Larry Chavez
4800 Laban Road
Rio Rancho, NM 87144

Cleveland High School
Attn: Eric Phillips
850 Raider Dr
Cleveland, TN 37312

Cleveland High School
Attn: Greg Venger
8140 Vanalden Ave
Reseda, CA 91335

Clinton High School
Attn: Kenny Stringer or Chad Pugh
2130 Gary Blvd
Clinton, OK 73601


Clinton High School
817 8th Ave S
Clinton, IA 52732

Clinton High School
Attn: Matt Koeppel
1200 St Rt 54 West
Clinton, IL 61727

Clintondale Athletics
Attn: Dave Schindler
35200 Little Mack Ave.
                                         Page 41
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 42 of 216



Clinton Township, MI 48035

Clio High School
Attn: John Darga
1 Mustang Dr
Clio, MI 48420

Cloquet High School
Attn: Thomas Lenarz
1000 18th Street
Cloquet, MN 55720

Cloverleaf High School
Attn: Craig Walkup
8525 Friendsville Rd.
Lodi, OH 44254

Clovis High School
Attn: Dale Fullerton
1900 Thornton St
Clovis, NM 88101

Coachella Valley High School
Attn: Brett Davis
83800 Airport Blvd
Thermal, CA 92274

Coal Ridge High School
Attn: Ben Kirk
35947 HIGHWAY 6
New Castle, CO 81652

Cody High School
Attn: Calvin Norman
18445 Cathedral St
Detroit, MI 48228

Coeur D'Alene Senior High School
Attn: Mike Lindquist
N 5530 4th St
Coeur D'Alene, ID 83815

Coleman High School
Attn: Elder John or Skip McCambridge
201 W 15th St
Coleman, TX 76834

Colerain High School
Attn: Craig Ulland
8801 Cheviot Rd
Cincinnati, OH 45251

College Park High School
                                       Page 42
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 43 of 216



Attn: Jeff Eide
201 Viking Dr
Pleasant Hill, CA 94523

Colleyville Heritage High School
Attn: Janice Kane
5401 Heritage Ave.
Colleyville, TX 76034


Collinsville High School
Attn: Darin Lee
2201 S. Morrison Ave.
Collinsville, IL 62234


Colonial Forge High School
Attn: Jeff Berry
550 Courthouse Rd
Stafford, VA 22554

Columbia Borough School District
Attn: Karl Heimbach
901 Ironville Pike
Columbia, PA 17512

Columbia High School
Attn: Steve Faulkner
469 SE Fighting Tiger Dr
Lake City, FL 32025

Columbia High School
Attn: Brent Mascheck
521 S 16th St PO Box 158
West Columbia, TX 77486

Columbian Athletics Department
Attn: Derek Lewis
300 S Monroe St
Tiffin, OH 44883


Columbine Senior High School
Attn: Scott Christy
6201 S Pierce St
Littleton, CO 80123

COLUMBUS CHRISTIAN SCHOOL
Attn: Kevin Roth
3170 INDIANA AVE
COLUMBUS, IN 47201

Columbus East High School
Attn: Pete Huse
230 S Marr Rd
Columbus, IN 47201

                                       Page 43
             Case 19-12233-LSS     Doc 8    Filed 10/18/19   Page 44 of 216




Columbus North High School
Attn: Jeff Hester or David Clark
1400 25th St
Columbus, IN 47201

Combs High School
Attn: Scot Schmidt
2505 E Germann Rd
San Tan Valley, AZ 85104

Comeaux High School
Attn: Doug Dotson
100 W Bluebird Ln
Lafayette, LA 70508

Comfort Athletics
Attn: Joey McQueen
143 Hwy 87 N
Comfort, TX 78013

Communication & Media Arts High School
Attn: Edward Tomlin
14771 Mansfield
Detroit, MI 48227

Community High School
Attn: Garrett Dorman or Roosevelt Nivens
611 FM 1138 North
Nevada, TX 75173


Como Park High School
Attn: Nate Galloway
740 Rose Ave. W
Saint Paul, MN 55117

Concord Community High School
Attn: David Preheim
59117 Minuteman Way
Elkhart, IN 46517

Conifer High School
Attn: Angie Sanders or Craig Ketelson
10441 Hwy 73
Conifer, CO 80433

Conneaut Area Senior High School
302 W School Dr
Linesville, PA 16424


Connersville High School
Attn: Brent Duncan
1100 Spartan Dr
Connersville, IN 47331
                                         Page 44
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 45 of 216




Conwell-Egan Catholic High School
Attn: Gina Vinch
611 Wistar Rd
Fairless Hills, PA 19030

Cooper High School
Attn: Aaron Roan
241 Pine Street
Abilene, TX 79604

Coosa High School
Attn: Trevor Hubbard
4454 Alabama Highway NW
Rome, GA 30165

Copley High School
Attn: Andy Jalwan
3807 Ridgewood Rd
Copley, OH 44321

Copperas Cove High School
Attn: Jennifer Simpson
400 S 25th St
Copperas, Cove TX 76522

Corbin High School
Attn: Andrew Roark
1901 Snyder St
Corbin, KY 40701


Corona Del Sol High School
Attn: Sherri Ozawa or Dan Nero
or Courtney Johnson
1001 E Knox Rd
Tempe, AZ 85284

Corona Del Sol High School
Attn: Steve Rafalski
1075 E Buena Vista Drive
Tempe, AZ 85284

Coronado High School
Attn: Kristi Graham
100 Champions Place
El Paso, TX 79912

Coronado High School
Attn: Ronnie Kirk
3307 Vicksburg Ave
Lubbock, TX 79410

Coronado High School
                                        Page 45
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 46 of 216



Attn: Robin Nixon
650 D Ave
Coronado, CA 92118

Cortez High School
Attn: Matt Belden
8828 N 31st Ave
Phoenix, AZ 85051


Corvallis High School
1400 N W Buchanan Ave
Corvallis, OR 97330

Cotter High School
1115 W Broadway
Winona, MN 55987

Countryside High School
Attn: Greg Zornes
3000 State Rd 580
Clearwater, FL 33761

Covenant Christian High School
Attn: Andy Gossel
7525 W 21st St
Indianapolis, IN 46214

Coventry High School
Attn: Chuck Jones
40 Reservoir Rd
Coventry, RI 02816

Covina High School
Attn: Kevin Glaspy
463 S Hollenbeck St
PO Box 269
Covina, CA 91723

Covington High School
Attn: Donald Mathis
73030 Lion Dr.
Covington, LA 70433

Cowan Junior Senior High School
Attn: Greg Kyle
9401 S Nottingham St
Muncie, IN 47302

Crandall High School
Attn: Joe Cary
13385 FM 309
Crandall, TX 75114


                                      Page 46
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 47 of 216



Crane High School
Attn: Matt Turney
511 W 8th St
Crane, TX 79731

Crater High School
Attn: David Heard
655 N Third St
Central Point, OR 97502

Crawford High School
Attn: Brittany Villa
200 Pirate Dr
Crawford, TX 76638

Creekview High School
Attn: Chase Vitak or Dr. Kevin Higgins
1550 Owens Store Rd
Canton, GA 30115

Crescent City High School
Attn: Tim Ross
2201 South Highway 17 Route 3
Box 145
CRESCENT CITY, FL 32112

Crispus Attucks High School
Attn: Christopher Hawkins or Josh Varno
1140 Dr Martin Luther King Jr. St.
Indianapolis, IN 46202

Crockett High School
Attn: Jimmy Thompson
704 Burnett Dr
Crockett, TX 75835

Crockett High School
Attn: Leal Anderson
5601 Manchaca Rd
Austin, TX 78745


Crook County High School
Attn: Rob Bonner
1100 SE Lynn Blvd
Prineville, OR 97754


Crooms Academy of Information Technology
Attn: Dr. Angela Miller
2200 West 13th Street
Sanford, FL 32771


Crossett Senior High School
Attn: Gary Williams
219 Main Street
                                         Page 47
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 48 of 216



Crossett, AR 71635

Crothersville High School
Attn: Adam Robinson
109 N. Preston St.
Crothersville, IN 47229

Crown Point High School
Attn: Bill Dorulla
1500 South Main St.
Crown Point, IN 46307

Crusader Booster Club
Attn: Gus Kalikas
365 Westfield Ave
Clark, NJ 07066

Cullman High School
Attn: Brent Patterson
510 13th St NE
Cullman, AL 35055

Cushing High School
Attn: Barry Patterson
1700 E Walnut St
Cushing, OK 74023

Cuyahoga Falls High School
Attn: Tom DiFrancesco
2300 4th St
Cuyahoga Falls, OH 44221

D H Conley High School
2006 Worthington Rd
Greenville, NC 27858

Dakota High School
Attn: Mike Fusco
21051 21 Mile Rd
Macomb Township, MI 48044


Dakota Ridge High School
Attn: Matt Heckel
13399 W Coal Mine Ave
Littleton, CO 80127

Daleville Junior Senior High School
Attn: Eric Douglas
8400 S Bronco Dr
Daleville, IN 46038

Dallas High School
Attn: Thomas Duffy or Nancy Roberts
                                      Page 48
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 49 of 216



2030 Conyngham Ave
Dallas, PA 18612

Dallas ISD
2500 S. Ervay St.
Dallas, TX 75215

Dallas ISD Visual and Performing Arts
9400 N. Central Expressway
Suite 416
Dallas, TX 75231

Damien High School
Attn: JEFF GRANT
2280 Damien Ave
La Verne, CA 91750

Damonte Ranch High School
Attn: Shawn Dupris or Jon Polson
10500 Rio Wrangler Pkwy
Reno, NV 89521

Danbury High School
Attn: Chip Salvestrini
43 Clapboard Ridge Rd
Danbury, CT 06811

Daniel Boone High School
Attn: Danny Good
1440 Suncrest Drive
Gray, TN 37615

Davenport Central High School
Attn: Brian Ehlinger
1120 N Main St
Davenport, IA 52803


Davis High   School
Attn: Chad   Sims
325 S Main   St
Kaysville,   UT 84037

De Anza High School
5000 Valley View Rd
Richmond, CA 94803

De Soto High School
Attn: Matt Deaton
731 Amvets Dr
De Soto, MO 63020


Dearborn High School
Attn: David Mustonen
                                        Page 49
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 50 of 216



19501 Outer Dr
Dearborn, MI 48124

Decatur High School
Attn: Linda Huddler or Mike Fuller
750 East Eagle Summit Dr
Decatur, TX 76234

Decatur High School
Attn: Brian Southworth
110 Cedar St
Decatur, MI 49045

Deer Creek High School
Attn: James Edwards or Bill Bays
6101 NW 206 St.
Edmond, OK 73003

Deer Valley High School
Attn: Scott Warner
18424 N 51st Ave
Glendale, AZ 85308

Defiance High School
Attn: Jerry Buti
1755 Palmer Dr
Defiance, OH 43512

Dekaney High School
Attn: Elizabeth Vazquez
22351 Imperial Valley Dr.
Houston, TX 77073

Del Valle High School
Attn: Jesse Perales
950 Bordeaux
El Paso, TX 79907

DeLand High School
Attn: Paul Ryder
800 N Hill Ave
DeLand, FL 32738

Delano High School
Attn: Albino Duran
1331 Cecil Ave.
Delano, CA 93215

Delano High School
Attn: Mike Lindquist
700 Elm Avenue East
Delano, MN 55328


                                         Page 50
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 51 of 216



Delaware Hayes Athletics
Attn: Steve Glesenkamp
289 Euclid Ave.
Delaware, OH 43015

Delta High School
Attn: Jeremy McCormick
1400 Pioneer Rd
Delta, CO 81416

Delton Kellogg High School
Attn: Michael Mohn
10425 Panther Pride Drive
Delton, MI 49046

Deltona High School
Attn: Mike Micallef
100 Wolf Pack Run
Deltona, FL 32725

Denbigh High School
Attn: Bryan Weaver
259 Denbigh Blvd
Newport News, VA 23608

Denby High School
Attn: Tanisha Manningham
12800 Kelly Road
Detroit, MI 48224

Denfeld High School
Attn: Tom Pearson
401 N. 44th Ave W
Duluth, MN 55807

Denison High School
Attn: Chad Rogers
4200 North State Hwy 91
Denison, TX 75020

Denmark High School
Attn: Heather Gordy
645 Mullinax Rd
Alpharetta, GA 30004

Denton High School
Attn: Eric Lokey
1007 Fulton St
Denton, TX 76201

Denver North High School
Attn: Justin Saylor
2960 Speer Blvd.
Denver, CO 80211
                                     Page 51
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 52 of 216




Desert High School
Attn: Michael Williams
1575 Payne Ave
Edwards, CA 93523

Desert Ridge High School
Attn: JIM LAVIN
10045 East Madero
Mesa, AZ 85209

D'Evelyn High School
Attn: Jerry McWhorter
10359 W Nassau Ave
Denver, CO 80235

Diboll High School
1000 East Harris St.
Diboll, TX 75941

Dickinson High School
Attn: Andy Dick
1801 Milltown Rd
Wilmington, DE 19808

Dickinson High School
Attn: John Snelson
3800 Baker Dr
Dickinsonc TX 77539

Dickson County High School
Attn: Jay Powlas
509 Henslee Dr
Dickson, TN 37055

Dimond High School
Attn: John Snead
2909 W 88th Ave
Anchorage, AK 99502

Dixie Heights High School
Attn: Matt Wilhoite or Derek Bosse
3010 Dixie Hwy.
Edgewood, KY 41017

Dixie Hollins High School
Attn: Kelley Jones
4940 62nd St N
Saint Petersburg, FL 33709


Dollarway Senior High School
Attn: Ellis Berry
4900 Dollarway Rd
                                         Page 52
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 53 of 216



Pine Bluff, AR 71602

Dominguez High School ASB
Attn: James Durk
15301 San Jose Ave
Compton, CA 90221

Dominican High School
Attn: Joe Grady
120 E Silver Spring
Whitefish Bay, WI 53217

Donald E Gavit Middle & High School
Attn: Doug Friend
1670 175th St
Hammond, IN 46324

Donna High School
Attn: Ramiro Daniel or Manny Moreno
2200 E. Wood Avenue
Donna, TX 78537

Dorman High School
Attn: Flynn Harrell
1050 Cavalier Way
Roebuck, SC 29376

Douglas County High School
Attn: Jeff Gardella
2842 Front St
Castle Rock, CO 80104

Douglas County High School
Attn: Albert Lindsey
8705 Campbellton St
Douglasville, GA 30134

Douglas High School
Attn: Randy Walker
1500 15th St
Douglas, AZ 85607

Dowling Catholic High School
Attn: TOM WILSON
1400 Buffalo Rd
West Des Moines, IA 50265

Dr. Phillips High School
6500 Turkey Lake Rd
Orlando, FL 32819

Dripping Springs High School
Attn: Joe Burns
                                      Page 53
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 54 of 216



940 W Hwy 290
Dripping Springs, TX 78620

Duarte High School
Attn: James Heggins
1565 E Central
Duarte, CA 91010

Dublin Coffman High School
Attn: Duane Sheldon
6780 Coffman Rd
Dublin, OH 43017

Dublin Jerome High School
Attn: Joe Bline
8300 Hyland Croy Rd
Dublin, OH 43016

Dublin Scioto High School
Attn: Nick Magistrale
4000 Hard Rd
Dublin, OH 43016

Dulaney High School
Attn: Rich Reed
255 Padonia Rd
Timonium, MD 21093

Dulles High School
Attn: J L Geist
550 Dulles Ave
Sugar Land, TX 77478


Duncan High School
Attn: Bobby Cook
515 N 19th PO Box 1548
Duncan, OK 73534

Dundee Crown High School
Attn: Steve Gertz
1500 Kings Road
Carpentersville, IL 60110

Dundee High School
Attn: Bryan Schroeder
or Thomas Oestrike
130 Viking Dr.
Dundee, MI 48134

DuPont Manual High School
Attn: David Zuberer
120 W Lee St
Louisville, KY 40208
                                     Page 54
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 55 of 216




DuQuoin High School District 3
Attn: John Campbell
500 E. South St
DuQuoin, IL 62832

Durango High School
Attn: Adam Bright
2390 Main St
Durango, CO 81303

Dutchtown High School
Attn: Edward Senter
149 Mitchell Rd
Hampton, GA 30228

DUVAL CHARTER HS-BAYMEADOWS
Attn: Cindy Moore
7510 Baymeadows Way
JACKSONVILLE, FL 32256

Dwight High School
Attn: Andrew Pittenger
801 S Franklin St
Dwight, IL 60420


Dysart High School
Attn: Tyrus Timbrooks
11425 N Dysart Rd
El Mirage, AZ 85335

Eagle Point High School
Attn: Seth Womack
203 N Platt St
PO Box 198
Eagle Point, OR 97524

Eagle Valley High School
Attn: Tami Payne
or Thomas Laframboise
641 Valley Rd
PO Box 188
Gypsum, CO 81637

Earl Warren High School
Attn: Bryan Dausin
9411 Military Dr W
San Antonio, TX 78251

East Bernard High School
Attn: Wade Bosse
727 Fitzgerald St
East Bernard, TX 77435

                                     Page 55
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 56 of 216




East Central High School
Attn: Don Stonefield
1 Trojan Place
Saint Leon, IN 47012

East Grand Rapids High School
Attn: Tim Johnston
2211 Lake Dr SE
Grand Rapids, MI 49506

East High School
Attn: BJ Koch
5011 Mayhew Ave
Sioux City, IA 51106

East High School
Attn: Ed Matey
474 Benington Ave.
Youngstown, OH 44511

East High School
2800 E. Pershing Blvd
Cheyenne, WY 82001

East Jordan High School
Attn: Phyllis Olszewski
101 Maple PO Box 399
East Jordan, MI 49727

East Lyme High School
Attn: Steve Hargis
30 Chesterfield Rd
PO Box 210
East Lyme, CT 06333

East Nashville Magnet High School
Attn: Steve Ball: Principal
110 Gallatin Ave
Nashville, TN 37206

East Paulding High School
Attn: Brad Thomason
3320 E Paulding Dr
Dallas, GA 30157

East Ridge High School
Attn: Rick Everett
13322 Excalibur Road
Clermont, FL 34711

East Ridge High School
Attn: Joel Olson
4200 Pioneer Dr.
                                        Page 56
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 57 of 216



Woodbury, MN 55129

East Saint Louis Senior High School
4901 State St
East Saint Louis, IL 62205

East Valley High School
Attn: Franklin Medrano
5525 Vineland Ave.
North Hollywood, CA 91601

Eastbrook High School
Attn: Pat McLaughlin
560 S 900 E
Marion, IN 46953

Eastern High School
220 N Pennsylvania Ave
Lansing, MI 48912

Eastern Hills High School
Attn: Katrina Smith
5701 Shelton St
Fort Worth, TX 76112


Eastern Junior Senior High School
Attn: Erik Hisner
421 S Harrison St
Greentown, IN 46936

Eastlake High School
Attn: Eugenio Estrada
1120 Eastlake Pky
Chula Vista, CA 91915

Eastlake High School
Attn: JJ Calderon
13000 Emerald Pass Ave
El Paso, TX 79928


Eastlake High School
Attn: Eugenio Estrada
1120 Eastlake Pky
Chula Vista, CA 91915

Eastlake North High School
Attn: Dennis Reilly
34041 Stevens Blvd.
Eastlake, OH 44095

Eastland High School
Attn: James Morton
900 W. Plummer
                                        Page 57
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 58 of 216



Eastland, TX 76448

Eastside High School
Attn: Gil Gomez
3200 W. Ave. J 8
Lancaster, CA 93536

Eastside High School
Attn: Jeff Cher
10245 Eagle Dr
Covington, GA 30014

Eastside Memorial High School
Attn: Leal Anderson
1012 Arthur Stiles Rd
Austin, TX 78721

Eastview High School
Attn: Matt Percival
6200 140th St W
Apple Valley, MN 55124

Eastwood Senior High School
Attn: Jeff Hill
4900 Sugar Ridge Rd
Pemberville, OH 43450

Easy Graphics Corp
1320 Lloyd Rd
Wickliffe, OH 44092

Eaton High School
Attn: Steve Longwell
114 Park Ave
Eaton, CO 80615

Edgewood City Schools
Attn: Randy Stiver
3045 Busenbark Rd
Trenton, OH 45067

Edgewood High School
Attn: Greg Brown
3045 Busenbark Rd
Trenton, OH 45067

Edgewood High School
Attn: Chris Zwettler
2219 Monroe St.
Madison, WI 53711

Edinburgh High School
Attn: David Walden
                                     Page 58
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 59 of 216



300 S Keeley St
Edinburgh, IN 46124

Edison High School
Attn: Jeff Bean
3304 Parkside Ave
Lake Station, IN 46405

Edison High School
Attn: Rich Boyce
21400 Magnolia St.
Huntington Beach, CA 92646

Edison High School
Attn: Pat Riddlesprigger
540 E California Ave
Fresno, CA 93706

Edison High School
Attn: Jeff DiCocco
50 Boulevard of Eagle
Edison, NJ 08817

Edison Preparatory High School
Attn: Raymond Shipps
2906 E 41st St
Tulsa, OK 74105

Edmond North High School
Attn: Scott Merkley
1001 West Danforth St.
Edmond, OK 73003

Edsel Ford High School
Attn: David Mustonen
20601 Rotunda Dr
Dearborn, MI 48124

Edward C. Reed High School
Attn: Ryan Sims
1350 Baring Blvd.
Sparks, NV 89434

Edward H White High School
Attn: Bachir Saoud
1700 Old Middleburg Rd N
Jacksonville, FL 32210

EHS Athletic Booster Club
Attn: Shannon Woolridge
8110 South Houghton Road
Tucson, AZ 85747


                                     Page 59
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 60 of 216



Eisenhower High School
3700 Rt 957
Russell, PA 16345

Eisenhower High School
Attn: Gilbert Pulido
1321 N Lilac Ave
Rialto, CA 92376


Eisenhower High School
Attn: Robin Dilday
6500 25 Mile Rd
Shelby Township, MI 48316


El Camino High School
Attn: Terri Kilpatrick
or Christopher Greene
400 Rancho Del Oro Dr
Oceanside, CA 92057

El Campo High School
Attn: Mr. Demetric Wells
600 W Norris St
El Campo, TX 77437

EL CAPITAN SCHOOL
Attn: Smith Timpson
255 North Cottonwood Street
COLORADO CITY, AZ 86021

El Segundo High School
Attn: Steve Shevlin
640 Main St
El Segundo, CA 90245


El Toro High School
Attn: Grace Kane
25105 Rivendell Dr
Lake Forest, CA 92630

Elder High School
Attn: Kevin Espelage
3900 Vincent Ave
Cincinnati, OH 45205

Eldorado High School
Attn: Robert Cutts
1139 N Linn Ln
Las Vegas, NV 89110

Elgin High School
Attn: Paul Pennington
1200 Maroon Dr.
Elgin, IL 60120
                                     Page 60
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 61 of 216




Elgin High School
Attn: Damon Hitt
Hwy 17 & Mighty Owl Ave
Elgin, OK 73538

Elizabeth Forward High School
Attn: Dennis Zieger or Debbie Starmack
1000 Weigles Hill Rd
Elizabeth, PA 15037

Elizabeth High School
Attn: Gentry Nixon or John Everhart
34500 County Rd 13 PO Box 660
Elizabeth, CO 80107

Elk City High School
Attn: Bill Weatherly
1221 Pioneer Rd
Elk City, OK 73644

Elk City High School
Attn: Bill Weatherly
222 W Broadway Ave
Elk City, OK 73644

Elkhart Central High School
Attn: Brian Buckley
1 Blazer Blvd
Elkhart, IN 46516

Elkhart High School
Attn: Samuel Wells
301 East Parker Rt 1
Box 1001
Elkhart, TX 75839


Elkhart Memorial High School
Attn: Jacquie Rost or Cary Anderson
2608 California Rd
Elkhart, IN 46514


Elkhorn Area High School
Attn: Daniel Kiel
482 E Geneva St
Elkhorn, WI 53121


Elkins High School
Attn: Dennis Brantley
7007 Knights Ct
Missouri City, TX 77459

Elmwood High School
                                         Page 61
               Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 62 of 216



Attn: Ty Traxler
7650 Jerry City Rd
Bloomdale, OH 44817

Elmwood Park Memorial High School
Attn: Daniel Basile
375 River Dr
Elmwood Park, NJ 07407


Elwood Community High School
Attn: Tami Davis
1137 N 19th St
Elwood, IN 46036


Elyria Catholic High School
Attn: Jack Duffy
725 Gulf Rd.
Elyria, OH 44035

Elyria High School
Attn: Heather Beck
601 Middle Ave
Elyria, OH 44035

Emmett High School
Attn: Jonathan Wright
721 W 12th St
Emmett, ID 83617

Encinal High School
Attn: Kevin Gorham
210 Central Ave
Alameda, CA 94501

Enid High School
611 W. Wabash
Enid, OK 73701

Enochs High   School
Attn: Randy   Rubio
3201 Sylvan   Ave
Modesto, CA   95355

Enterprise High School
Attn: Jim Henderson
3411 Churn Creek Rd
Redding, CA 96002

Erin Telisman
25531 Zeman Avenue
Euclid, OH 44132

Escondido Charter High School
                                        Page 62
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 63 of 216



Attn: Ron Page
1868 East Valley Parkway
Escondido, CA 92027

Espanola Valley High School
1111 El Llano
P.O. Box 3039
Espanola, NM 87532


Estacado High School
Attn: Ronnie Kirk
1504 E Itasca
Lubbock, TX 79403


Estancia High School
Attn: Stewart Burnett
PO Box 68
Estancia, NM 87015

Euclid High School
Attn: Pat Higley
711 E. 222nd St.
Euclid, OH 44123

Eunice High School
Attn: Paul Trosclair
301 Bobcat Dr
Eunice, LA 70535

Eureka High School
Attn: Kristie Christiansen
1915 J St
Eureka, CA 95501

Eureka High School
Attn: Mike Oligschlaeger
or Mike Schlittler
4525 Highway 109
Eureka, MO 63025

Eureka High School
Attn: Jason Greene
200 W Cruger St
Eureka, IL 61530

Eustace High School
Attn: Heath Ragle
318 FM 316 S
Eustace, TX 75124

Evadale High School
Attn: Mark Williams
908 FM 105
Evadale, TX 77615
                                     Page 63
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 64 of 216




Evans High School
Attn: Kevin Kenny
4550 Cox Rd
Evans, GA 30809

Evansville Central High School
Attn: Alexandra Henson
5400 North First Ave
Evansville, IN 47710

Eventbrite, Inc
c/o Accounting
PO Box 204845
Dallas, TX 75320

Everman ISD
1000 S. Race St.
Everman, TX 76140

Everman Joe C Bean High School
Attn: Jay Mathieson
1000 S. Race St.
Everman, TX 76140

Everstream Solutions LLC
PO Box 844605
Boston, MA 02284-4605

Fairborn Athletic Department
Attn: Micah Harding
900 E Dayton Yellow Springs Rd
Fairborn, OH 45324

Fairfax High School
Attn: Nancy Melnick
3500 Old Lee Hwy
Fairfax, VA 22030

Fairfield High School
Attn: Mark Harden
8800 Holden Blvd
Fairfield, OH 45014

Fairmont Area Schools
Attn: Sue Nelson or Matt Mahoney
900 Johnson St
Fairmont, MN 56031

Fairmont Athletic Department
Attn: Chris Weaver
3301 Shroyer Rd.
Kettering, OH 45429
                                       Page 64
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 65 of 216




Fairmont Heights High School
Attn: Torrie Lashley
1401 Nye St
Capitol Heights, MD 20743

Fairview High School
Attn: Chris Honeck or Joe Dianetti
4507 W 213th St
Fairview Park, OH 44126

Falcon High School
Attn: Jen Greg
10255 Lambert Road
Peyton, CO 80831

Fallbrook High School
Attn: Patrick Walker
2400 South Stagecoach Ln.
Fallbrook, CA 92028

Fannin County High School
Attn: Scott Ramsey
360 Rebel Circle
Blue Ridge, GA 30513

Farmington High School
Attn: Jeff Burnette or John Bacon
1 Black Knight Dr
Farmington, MO 63640


Farmington High School
Attn: Mary Sheltrown
32000 Shiawassee St.
Farmington, MI 48336

Farmington High School
Attn: Bill Tschida
20655 Flagstaff Avenue
Farmington, MN 55024

Farmington High School
Attn: Eric Matthews
310 N. Lightfoot Rd.
Farmington, IL 61531

Farmington High School
Attn: Linda Crabtree
2200 Sunset Ave
Farmington, NM 87401

Father Gabriel Richard High School
Attn: Hally Yonko
                                         Page 65
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 66 of 216



4333 Whitehall Dr
Ann Arbor, MI 48105

Father Judge High School
Attn: Jake Serfass
3301 Solly Ave
Philadelphia, PA 19136

Fayette Academy
Attn: Rick Sullivan
PO Box 130
Somerville, TN 38068

Fayette Ware Comprehensive High
Attn: Randal Griffith
13520 Highway 59 West
Somerville, TN 38068

FCHS Activities Fund
Attn: Jory Dial
601 E Main St
West Frankfort, IL 62896

FedEX
PO Box 371461
Pittsburgh, PA 15250-7461

Fenton Senior High School
3200 W. Shiawassee Ave
Fenton, MI 48430


Fernandina Beach High School
Attn: Mary Walker
435 Citrona Dr
Fernandina Beach, FL 32034


Fernley High School
Attn: Jeff Knutson or Paul Sullivan
1300 Hwy 95A
Fernley, NV 89408


FHA
Attn: Bill Tschida
20655 Flagstaff Avenue
Farmington, MN 55024


Findlay High School
Attn: Nate Weihrauch
1200 Broad Ave.
Findlay, OH 45840

Finneytown High School
Attn: Gerald Warmack
                                      Page 66
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 67 of 216



8916 Fontainebleau Terr
Cincinnati, OH 45231

First Baptist Academy
Attn: Toby Lynch
7894 Samuell Blvd.
Dallas, TX 75228

First Coast High School
Attn: MARTIN LEE
590 Duval Station Rd
Jacksonville, FL 32218

First Colonial High School
Attn: Hollie Godfrey
1272 Mill Dam Rd
Virginia Beach, VA 23454

Fitzgerald   High School
Attn: Marc   Sonnenfeld
23200 Ryan   Rd
Warren, MI   48091

Flagler Palm Coast High School
Attn: Steve DeAugustino
5500 East Hwy 100
Palm Coast, FL 32164

Flanagan-Cornell District 74
Attn: Brian Yoder
202 E. Falcon Hwy.
Flanagan, IL 61740

FLEMING ISLAND HIGH SCHOOL
Attn: Travis Cunningham
2233 Village Square Parkway
ORANGE PARK, FL 32003

Flushing High School
Attn: Kevin Foltz
5039 Deland Rd
Flushing, MI 48433

Folsom High School
Attn: Lisa Finley
1655 Iron Point Rd.
Folsom, CA 95630

Ford High School
2000 Evergreen Road
Detroit, MI 48219

Fordson High School
                                       Page 67
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 68 of 216



Attn: David Mustonen
13800 Ford Rd
Dearborn, MI 48126

Forest Hills Eastern High School
Attn: Ben Sherman
2200 Pettis NE
Ada, MI 49301

Forest Hills Northern High School
Attn: Cory Anderson
3801 Leonard NE
Grand Rapids, MI 49525

Forest Lake High School
Attn: Aaron Forsythe
6101 Scandia Trail N.
Forest Lake, MN 55025

Forney High School
Attn: Neal Weaver
800 College Avenue
Forney, TX 75126

Forney ISD Athletics
Attn: Neal Weaver
6170 N. Mason Blvd.
Forney, TX 75126

Forrest High School
Attn: Scott Delk
310 N Horton Pky
Chapel Hill, TN 37034

Fort Frye High School
Attn: BARBARA SLEEK
420 5Th St.
Beverly, OH 45715

Fort LeBoeuf High School
931 High St
Waterford, PA 16441

Fort Stockton High School
Attn: Mike Peters
1200 W 17th St
Fort Stockton, TX 79735

Fort Worth ISD
Attn: Michele Beck
100 N. University Drive
Fort Worth, TX 76107


                                        Page 68
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 69 of 216



Fortuna Union High School
Attn: Tony Miles
379 12th St
Fortuna, CA 95540

Fossil Ridge High School
Attn: Brandon Carlucci
5400 Ziegler Road
Fort Collins, CO 80528

Fountain Hills High School
Attn: Amanda Baca
16100 E Palisades Blvd
Fountain Hills, AZ 85268

Foy Moody High School
Attn: Brenda Marshall
1818 Trojan
Corpus Christi, TX 78416

Framingham High School
Attn: Matt Milano
115 A St
Framingham, MA 01701

Francis Howell Central High School
Attn: Scott Harris
5199 Hwy N St Charle
Saint Charles, MO 63304

Francis Howell High School
Attn: Sean Erwin
7001 Hwy 94 S
Saint Charles, MO 63304

FRANK PETERSON ACADEMY OF TECH
Attn: Jessica Mastromatto
7450 WILSON BLVD
JACKSONVILLE, FL 32244


Frankford Middle School Theatre
Attn: Mia Fisher
7706 Osage Plaza Parkway
Dallas, TX 75252


Frankfort Community High School
Attn: Richard Glodich
601 E Main St
West Frankfort, IL 62896

Franklin Community High School
Attn: Bill Doty
2600 Cumberland Dr.
Franklin, IN 46131
                                         Page 69
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 70 of 216




Franklin High School
Attn: Angel Santa Cruz
900 N Resler Dr
El Paso, TX 79912
Franklin High School
Attn: Dave Scrivener
12000 Reistertown Rd
Reisterstown, MD 21136

Franklin Simpson High School
Attn: Joey Kilburn
400 S College St
Franklin, KY 42135

Franklinton High School
Attn: Russell Holloman
910 Cedar Creek Road
Franklinton, NC 27525

Frankston High School
Attn: Jonny Louvier
100 Perry St
Frankston, TX 75763

Frankton Junior Senior High School
Attn: Greg Granger
610 Clyde St
Frankton, IN 46044

Frazier High School
Attn: Zach Keefer
142 Constitution St
Perryopolis, PA 15473

Frederick Douglass High School
Attn: Julius Pinkney
8000 Croom Rd
Upper Marlboro, MD 20772

Frederick Douglass High School
Attn: Garry McPeek
2000 Winchester Road
Lexington, KY 40509

Fremont High School
Attn: Dave Walls
204 E Main St
Fremont, MI 49412

Fremont Ross High School
Attn: Chad Berndt
1100 North St
                                         Page 70
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 71 of 216



Fremont, OH 43420

Friendly High School
Attn: Alyssa Hoover
10000 Allentown Rd
Fort Washington, MD 20744

Friendship Collegiate Academy
Attn: Jasmine Roberts
4095 Minnesota Ave NE
Washington, DC 20019

Fruitvale High School
Attn: Ben Lassiter
P.O. Box 77
Fruitvale, TX 75127

FSISD
Attn: Beverly Olsen
101 W Division
Fort Stockton, TX 79735

Fulshear High School
9302 Bois D Arc Ln
Fulshear, TX 77441

Fulton High School
1207 12th St
Fulton, IL 61252

Furr High School
520 Mercury Dr
Houston, TX 77013

Gadsden High School
Attn: Todd Lamberth
1917 Black Creek Pkwy
Gadsden, AL 35901

Gahanna Lincoln High School
Attn: Bert Ward or Kathryn Harris
or Justin Sanford
140 S Hamilton Rd.
Gahanna, OH 43230

Galena Park High School
Attn: Vivian Dancy
1000 Keene St
Galena Park, TX 77547

Galva Jr/Sr High School
Attn: Jake Flowers
224 Morgan Rd.
                                        Page 71
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 72 of 216



Galva, IL 61434

Ganado Junior Senior High School
Attn: Joey Rosalez
PO Box 1200
Ganado, TX 77962

Garden Spot High School
699 E Main St
New Holland, PA 17557

Gardendale High School
Attn: Ben Franklin
800 Main St
Gardendale, AL 35071

Garfield Heights High School
Attn: Dale Krzynowek
4900 Turney Road
Cleveland, OH 44125

Garrison High School
Attn: Reid Spivey
459 Hwy 59 N
Garrison, TX 75946

Gary Middle College
131 E 5th Ave
Gary, IN 46402

Gary Middle College West
Attn: Joseph Arredondo
4030 W 5TH Ave
Gary, IN 46406

Gatesville High School
Attn: Christi Smalley
205 S Lovers Ln
Gatesville, TX 76528


Gateway High School
Attn: Rob Varner
1300 S Sable Blvd
Aurora, CO 80012

Gaylord High School
Attn: Christian Wilson
90 Livingston Blvd.
Gaylord, MI 49916

GBHS Football
6707 FM 1464 Rd
Richmond, TX 77469
                                       Page 72
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 73 of 216




GCHS
Attn: John Moad
3101 Madison Ave
Granite City, IL 62040

Genesee High School
Attn: Anthony Merlo
7347 N Genesee Rd.
Genesee, MI 48437

Geneva Community High School
Attn: Dave Carli
416 McKinley Ave.
Geneva, IL 60134

Gentry High School
Attn: Randy Ball
801 B.B. King Dr.
Indianola, MS 38751

George Bush High School
Attn: Rodney Chant
6707 FM 1464 Rd
Richmond, TX 77469

George Rogers Clark High School
Attn: Jamie Keene
620 Boone Ave
Winchester, KY 40391


George Rogers Clark High School
Attn: David Verta
1921 Davis Ave
Whiting, IN 46394

George Washington High School
Attn: Kevin Maguire
655 S Monaco St
Denver, CO 80224

George Washington High School
Attn: Ken Geiser
10175 Bustleton Avenue
Philadelphia, PA 19116

George Westinghouse College Prep
Attn: Chris Washington
3223 W. Franklin Blvd.
Chicago, IL 60624

Gering Senior High School
1500 U St
                                       Page 73
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 74 of 216



Gering, NE 69341

Germantown High School
Attn: Jack Klebesadel
W 180 N 11501 River Ln.
Germantown, WI 53022

GHAPS
Attn: Athletics
17001 Ferris St
Grand Haven, MI 49417

GHS Athletics
Attn: Dave Carli
416 McKinley Ave.
Geneva, IL 60134

Gilmer High School
Attn: Amy Ward
308 N Bradford
Gilmer, TX 75644

Girard High School
Attn: Nick Cochran - Athletic Dept
1244 Shannon Rd
Girard, OH 44420

Gladewater High School
Attn: John Berry
2201 W Gay Ave
Gladewater, TX 75647

Glen Este High School
Attn: Dan Simmons
4342 Glen Este-Withamsville Rd
Cincinnati, OH 45245

Glen Rose High School
Attn: Kelly Shackelford or Cliff Watkins
900 Stadium Dr
Glen Rose, TX 76043

Glendale High School
Attn: Patrick Lancaster
1440 E Broadway
Glendale, CA 91205

Glenoak High School
Attn: Scott Garcia
1801 Schneider St. NE
Canton, OH 44721

Glenwood Springs High School
                                         Page 74
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 75 of 216



Attn: Craig Denney
1521 Grand Avenue
Glenwood Springs, CO 81601

Globe High School
Attn: James Simmons
460 N. Willow
Globe, AZ 85501


Glynn Academy High School
Attn: Steve Waters
1001 Mansfield St
Brunswick, GA 31520


Godinez Fundamental High School
Attn: Greg Coombs
3002 Cenennial Rd
Santa Ana, CA 92704

Godwin Heights High School
Attn: Robert Hisey
50 35th St SW
Wyoming, MI 49548

Golden Valley High School
Attn: Robert Haskell
801 Hosking Ave
Bakersfield, CA 93307

Goliad High School
Attn: Michelle Duval
749 N. Tiger Dr
Goliad, TX 77963

Goodwell High School
Attn: Shawn Strain
326 East Eagle Blvd.
Goodwell, OK 73939

Goshen High School
Attn: Barry Younghans
401 Lincolnway East
Goshen, IN 46526

Goshen High School
Attn: Scott Wake
6707 Goshen Rd
Goshen, OH 45122


GRACE CHRISTIAN SCHOOL
Attn: Ken Borgia
9403 Scot Street
HUDSON, FL 34669

                                      Page 75
               Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 76 of 216




Graford High School
Attn: Ty Tabor
400 W Division St
Graford, TX 76449

Grafton High School
Attn: Laura Sutton
403 Grafton Dr
Yorktown, VA 23692

Graham High School
Attn: Tom Lewis or Ken Davidson
1000 Brazos St
Graham, TX 76450

Granbury High School
Attn: Dwight Butler
600 W Pearl St
Granbury, TX 76048

Grand   Haven High School
Attn:   Taylor Schriber
17001   Ferris St
Grand   Haven, MI 49417

GRAND PARK CAREER CENTER
Attn: Tyrone Blue
2335 W 18TH ST
JACKSONVILLE, FL 32209


Grand Prairie High School
Attn: Troy Mathieu
2602 S. Belt Line Rd.
Grand Prairie, TX 75053

Grand Rapids Christian High School
Attn: Lindsay Hart
2300 Plymouth Rd SE
Grand Rapids, MI 49506

Grand Valley High School
Attn: Dave Walck
800 Cardinal Way
Parachute, CO 81635

Grandville High School
Attn: Brian Parsons
4700 Canal Ave SW
Grandville, MI 49418


Granite City High School
Attn: John Moad
3101 Madison Ave
                                         Page 76
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 77 of 216



Granite City, IL 62040

Granite Hills High School
Attn: James Davis
1719 E Madison Ave
El Cajon, CA 92019

Grant High School
Attn: Paige Paulsen
331 E State St
Grant, MI 49327

Granville High School
Attn: Kevin Jarrett
248 New Burg St
Granville, OH 43023

Grapevine High School
Attn: Janice Kane
3223 Mustang Dr.
Grapevine, TX 76051

Graphic Tickets & Systems
612 Hangar Lane
Suite 223
Nashville, TN 37217

Graves County High School
Attn: Paul K. Elliot
1220 Eagles Way
Mayfield, KY 42066

Grayson High School
Attn: Wendy Carrier or Amy Schieffelin
50 Hope Hollow Rd
Loganville, GA 30052

Greeley West High School
Attn: Ken Denning
2401 35th Ave
Greeley, CO 80634

Green All - Sports Booster Club
Attn: Stacy Messner
1474 Boettler Rd.
Uniontown, OH 44685

Green High School
Attn: Stacy Messner or Crissy Norris
1474 Boettler Rd
PO Box 218
Union Town, OH 44685


                                         Page 77
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 78 of 216



Green Mountain High School
Attn: Tommy Dodge
13175 W Green Mountain Dr
Lakewood, CO 80228

Greencastle Antrim High School
Attn: Vicki Ritchey
300 S Ridge Ave
Greencastle, PA 17225

Greencastle High School
910 E Washington St
Greencastle, IN 46135


Greendale High School
Attn: Mark Pollex
6801 Southway
Greendale, WI 53129

Greenfield High School
Attn: Joe Pembrook
502 East St
Greenfield, IL 62044

Greenfield Tiger Athletics
Attn: Joe Pembrook
502 East St
Greenfield, IL 62044

Greensburg Community High School
Attn: Stacy Meyer
1000 E Central Ave
Greensburg, IN 47240

Greenville Christian School
Attn: Kailey Stewart
8420 Jack Finney Blvd
Greenville, TX 75402

Greenville High School
Attn: Eddie Ostipow
111 N Hillcrest
Greenville, MI 48838

Greenville High School
Attn: Joe Alstat
1000 E State Rt 140
Greenville, IL 62246


Greenwood High School
Attn: Rob Irwin
615 W. Smith Valley Rd.
Greenwood, IN 46142

                                       Page 78
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 79 of 216




Greenwood High School
Attn: Todd Tolbert
5065 Scottsville Rd.
Bowling Green, KY 42104

Greenwood High School
1209 Garrard Avenue
Greenwood, MS 38930


Gridiron Club
Attn: Heather Lundt
665 Coolidge Ave
Rhinelander, WI 54501


Grinnell Community Senior High School
Attn: Courtney Donohoe
1333 Sunset St
Grinnell, IA 50112

Grosse Pointe North High School
Attn: Michelle Davis or Teresa Bennett
or Brian Shelson
707 Vernier Rd
Grosse Pointe, MI 48236

Grosse Pointe South High School
Attn: Chris Booth
11 Grosse Pointe Blvd.
Grosse Pointe, MI 48236

Grove City High School
Attn: Ron Hutcheson or Tim Willison
4665 Hoover Rd
Grove City, OH 43123

Guerin Catholic High School
Attn: Eric Glanders or Chris Buhler
or Matt Lane
15300 Gray Road
Noblesville, IN 46060

Gull Lake High School
Attn: Karyn Furlong
7753 North 34th Street
Richland, MI 49083

Gunnison High School
Attn: Dave Uhrig
88 W Ohio
Gunnison, CO 81230

Guthrie Senior High School
Attn: Jon Chappell
                                         Page 79
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 80 of 216



200 Crooks Dr
Guthrie, OK 73044

Guyer High School
Attn: Eric Lokey
7501 Teasley Lane
Denton, TX 76210

Gwendolyn Brooks College Prep High School
Attn: Reggie Dawson
250 E. 111th St.
Chicago, IL 60628

Hackensack High School
1st & Beech St
Hackensack, NJ 07601

Haines City High School
Attn: MEL GABLES
2800 Hornet Dr
Haines City, FL 33844

Hallsville Athletic Booster Club
Attn: Carla Russell
1 Bobcat Ln
Hallsville, TX 75650

Hallsville High School
Attn: David Plunk
1 Bobcat Ln
Hallsville, TX 75650

Hamilton High School
Attn: Clay Tarpley
611 S College St
Hamilton, TX 76531

Hamilton High School
Attn: Bill Molbeck
6215 W Warnimont Ave.
Milwaukee, WI 53220

Hamilton Southeastern High School
Attn: Greg Habegger
13910 E 126th St
Fishers, IN 46037

Hammond Academy of Science & Technology
Attn: Eric Speer
33 Muenich Ct
Hammond, IN 46320

Hammond High School
                                        Page 80
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 81 of 216



Attn: Larry Moore
5926 Calumet Ave
Hammond, IN 46320

Hampton High School
Attn: Bill Cardone or Jeff Kline
2929 McCully Rd
Allison Park, PA 15101


Hamshire Fannett High School
Attn: Genny LeDoux
12552 2nd St
Hamshire, TX 77622


Hancock County High School
Attn: David Hobbs or Danny Gray
80 State Rt 271 S
Lewisport, KY 42351

Harbor Creek High School
Attn: Mary Yount
6375 Buffalo Rd
Harbor Creek, PA 16421

Harbor Springs High School
Attn: Adam Wood
327 E Bluff Dr
Harbor Springs, MI 49740


Hardee High School
Attn: Travis Tubbs
830 Altman Rd
Wauchula, FL 33873

Hardee Junior High School
2405 US Highway 17 North
Wauchula, FL 33873

Hardee Senior High School
374 Altman Road
Wauchula, FL 33873

Hardin Jefferson High School
Attn: Jared Sloan
3155 Hwy 326
Sour Lake, TX 77659

Harding High School
Attn: Gerald Keenan or Kathy Jackson
1540 E 6th St
Saint Paul, MN 55106

Harlan High School
                                       Page 81
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 82 of 216



Attn: James Donahue
420 E. Central St.
Harlan, KY 40831

Harmony High School
Attn: Tim Russell
9788 State Hwy 154 W
Big Sandy, TX 75755


Harmony School Of Innovation
Attn: Tralon Harvey
8100 S Hulen St
Fort Worth, TX 76123


Harmony Science Academy
1516 53rd St,
Lubbock, TX 79412

Harrisburg High School
Attn: Calvin Everett
2451 Market St
Harrisburg, PA 17103

Harrison High School
Attn: Kim Huaranga
800 Hamilton St
Harrison, NJ 07029

Harrison High School
Attn: Mark Meibers
9860 West Rd.
Harrison, OH 45030

Harwood Career Prep High School
3013 N First Ave
Evansville, IN 47710

Hastings High School
Attn: Lynette Miller
4410 Cook Rd
PO Box 68
Houston, TX 77072

Haughton High School
Attn: Jason Brotherton
210 E McKinley Dr
Haughton, LA 71037

Hauser Junior Senior High School
Attn: Ron Hounshell
9273 N. S.R. 9
Hope, IN 47246


                                       Page 82
             Case 19-12233-LSS    Doc 8     Filed 10/18/19   Page 83 of 216



Hawkins High School - Lee Academy of
Science and Engineering
Attn: Lois Butler
1826 Basse Rd
San Antonio, TX 78213

Hayfork High School
Attn: Randy Harrison
231 Oak St
Hayfork, CA 96041

Hayward High School
PO Box 860
Hayward, WI 54843


Hayward High School
Attn: Kristy Prasad
1633 East Ave
Hayward, CA 94541

Hazleton Area High School
1601 W 23rd St
Hazleton, PA 18202

Hearne High School
Attn: Ricky Sargent
1201 W. Brown
Hearne, TX 77859

Heath High School
Attn: Ellis Booth
300 Licking View Dr
Heath, OH 43056

Hebron High School
Attn: John Steinhilber
307 S Main St
Hebron, IN 46341


Hedgesville High School
Attn: Derek Oldfield or Aaron Whitford
109 Ridge Rd N
Hedgesville, WV 25427

Heidelberg University Theatre
Attn: Stephen Svoboda
310 E Market St
Tiffin, OH 44883

Heights High School
413 E 13th St
Houston, TX 77008


                                         Page 83
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 84 of 216



Hempfield Area High School
Attn: Greg Meisner
4345 Route 136
Greensburg, PA 15601

Hemphill High School
Attn: Gary Vanya
1000 Milam St.
Hemphill, TX 75948

Henderson High School
Attn: Phil Castles
1900 Hwy 64 W
PO Box 728
Henderson, TX 75652

Henderson High School
Attn: Henderson Athletics
400 Montgomery Ave.
West Chester, PA 19380

Hendrick Middle School Theatre
Attn: Randi Wilson
7400 Red River Drive
Plano, TX 75025

Henry Clay High School
Attn: Whitney Steiner
2100 Fontaine Rd
Lexington, KY 40502

Henry County High School
Attn: Gregory Shook
401 E Tomlinson St
McDonough, GA 30253

Henry Ford High School
Attn: Kenneth Flowers
20000 Evergreen St.
Detroit, MI 48219


Henry Ford II High School
Attn: Robin Dilday
11911 Clinton Riv
Sterling Heights, MI 48313


Henry Sibley High School
Attn: Prentice Smith
1897 Delaware Ave
Mendota Heights, MN 55118


Henryville Junior Senior High School
Attn: Jaclyn Goode
213 N Ferguson St
                                       Page 84
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 85 of 216



Henryville, IN 47173

Hereford High School
Attn: Monica Valdez
200 Ave F
Hereford, TX 79045

Heritage Christian School
Attn: Michelle York
6401 E 75th St
Indianapolis, IN 46250

Heritage High School
Attn: Pete Ryan
3465 N. Center Rd.
Saginaw, MI 48603

Heritage High School
Attn: Brock Becker
1401 W Geddes Ave
Littleton, CO 80120

Herrin High School
Attn: Mike Mooneyham
700 N 10th St.
Herrin, IL 62948

Hesperia High School
Attn: Joseph Conkle
8977 5 Mile Road
Hesperia, MI 49421

Hialeah Miami Lakes High School
Attn: Kenan Lawhorne
7977 W 12th Ave
Hialeah, FL 33014

Hialeah Senior High School
Attn: Len Sanders
251 E 47th St
Hialeah, FL 33013

Hiawatha High School
Attn: Mark Zych or Cathy Lutz
410 S. 1st St.
Kirkland, IL 60146

Highland High School
Attn: Ben Buening
Hwy 6 PO Box 366
Ewing, MO 63440

Highland High School
                                      Page 85
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 86 of 216



Attn: John Barnhill
4700 Coal Ave SE
Albuquerque, NM 87108

Highland High School
John Deuber
4150 Ridge Rd
Medina, OH 44256


Highland High School
Attn: Ryan Harrington
9135 Erie St
Highland, IN 46322


Highland High School
Attn: Steve Latuda
208 West First Street
Ault, CO 80610

Highlands High School
Attn: Charles Debor
1500 Pacific Ave
Natrona Heights, PA 15065

Highlands High School
Attn: Joel Bazon
3118 Elgin Avenue
San Antonio, TX 78210

Highlands Ranch High School
Attn: Bruce Wright
9375 S Cresthill Ln
Highlands Ranch, CO 80126

Hightower High School
Attn: Padriac McGinnis
3333 Hurricane Ln
Missouri City, TX 77459

Higley High School
Attn: Aaron Dille
4068 E. Pecos Rd.
Gilbert, AZ 85297

Hilliard Bradley High School
Attn: Eric Ryan or
Cort Hamilton - Athletics
2800 Walker Rd
Hilliard, OH 43026

Hilliard Darby High School
Attn: Chris Ludban
4200 Leppert Rd.
Hilliard, OH 43026
                                     Page 86
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 87 of 216




Hilliard Davidson High School
Attn: Nate Bobek
5100 Davidson Rd
Hilliard, OH 43026

Hillsboro High School
Attn: John Robertson
1600 Abbott Ave
Hillsboro, TX 76645

Hilltop High School
Attn: Tony Gerig
1401 West Jackson
West Unity, OH 43570

Hilltop High School
Attn: Nancy Acerrio
555 Claire Ave
Chula Vista, CA 91910

Hinkley High School
Attn: Rodney Padilla
1250 Chambers Rd
Aurora, CO 80011


Hinsdale Central High School
Attn: Dan Jones
5500 S. Grant St
Hinsdale, IL 60521

Hinsdale South High School
Attn: Athletic Department
7401 Clarendon Hills Road
Darien, IL 60561

Hiram High School
Attn: Andy Dorsey
702 Virgie Ballentine Drive
Hiram, GA 30141

Hirschi High School
Attn: Scott Hafley
3106 Borton
Wichita Falls, TX 76306

Hmong Academy
Attn: Fong Vang
1515 Brewster St
Saint Paul, MN 55108

Hobart High School
Attn: Michael Black or Robert Glover
                                       Page 87
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 88 of 216



2211 East 10th Street
Hobart, IN 46342

Holdrege Activities Department
Attn: Linda Digiovannie
505 14th Ave.
Holdrege, NE 68949

Holland High School
Attn: Brad Talbert
105 S Rose Lane
Holland, TX 76534

Holly Wetzel
139 Main Street
West Lake, OH 44145

Holt High School
Attn: Renee Sadler
5885 Holt Rd
Holt, MI 48842

Holton High School
Attn: Jack Nummerdor
6477 Syers Rd
PO Box 159
Holton, MI 49425

Holton High School
Attn: Brent Bechard
9010 New York Ave.
Holton, KS 66436

Holy Cross of San Antonio
Attn: Mike Harrison
426 N. San Felipe
San Antonio, TX 78228

Holy Name High School
Attn: Jack Richardson or Rich Kozub
6000 Queens Hwy.
Parma Heights, OH 44130

Holy Savior Menard High School
Attn: DAVID PERKINS
4603 Coliseum Blvd
Alexandria, LA 71303

Homestead High School
Attn: Ryan Mangan - Athletics
5000 W Mequon Rd.
Thiensville, WI 53092


                                      Page 88
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 89 of 216



Homestead Senior High School
2351 SE 12th Ave
Homestead, FL 33035

Honey Grove High School
Attn: Gary Schultz
107 N. 17th St.
Honey Grove, TX 75446


Hoover High School
Attn: Vanessa Stahley
4474 El Cajon Blvd
San Diego, CA 92115


Hope High School
Attn: Bill Hoglund
1700 S Main St
Hope, AR 71801

Hopkins High School
Attn: Jennifer Williams or Joe Perkl
2400 Lindbergh Dr
Minnetonka, MN 55305

Horizon High School
Attn: Howard Prestwood
14651 Horizon Blvd
El Paso, TX 79928

Horizon High School
Attn: Larry Boyles or Hannah Harris
5601 E Greenway Rd
Scottsdale, AZ 85254

Houston Christian High School
Attn: Danny Ruiz
2700 W. Sam Houston Pkwy. N.
Houston, TX 77043

Houston County High School
Attn: Ray Busey
2500 St Rt 149
Erin, TN 37061

Houston High School
Attn: Chad Becker
9755 Wolf River Blvd.
Germantown, TN 38139


Howell High School
Attn: John Young
1200 W. Grand River Ave.
Howell, MI 48843

                                       Page 89
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 90 of 216




Howland High School
Attn: Andrea Ferenac
200 Shaffer Dr. NE
Warren, OH 44484

Hubbard High School
Attn: Chuck Montgomery - Athletic Dept
350 Hall Ave.
Hubbard, OH 44425

Hudson High School
Attn: David Laroche or Rob Mahler
14410 Cobra Way
Hudson, FL 34669

Hudson High School
Attn: Glen Kimble
6735 Ted Trout Dr
Lufkin, TX 75904

Hudson High School
Attn: Kevin Wurzer
245 S. Washington St.
Hudson, IA 50643

Hudson High School
Attn: Mike Chuppa
2500 Hudson Aurora Rd.
Hudson, OH 44236


Hug High School
2880 Sutro St
Reno, NV 89512

Hughes Springs ISD
Attn: Sarah Dildine
871 Taylor Street
Hughes Springs, TX 75656


Humble High School
Attn: Troy Kite
1700 Wilson Rd
Humble, TX 77338

Hunterdon Central High School
Attn: Bob Rossi
84 Rt 31
Flemington, NJ 08822


Huntingdon Area High School
Attn: Dean Grenfell
2400 Cassady Ave
Huntingdon, PA 16652
                                         Page 90
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 91 of 216




Huntington High School
Attn: Shawn Jones
952 Gibson St
PO Box 328
Huntington, TX 75949

Huntley High School
Attn: Chris Maxedon or Glen Wilson
13719 Harmony Rd
Huntley, IL 60142

Huron High School
Attn: Dottie Davis
2727 Fuller Rd
Ann Arbor, MI 48105

Huron High School
Attn: Steve Camella
710 Cleveland Road West
Huron, OH 44839

Huron High School
Attn: Marty Salazar
32044 Huron River Dr.
New Boston, MI 48164

Hutto ISD
Attn: Jeffri Orosco
200 College Street
Hutto, TX 78634



IC Catholic Prep
217 Cottage Hill Ave
Elmhurst, IL 60126

Imagine Prep Coolidge
1290 W Vah Ki Inn Rd.
Coolidge, AZ 85128

Independence High School
Attn: Steve Papin or Anne Finney
1776 Educational Park Dr
San Jose, CA 95133

Independence High School
Attn: Matt Belden
6602 N 75th Ave
Glendale, AZ 85303

Indian Creek High School
Attn: Derek Perry
                                         Page 91
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 92 of 216



803 W Indian Creek Dr
Trafalgar, IN 46181

Indiana Academy
Steve Baughman
24815 State Route 19
Ciero, IN 46034

Indio High School
Attn: Ovidio Machado
81750 Ave 46
Indio, CA 92201

Innovation Academy Charter School
Attn: Ann Cottle
72 Tyng Road
Tyngsboro, MA 01879

Iowa High School
Attn: Tommy Johns
401 W Miller Rd.
Iowa, LA 70647

Irmo High School
Attn: Reggie Kennedy
6671 St Andrews Rd
Columbia, SC 29212


Iroquois West High School
Attn: Kristy Arie
529 E 2nd St
Gilman, IL 60938

Irving High School
Attn: Mike Luttrell
900 N O'Connor Rd
Irving, TX 75061

Italy High School
Attn: David Weaver
300 S College St
Italy, TX 76651

J H Rose High School
600 W Arlington Blvd
Greenville, NC 27834

J J Pearce High School
Attn: Leslie Slovak
400 S. Greenville Avenue
Richardson, TX 75081

J M Hanks High School
                                        Page 92
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 93 of 216



Attn: Dave McKinney
2001 N Lee Trevino St
El Paso, TX 79936

J W Nixon High School
Attn: GERARDO CRUZ
2000 E Plum St
Laredo, TX 78043


Jacksboro High School
Attn: Brannon Rodgers
812 W Belknap St
Jacksboro, TX 76458


Jackson High School
Attn: Terry Peterson
7600 Fulton Dr NW
Massillon, OH 44646

Jackson Senior High School
Attn: Jack Fairly
544 Wildwood Ave
Jackson, MI 49201

Jacksonville High School Athletics
Attn: Jerry Wilson
2400 Linda Ln
Jacksonville, AR 72076

Jacobs High School
Attn: Jeremy Bauer or Joe Benoit
2601 Bunker Hill Dr.
Algonquin, IL 60102

James Bowie High School
Attn: Danny Dearman
2101 Highbank Dr
Arlington, TX 76018

James Bowie High School
Attn: Buddy Ray
47 James Bowie Lane
Simms, TX 75574

James Earl Rudder High School
Attn: Lance Angel
3251 Austins Colony Pkwy.
Bryan, TX 77808

James Monroe High School
9229 Haskell Ave
Sepulveda, CA 91343


                                         Page 93
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 94 of 216



Jarrell High School
Attn: Amos Davidson
1100 W. FM 487
Jarrell, TX 76537

Jay County High School
Attn: Chad Dodd
2072 W State Rte 67
Portland, IN 47371

Jean Ribault High School
Attn: William Griffin
3701 Winton Dr
Jacksonville, FL 32208

Jeannette High School
Attn: Jon Pedrosky
418 Florida Ave
Jeannette, PA 15644

Jefferson High School
Attn: Charles Young
723 Donaldson Ave
San Antonio, TX 78201

Jefferson High School
Attn: John Falabella
6996 Mission St
Daly City, CA 94014


Jefferson High School
Attn: Lynn Fratangelo
1 Bulldog Drive
Jefferson, TX 75657

Jefferson High School
4401 West Cypress Street
Tampa, FL 33607

Jeffersonville High School
Attn: Todd Satterly
2315 Allison Ln
Jeffersonville, IN 47130

Jenks High School
Attn: Tony Dillingham or Kevin Stufflebeam
205 E B St
Jenks, OK 74037

Jennifer Lewis
3914 Privet Place
San Antonio, TX 78259


                                      Page 94
             Case 19-12233-LSS       Doc 8   Filed 10/18/19   Page 95 of 216



Jennings County High School
Attn: Mike Broughton
800 W Walnut Street
North Vernon, IN 47265

Jimtown High School
Attn: Byron Sanders
59021 County Rd 3 S
Elkhart, IN 46517

John Burroughs High School
Attn: Kenny Knoop
1920 Clark Street
P.O. Box 6692
Burbank, CA 91506

John Curtis High School
Attn: Johnny Curtis or Jeff Curtis
10125 Jefferson Hwy
River Ridge, LA 70123

John F Kennedy High School
Attn: Marcos Pineda
6715 Gloria Dr
Sacramento, CA 95831

John Glenn High School
Attn: Eric Stephens
201 John Glenn Dr
Walkerton, IN 46350

John Glenn High School
Attn: Troy Lynch
3201 Kiesel Rd
Bay City, MI 48706

John Hay High School
Attn: Karen Gnabah-Mortensen
2075 Stokes Blvd
Cleveland, OH 44106


John Marshall High School
Attn: Tiffany Broiles
12201 North Portland Avenue
Oklahoma City, OK 73120

John Marshall High School
Attn: Tim Primus or Joe Gilbert
3952 W 140th St.
Cleveland, OH 44111


John Muir High School
Attn: Milica Protic
1905 Lincoln Ave
                                         Page 95
             Case 19-12233-LSS    Doc 8    Filed 10/18/19   Page 96 of 216



Pasadena, CA 91103

John Tyler High School
Attn: Greg Priest
1120 North NW Loop 323
Tyler, TX 75702

JOHNSON HIGH SCHOOL
Attn: Tim Moore
23203 Bulverde Rd
SAN ANTONIO, TX 78259

Jonesboro High School
Attn: Dan Maehlman
7728 Mt Zion Blvd
Jonesboro, GA 30236

Jordan Senior High School
Attn: Lamarr Biffle
6500 Atlantic Blvd
Long Beach, CA 90805

Joseph City High School
Attn: Dan Bushman
4629 2nd North Street
Joseph City, AZ 86032

Joshua High School
Attn: Mike Burt
909 S Broadway St
Joshua, TX 76058

Joshua Ninth Grade Campus
Attn: Kenneth Bodine
1035 S. Broadway
Joshua, TX 76058

Juan Diego Catholic High School
Attn: Lynelle Williams
300 E 11800 S
Draper, UT 84020

Juarez Lincoln HS Theatre La Joya ISD
Attn: Nanette Limas - Fine Arts
200 W. Expressway 83
La Joya, TX 78560

Judson Senior High School
Attn: Sean Mcauliffe
9142 FM 78
Converse, TX 78006

Junipero Serra High School
                                        Page 96
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 97 of 216



Attn: Joe Cormier
14830 S Van Ness Ave
Gardena, CA 90249

Kahuku High School
Attn: Gillian Yamagata
56-490 Kamehameha Highway
Kahuku, HI 96731


Kaitlin McCann
5665 Arapaho Rd #2031
Dallas, TX 75248

Kalamazoo Central High School
Attn: Dylan Patterson
2432 N Drake Rd.
Kalamazoo, MI 49006

Kalkaska High School
109 N Birch St
PO Box 580
Kalkaska, MI 49646

Kankakee High School
Attn: Ronnie Wilcox
1200 W Jeffery St
Kankakee, IL 60901

Karen Wagner High School
Attn: Charles Bruce
3000 N. Foster Road
San Antonio, TX 78244

Kashmere High School
6900 Wileyvale Rd
Houston, TX 77028

Kathleen High School
Attn: Tom Sasser
1100 Red Devil Way
Lakeland, FL 33805

Katie Hicks
2904 Bridge Ave
Cleveland, OH 44113

Katy ISD
Attn: BK Goodman
21000 Franz Road
Katy, TX 77449

Kaufman High School
Attn: Jeramy Burleson
                                     Page 97
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 98 of 216



3205 S Houston St
Kaufman, TX 75142

Kealakehe High School
Attn: Alan Vogt
74-5000 Puohulihuli St.
Kailua-Kona, HI 96740

Kearney Catholic High School
Attn: Rick Petri
110 E 35th St
Kearney, NE 68847

Kearsley High School
Attn: Paul Gaudard
4302 Underhill Dr.
Flint, MI 48506

Kelly Catholic High School
Attn: James Ashby
5950 Kelly Dr
Beaumont, TX 77707

Kelso High School
Attn: Rob Birdsell
1904 Allen St
Kelso, WA 98626

Kemp High School
Attn: Brandon Hankins
220 St. Hwy 274
Kemp, TX 75143

Kempner High School
Attn: Darrin Andrus
14777 Voss Rd
Sugar Land, TX 77478

Kennard High School
Attn: Sharonda Johnson
304 TX-7
Kennard, TX 75847

Kennesaw Mountain High School
Attn: Don Baker
1898 Kennesaw Due West Rd
Kennesaw, GA 30152

Kent Roosevelt High School
Attn: Mark Pfaff
1400 N Mantua St
Kent, OH 44240


                                     Page 98
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 99 of 216



Kentlake High School
Attn: Dr. Joe Potts
21401 SE Falcon Way
Kent, WA 98042

Kenwood High School
Attn: Garry Chadwell
251 E Pine Mountain Rd
Clarksville, TN 37042

Kermit High School
Attn: Jacob Bible
601 S Poplar St
Kermit, TX 79745

Kettering Fairmont High School
Attn: Chris Weaver
3301 Shroyer Rd.
Kettering, OH 45429

Key Bank
1000 S. McCaslin Blvd
superior, CO 80027

Key Equipment Finance
PO Box 74713
Cleveland, OH 44194-0796


Kickapoo High School
Attn: Scot Phillips
3710 S Jefferson
Springfield, MO 65807

Kimball High Athletics
Attn: Joe Lawrence
568 Terra Nova Court
Tracy, CA 95377

King High School
3200 E Lafayette St
Detroit, MI 48207

King High School
Attn: Brenda Marshall
5225 Gollihar Rd.
Corpus Christi, TX 78412

Kingman Academy
Attn: Dan Stroup
3400 N Burbank St
Kingman, AZ 86409

KING'S ACADEMY
                                     Page 99
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 100 of 216



Attn: J. Elliot
1201 S WATER ST
JONESBORO, IN 46938

Kings High School
Attn: Phil Poggi or Tyler Miller
5500 Columbia Rd.
Kings Mills, OH 45034

Kingston High School
Attn: Paul Hamilton
10047 Diamond Rd
Cadet, MO 63630

Kingwood High School
Attn: Barry Campbell
2701 Kingwood Dr
Kingwood, TX 77339

KINGWOOD PARK HIGH SCHOOL
Attn: Troy Kite
4015 Woodland Hills Dr
KINGWOOD, TX 77339

Kinston High School
Attn: Perry Tyndall
2601 N Queen St
Kinston, NC 28501

Kirkwood High School
Attn: Corey Nesslage
801 W Essex Ave
Kirkwood, MO 63122

Kirtland High School
Attn: Matt Paul
9150 Chillicothe Rd.
Kirtland, OH 44094


Klein Collins High School
Attn: Darby Young or Drew Svoboda
20811 Ella Blvd.
Spring, TX 77388

Klein Forest High School
Attn: Ajani Sanders
11400 Misty Valley Dr
Houston, TX 77066

Knappa High School
Attn: Chris Spencer
41535 Old Hwy 30
Astoria, OR 97103

                                        Page 100
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 101 of 216




Knightdale High School
100 Bryan Chalk Lane
Knightdale, NC 27545

Knightstown High School
Attn: Matt Martin
8149 West US Hwy 40
Knightstown, IN 46148

Knott County Central High School
Attn: Cavanaugh Trent
76 Patriot Lane
Hindman, KY 41822

Knox Central High School
Attn: Fred Hoskins
100 Panther Way
Barbourville, KY 40906

Knox Community High School
Attn: Phil Owens
1 Redskin Trl
Knox, IN 46534


Kofa High School
Attn: Tim Keller
3100 Ave A
Yuma, AZ 85364

Kokomo High School
Attn: Nick Sale
2501 S Berkley Rd
Kokomo, IN 46902

La Costa Canyon High School
Attn: Kari DiGiulio
1 Maverick Way
Carlsbad, CA 92078

La Crosse School
Attn: David Amor
11 N Michigan St
PO Box 360
La Crosse, IN 46348

La Joya Community High School
Attn: DEREK FAHLESON
11650 W Whyman Ave
Avondale, AZ 85338

La Mirada High School
Attn: Christine Mead
13520 Adelfa St
                                       Page 101
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 102 of 216



La Mirada, CA 90638

La Pine High School
Attn: Aaron Flack
51633 Coach Rd
La Pine, OR 97739

La Porte High School
Attn: Todd Schoppe
301 East Fairmont Parkway
La Porte, TX 77571

La Quinta High School
Attn: J. Ramon Ruiz
79255 Black Hawk Way
La Quinta, CA 92253

La Reina High School
Attn: Don Hyatt or Christiana Thomas
106 W Janss Rd
Thousand Oaks, CA 91360

La Salle High School
Attn: Dan Flynn
3091 N Bend Rd
Cincinnati, OH 45239

Ladywood High School
Attn: Emily Frikken
14680 Newburgh Rd
Livonia, MI 48154

Lafayette High Athletics
Attn: Karl Broussard
3000 W Congress St
Lafayette, LA 70508

Lafayette High School
Attn: Mike Kinney
401 Reed Ln
Lexington, KY 40503

Lafayette High School
Attn: Corey Gilpin
412 Highland Ave
Saint Joseph, MO 64505

Lafayette High School
Attn: Karl Broussard
3000 W Congress St
Lafayette, LA 70508

LaGrange High School
                                       Page 102
             Case 19-12233-LSS   Doc 8      Filed 10/18/19   Page 103 of 216



Attn: Mike Pauley
516 North Greenwood St.
LaGrange, GA 30240

Laguna Beach High School
Attn: Ted Clarke
625 Park Ave
Laguna Beach, CA 92651

Lake Brantley High School
Attn: Jerri Kelly
991 Sand Lake Rd
Altamonte Springs, FL 32714

Lake Catholic High School
Attn: Anthony DiGeronimo or Tony Giannell
6733 Reynolds Rd.
Mentor, OH 44060

Lake County High School
Attn: Mike Vagher
1000 W 4th St
Leadville, CO 80461

Lake Elsinore High School
Attn: Don Nicholson
21800 Canyon Dr
Wildomar, CA 92595


Lake Gibson High School
Attn: Matt Diaz
7007 N Socrum Loop Rd
Lakeland, FL 33809

Lake Highlands High School
Attn: Leslie Slovak
9449 Church Rd
Dallas, TX 75081

Lake Lehman High School
Attn: Jeff Shook
1128 Old Route 115
Dallas, PA 18612

Lake Orion High School
Attn: Chris Bell
495 E Scripps Rd.
Lake Orion, MI 48360

Lake Senior High School
Attn: David Shaffer
28090 Lemoyne Rd
Millbury, OH 43447

                                     Page 103
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 104 of 216




Lake Shore High School
Attn: John Hartley
22980 13 Mile Rd
Saint Clair Shores, MI 48082

Lake Zurich High School
Attn: Andrew Lambert
300 Church St.
Lake Zurich, IL 60047

Lakeland Christian Academy
Attn: Melvin Harper
397 S. Stemmons Freeway
Lewisville, TX 75067

Lakeland Senior High School
Attn: Jil Curtis-Bevis
726 Hollingsworth Rd
Lakeland, FL 33801

Lakeshore High School
Attn: Andrew Knock
26301 LA-1088
Mandeville, LA 70448

Lakeside High School
Attn: Michael Cochran
6600 Sanborn Road
Ashtabula, OH 44004

Lakeview Athletics
Attn: Ron DeJulio
300 Hillman Dr.
Cortland, OH 44410

LAKEVIEW CHRISTIAN SCHOOL
Attn: Rebecca Shrontz
5318 S WESTERN AVE
MARION, IN 46953


Lakeview High School
Attn: Sean Zaborowski
27575 Harper Ave
St. Clair Shores, MI 48081


Lakeview High School
Attn: Zach Stevenson
15060 Helmer Rd S
Battle Creek, MI 49015

Lakeview High School
Attn: Ron DeJulio
300 Hillman Dr.
                                     Page 104
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 105 of 216



Cortland, OH 44410

Lakeville North High School
Attn: Brett Carlson or Josh Kutzler
19600 Ipava W Ave
Lakeville, MN 55044

Lakeville South All Sports Boo
Attn: Neil Strader, A.D
21135 Jacquard Ave.
Lakeville, MN 55044

Lakeville South High School
Attn: Neil Strader
21135 Jacquard Ave.
Lakeville, MN 55044

Lakewood High School
Attn: Sean Jackson
14100 Franklin Blvd
Lakewood, OH 44107

Lakewood High School
Attn: Mike Wadley
4400 Briercrest Ave
Lakewood, CA 90713

Lakewood Ranch High School
Attn: Shawn Trent
5500 Lakewood Ranch Blvd
Bradenton, FL 34211

Lakewood Senior High School
Attn: Bo Hanson
9331 Lancer Rd SE
Hebron, OH 43025


Lakewood Senior High School
Attn: Tim Walker or Michael Hughes
9700 W 8th Ave
Lakewood, CO 80215

Lakota East High School
Attn: Rich Bryant
6840 Lakota Ln
Liberty Township, OH 45140

Lakota West High School
Attn: Scott Kaufman
8940 Union Centre Blvd
West Chester, OH 45069

Lamar High School
                                      Page 105
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 106 of 216



Attn: Tom Nolen
3325 Westheimer Rd
Houston, TX 77098

Lambert High School
Attn: JJ Brinkerhoff
805 Nichols Road
Suwanee, GA 30024


Lancaster Catholic High School
Attn: Joe Sahd
650 Juliette Ave
Lancaster, PA 17601


Lancaster High School
200 East Wintergreen Road
Lancaster, TX 75134

Lancaster Mennonite High School
Attn: Nasser Salim
2176 Lincoln Highway East
Lancaster, PA 17602

Lanier High School AISD
Attn: Leal Anderson
1201 Payton Gin Rd W
Austin, TX 78758


Lansdowne High School
Attn: Todd Hawkins
3800 Hollins Ferry Rd
Baltimore, MD 21227

Lansing Christian High School
3405 Bellechase Way
PO Box 25067
Lansing, MI 48911

Lansing High School
Attn: Gary Mattingly
220 Lion Ln
Lansing, KS 66043

Lapel Junior Senior High School
Attn: Jimmie Howell
1850 S. 900 W.
Lapel, IN 46051

Largo High School
Attn: Ayana Ball-Ward
505 Largo Rd
Upper Marlboro, MD 20774


                                      Page 106
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 107 of 216



Las Vegas High School
6500 E Sahara Ave.
Las Vegas, NV 89122

LaSalle-Peru Township High School
Attn: Chris Kirkpatrick
541 Chartres St.
LaSalle, IL 61301

Laville Junior Senior High School
Attn: Will Hostrawser
69969 US Hwy 31 S
Lakeville, IN 46536

Lawndale High School
14901 Inglewood ave.
Lawndale, CA 90260


Lawrence Central Athletics
7300 E 56th St
Indianapolis, IN 46226

Lawrence Free State High School
Attn: Mike Hill
4700 Overland Dr
Lawrence, KS 66049

Lawrence North High School
Attn: Mike Penrose / Jim Zeller
7802 Hague Rd
Indianapolis, IN 46256

Lawrenceburg High School
Attn: Mark Pierson or Joe Vogelgesang
100 Tiger Blvd.
Lawrenceburg, IN 47025

Lawton Christian School
Attn: David Stanley
1 Crusader Dr
Lawton, OK 73507

Lawton High School
Attn: Chris Richter
101 Primary Way
Lawton, MI 49065

Layton Senior High School
Attn: Brad Hawkins
440 Lancer Lane
Layton, UT 84041

Lebanon High School
                                        Page 107
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 108 of 216



Attn: Darian Brown
500 Blue Devil Blvd
Lebanon, TN 37087

Lee County High School
Attn: Reggie Peace
1708 Nash St
Sanford, NC 27330


Lee High School
Attn: Jason Faasse
1335 Lee St SW
Wyoming, MI 49509


LEE WILLIAMS HIGH SCHOOL
Attn: Jacob Iodence
400 Grandview Ave
KINGMAN, AZ 86401

Leechburg Area High School
Attn: Mark Jones
215 1st St.
Leechburg, PA 15656

Leeds High School
Attn: Keith Etheredge
1500 Green Wave Drive
Leeds, AL 35094

Lee's Summit North High School
Attn: Mike McGurk
901 NE Douglas St
Lee's Summit, MO 64086

Lee's Summit West High School
Attn: Jereme Hubbard
2600 SW Ward Rd
Lee's Summit, MO 64082

Leflore County High School
Attn: Carlos Thompson
401 Lakeside Drive
Itta Bena, MS 38941

Legacy High School
Attn: DJ Hummel or Brendon Feddema
2701 W 136th Ave
Broomfield, CO 80020

Legend High School
Attn: Tamera Krause
22219 Hilltop Road
Parker, CO 80138

                                     Page 108
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 109 of 216




Lenape High School
235 Hartford Rd
Medford, NJ 08055

Lenape Valley Regional High School
Attn: Bob Poggi
28 Sparta Rd
Stanhope, NJ 07874

Lennard High School
Attn: John Guarisco
2342 E. Shell Point Road
Ruskin, FL 33570

LeRoy High School
Attn: BJ Zeleznik
505 E. Center St.
LeRoy, IL 61752

Lester Prairie High School
Attn: Blaine Walstrom
131 Hickory St N
PO Box 158
Lester Prairie, MN 55354


Letcher County Central High School
Attn: Michael Melton
435 Cougar Drive
Whitesburg, KY 41858

Leto High School
Attn: Marikos Asgedom
4409 W Sligh Ave
Tampa, FL 33614

Lewis Central High   School
Attn: Mike Hale or   Jim Dermody
3504 Harry Langdon   Blvd.
Council Bluffs, IA   51503

Lexington High School
Attn: Joe Roberts
103 Clever Ln
Lexington, OH 44904

LHS Panthers
Attn: Sue Billiter - Athletic Director
1705 N State St
Litchfield, IL 62056


Liberty Christian School
Attn: Jason Chappell
2323 Columbus Ave.
                                       Page 109
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 110 of 216



Anderson, IN 46016

Liberty High School
Attn: James DeToro
1 Leopard Way
Youngstown, OH 44505

Liberty High School
Attn: Aaron Coughanour
9621 W. Speckled Gecko Drive
Peoria, AZ 85383

Liberty High School
Attn: James DeToro or George Gulgas
1 Leopard Way
Youngstown, OH 44505

Liberty Hill High School
Attn: Jeff Walker
13125 Hwy 29
Liberty Hill, TX 78642

Liberty-Benton High School
Attn: Nate Irwin
9190 CR 9
Findlay, OH 45840

Libertyville Senior High School
Attn: John Fischl
708 W Park Ave.
Libertyville, IL 60048

Licking Heights High School
Attn: Rita Pendexter
4000 Mink St
Pataskala, OH 43062

Life Christian Academy
Attn: Rodney Burchett
3200 N Choctaw Rd
Choctaw, OK 73020

Life High School Waxahachie
Attn: Michael Welch or Andy Chester
170 Butcher Rd
Waxahachie, TX 75165

Lighthouse College Prep Academy
725 Clark Rd
Gary, IN 46406

Lincoln College Preparatory Academy
Attn: William Lowe
                                      Page 110
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 111 of 216



2111 Woodland Ave
Kansas City, MO 64108

Lincoln Senior High School
Attn: Renee Lakes
205 E. Parkway Dr
Cambridge, IN 47327

Lindale High School
Attn: Jeff Ward
920 E Hubbard St
Lindale, TX 75771

Little Cypress-Mauriceville High School
Attn: Diane Brown
7327 Hwy 87 N
Orange, TX 77632

Littlestown Area School District
Attn: Jeff Laux
162 Newark Street
Littlestown, PA 17340

Littlestown Senior High School
Attn: Jeffrey Laux
200 E Myrtle St
Littlestown, PA 17340

Littleton High School
Attn: Chris Enzminger
199 E Littleton Blvd
Littleton, CO 80121

Livermore High School
Attn: James Petersdorf
600 Maple St
Livermore, CA 94550

Lockhart High School
Attn: Sheila Henderson
1 Lion Country Dr.
Lockhart, TX 78644

Lodi High School
Attn: Erin Aitken or Michelle Souza
3 S. Pacific Ave.
Lodi, CA 95242

Logan Senior High School
Attn: Theresa Schultheiss
14470 St. Rt. 328
Logan, OH 43138


                                       Page 111
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 112 of 216



Lone Oak High School
Attn: Luke Goode
8205 Hwy 69 S
Lone Oak, TX 75453

Longmont High School
Attn: Tom Forbes
1040 Sunset St
Longmont, CO 80501

Longview High School
Attn: John King
201 E. TOMLINSON PKWY
Longview, TX 75605


Lorain High School
Attn: Bryan Koury
2600 Ashland Ave
Lorain, OH 44052

Los Alamitos High School
Attn: Alan Furman
3591 Cerritos Ave
Los Alamitos, CA 90720

Los Lunas High School
Attn: Wilson Holland
119 Luna Ave.
Los Lunas, NM 87031


Los Osos High School
Attn: Tom Martinez
6001 Milliken Ave
Rancho Cucamonga, CA 91737

LOVEJOY HIGH SCHOOL
Attn: Kyle Herrema
2350 Estates Parkway
LUCAS, TX 75002


Loveland High School
Attn: Julie Renner or Brian Conatser
1 Tiger Dr
Loveland, OH 45140


Loveless Academic Magnet Program High School
Attn: Matt Monson
3440 McGehee Rd
Montgomery, AL 36108

Lowell Athletic Department
Attn: Deanne Crowley
11700 Vergennes Rd
Lowell, MI 49331
                                       Page 112
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 113 of 216




Lowell High School
Attn: Patti McCormack
2051 E Commercial Ave
Lowell, IN 46356

Lower Moreland High School
Attn: Cheryl Galdo or Mark Mayson
555 Red Lion Rd
Huntingdon Valley, PA 19006

Loyalsock Township High School
1801 Loyalsock Dr
Williamsport, PA 17701

Loyola College Preparatory School
Attn: Johnny LeBlanc
921 Jordan St
Shreveport, LA 71101

Lubbock High School
Attn: Mark Ball
2004 19th St
Lubbock, TX 79401

Lubbock-Cooper High School
Attn: John Windham or Max Kattwinkel
16302 Loop 493
Lubbock, TX 79423

Lucas High School
Attn: Eric Teague
5 First Ave
Lucas, OH 44843

Lucerne Valley High School
Attn: Brandon Barkley
33233 Rabbit Springs Road
Lucerne Valley, CA 92356

Luling High School
Attn: Scott Campbell
218 E Travis St
Luling, TX 78648

Lutheran High School
Attn: Jeff Sanders
18104 Babcock Rd.
San Antonio, TX 78255

Lutheran High School Of Indianapolis
Attn: Tom Finchum
5555 S Arlington Ave
                                        Page 113
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 114 of 216



Indianapolis, IN 46237

Lyndon B. Johnson Early College High School
Attn: Leal Anderson
7309 Lazy Creek Dr
Austin, TX 78724

Lynn Camp Varsity Football
Attn: Allen Harris
100 N. Kentucky 830
Corbin, KY 40701

Lyons High School
Attn: Derek Carlson
601 E American Rd
Lyons, KS 67554

Lyons Township High School
Attn: John Grundke
100 S Brainard Ave.
La Grange, IL 60525

Lytle High School
Attn: Lori Wilson
18975 W FM 2790 S
Lytle, TX 78052

Macarthur High School
Attn: Andy Garza
4400 Aldine Mail Route
Houston, TX 77039

MacArthur High School
Attn: Ronny Mullins or Michael Luttrell
3700 N MacArthur Blvd
Irving, TX 75062


MacArthur Senior High School
4400 E. Gore Blvd.
Lawton, OK 73501

Macomb High School
Attn: David Bartlett
1525 S. Johnson Rd
Macomb, IL 61455

Madeira High School
Attn: Joe Kimling
7465 Loannes Dr.
Cincinnati, OH 45243


Madison High School
Attn: Sean Dowling
                                     Page 114
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 115 of 216



170 Ridgedale Ave
Madison, NJ 07940

Madison High School
Attn: Richard Gay
13719 White Heather Dr
Houston, TX 77045

Madison High School
Attn: Jimmy Brown
915 E 11 Mile Rd.
Madison Heights, MI 48071

Madison High School
Attn: Bud Postma
800 NE 9th St
Madison, SD 57042

Madison High School
Attn: John Dragas
3100 Burns Rd
Madison, OH 44057

Madison Memorial High School
Attn: Peggi Dahmen
201 S Gammon Rd
Madison, WI 53717

Madison Southern High School
Attn: Ragan Knuckles
279 Glades Rd.
Berea, KY 40403

Madison University High School
Attn: Bill Molbeck
8135 W Florist Ave
Milwaukee, WI 53218

Madison West High School
Attn: Jeremy Schlitz
30 Ash St.
Madison, WI 53726

Madison-Grant High School
Attn: Ben Mann
11700 SE 00 Rd W
Fairmount, IN 46928

Madras High School
Attn: Evan Brown
390 SE 10th St
Madras, OR 97741


                                     Page 115
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 116 of 216



Magnolia High School
Attn: Carol Sarkissian
2450 W Ball Rd
Anaheim, CA 92804

Mahomet-Seymour High School
Attn: Matt Hensley
302 W State St
Mahomet, IL 61853

Maine South High School
Attn: Steven Adams or Andy Turner
1111 S Dee Rd
Park Ridge, IL 60068

Malakoff High School
Attn: Jamie Driskell
15201 FM 3062
Malakoff, TX 75148

Mandan High School
Attn; Mark Wiest or Lorell Jungling
905 8th Ave NW
Mandan, ND 58554

Mandeville High School
Attn: Guy Lecompte or Hutch Gonzales
1 Skipper Dr
Mandeville, LA 70471

Manistee High School
525 12th St
Manistee, MI 49660


Manor New Tech High School
Attn: Deanna Santagata
10323 U.S. Hwy 290 E.
Manor, TX 78653


Mansfield High School
Attn: Jen Lepard or Skip Fulton
124 N. Linden RD.
Mansfield, OH 44906


Mansfield High School
Attn: Christopher Hill
401 Kings Hwy
Mansfield, LA 71052


Mansfield ISD
Attn: Monica Irvin, Dir of Financial Svcs
605 E Broad St
Mansfield, TX 76063
                                      Page 116
             Case 19-12233-LSS     Doc 8    Filed 10/18/19   Page 117 of 216




Many Farms High School
Attn: Eugene Stevens
Hwy. 191 N.
PO Box 307
Many Farms, AZ 86538

Maple Grove High School
Attn: Lambert Brown or Ricardo Jones
9800 Fernbrook Ln
Maple Grove, MN 55369

Maple Heights High School
Attn: Nick Kaliszewski or Robert McGruder
1 Mustang Way
Maple Heights, OH 44137

Maple Valley Touchdown Booster
Attn: Tony Davis
18200 SE 240th
Covington, WA 98042

Mar Vista High School
Attn: Josh Hill
505 Elm Ave
Imperial Beach, CA 91932

Marathon Middle High School
350 Sombrero Beach Road
Marathon, FL 33050

Margaret Long Wisdom High School
Attn: Andre Walker
6529 Beverly Hill St
Houston, TX 77057


Mariemont High School
Attn: Tom Nerl
1 Warrior Way
Cincinnati, OH 45227

Marietta High School
Attn: Andy Dorsey
1171 Whitlock Avenue SW
Marietta, GA 30064

Marietta High School
Attn: Rick Guimond
208 Davis Ave
Marietta, OH 45750

Marion Harding High School
Attn: Sean Kearns
                                       Page 117
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 118 of 216



1500 Harding Highway East
Marion, OH 43302

Marion High School
Attn: Ryan Vermilion
750 W 26th St
Marion, IN 46953

Marist Catholic High School
Attn: Rebecca Larson
1900 Kingsley Rd
Eugene, OR 97401

Marist High School
Attn: Alice Miesnik
1241 Kennedy Blvd
Bayonne, NJ 07002

Marlin High School
Attn: Devlon Noble
1400 Capps St
Marlin, TX 76661

Marquette Senior High School
Attn: Alex Tiseo
1203 W Fair Ave
Marquette, MI 49855

Marshall County High School
Attn: Kevin McGehee
661 W Ellington Pky
Lewisburg, TN 37091

Marshall High School
Attn: Dan Coddens
701 N Marshall Ave
Marshall, MI 49068

Marshall High School
Attn: Claude Mathis
1901 Maverick Drive
Marshall, TX 75670

Marshall High School
Attn: Bruce Remme
400 Tiger Dr
Marshall, MN 56258

Martin Luther King High School
Attn: Barry Cannon or Tyrone Spencer
3200 E Lafayette
Detroit, MI 48207


                                       Page 118
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 119 of 216



Mary Carroll High School
Attn: Brenda Marshall
5301 Weber Rd.
Corpus Christi, TX 78411

Marysville High School
Attn: Joe Bline or Staci Hahn
or Ryan Walker
800 Amrine Mill Rd
Marysville, OH 43040

Maryville High School
Attn: Jason Kurz
1503 S Munn Ave
Maryville, MO 64468

Mascot Media
PO Box 8730
Fayetteville, AR 72703

Mason High School
Attn: Scott Stemple
6100 S. Mason-Montgomery
Mason, OH 45040

Massac County High School
Attn: Parker Windhorst
2841 Old Marion Rd
Metropolis, IL 62960


Massillon Washington High School
Attn: Nate Moore
1 Paul E Brown Dr SE
Massillon, OH 44646

Master Printing
3112 Broadview Rd.
P.O. Box 609126
Cleveland, OH 44109


Matanzas High School
Attn: Rich Weber
3535 Old Kings Road N
Palm Coast, FL 32137


Mater Academy Charter High School
Attn: Luis Sanchez
7901 NW 103rd Street
Hialeah Gardens, FL 33016


Mater Dei High School
Attn: Joe Herrmann
1300 Harmony Way
Evansville, IN 47720
                                        Page 119
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 120 of 216




Mater Dei Prep
Attn: Steven W. Andersen
538 Church St
Middletown, NJ 07748

Mathis High School
Attn: Rod Blount
1615 E San Patricio Ave
Mathis, TX 78368

Mattoon High School
Attn: David Vieth
2521 Walnut Ave
Mattoon, IL 61938

Maumee High School
Attn: Pail Brotzki or Matt Szyndler
1147 Saco St.
Maumee, OH 43537

Maumelle High School
Attn: William Rountree
100 Victory Lane
Maumelle, AR 72113

Maura McGrath
6266 St Francis Drive
Seven Hills, OH 44131

Mayfield High School
Attn: Keith Leffler
6116 Wilson Mills Rd
Mayfield Village, OH 44143

Mayfield High School
Attn: Joe Morris
700 Douthitt St
Mayfield, KY 42066

Maypearl High School
Attn: Tammy Blake
1 Panther Ln
Maypearl, TX 76064

Mazama High School
Attn: Randy Rose
3009 Summers Ln
Klamath Falls, OR 97603

McAuley High School
Attn: Caryl Schawe
6000 Oakwood Ave
                                      Page 120
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 121 of 216



Cincinnati, OH 45224

McCallum High School
Attn: Leal Anderson
5600 Sunshine Dr
Austin, TX 78756

McCracken County High School
Attn: Kris Garrett
6530 New Highway 60 West
Paducah, KY 42001

McCurdy Charter School
Attn: Deanna Gomez
362 S. McCurdy Road
Espanola, NM 87532

MCHENRY EAST HIGH SCHOOL
Attn: Barry Burmeister
4716 W. Crystal Lake Road
MCHENRY, IL 60050

MCHENRY WEST HIGH SCHOOL
Attn: Barry Burmeister
4724 W Crystal Lk Rd
MCHENRY, IL 60050

McKeel Academy Of Technology
Attn: Katy Dumont
1810 W Parker St
Lakeland, FL 33815

McKinney Boyd High School
Attn: Shawn Pratt
600 N. Lake Forest Dr.
McKinney, TX 75071


McKinney ISD Athletics
Attn: Shawn Pratt - MISD Stadium
4201 S. Hardin Blvd.
McKinney, TX 75070

McKinney North High School
Attn: Jae Gaskill
1 Duvall St.
McKinney, TX 75069

McMillen High School
Attn: Damaso Martinez
750 N Murphy Road
Murphy TX 75098

McMillen High School Booster
                                       Page 121
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 122 of 216



Attn: Sandy Runowski
750 N Murphy Rd.
Murphy, TX 75098

McNeil High School
Attn: Dwayne Weirich
5720 McNeil Dr.
Austin, TX 78729


McPherson High School
Attn: Shane Backhus
801 E 1st St
McPherson, KS 67460

Mead High School
Attn: John Barrington
302 W Hastings Rd
Spokane, WA 99218

Meadowcreek High School
Attn: LaShawn Smith
4455 Steve Reynolds Blvd
Norcross, GA 30093

Medina Booster Club
P.O. Box 150
Medina, OH 44256

Medina High School
Attn: Todd Hodkey - Athletic Department
777 E Union St
Medina, OH 44256

Medora High School
Attn: Bradley McCammon
82 S George St
PO Box 248
Medora, IN 47260


Melissa High School
Attn: Cindy Kasson
3150 Cardinal Dr
Melissa, TX 75454

Melvin-Sibley High School
Attn: Mike Allen
815 N. Church St.
Gibson City, IL 60936

Memorial High School
Attn: Rodney Chant or Rupert Jaso
2906 Dabney Dr.
Pasadena, TX 77502

                                        Page 122
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 123 of 216




Memphis Central High School
Attn: Brady Benjamin
306 S Bellevue St
Memphis, TN 38104

Menasha High School
Attn: Rick Grable
420 7th St
Menasha, WI 54952

Menominee High School
Attn: Jamie Schomer
2101 18th St
Menominee, MI 49858

Mentor High School
Attn: Jeff Cassella
6477 Center St.
Mentor, OH 44060

Mercer County High School
Attn: Andrew Hofer
1500 S College Ave
Aledo, IL 61231

Mercy McAuley High School
Attn: Denise Harvey
6000 Oakwood Ave.
Cincinnati, OH 45224

Merrillville High School
Attn: Janis Qualizza
276 E. 68th Pl.
Merrillville, IN 46410

Merritt Island Christian School
Attn: Greg Gage
140 Magnolia Ave
Merritt Island, FL 32952

Mesa Ridge High School
6070 Mesa Ridge Pky
Colorado Springs, CO 80911


MHS Athletics
Attn: Andy Trudell
605 W. School Rd.
Mukwonago, WI 53149


Miami Carol City High School
3422 NW 187th St
Opa Locka, FL 33056

                                      Page 123
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 124 of 216




Miami Central Senior High School
Attn: Latoya Williams
1781 NW 95th St
Miami, FL 33147

Miami Independent School District
Attn: Teresa Manor
PO Box 368
321 South Custer
Miami, TX 79059

Miami Northwestern Senior High School
1100 NW 71th St
Miami, FL 33150

Miami Southridge Senior High School
19355 SW 114th Ave
Miami, FL 33157

Miamisburg High School
Attn: Jason Osborne
1860 Belvo Rd
Miamisburg, OH 45342

MIB Hoop Club
Attn: Luke Winans
5529 Emerald Ave
Mountain Iron, MN 55768

Michigan City High School
8466 W. Pahs Rd.
Michigan City, IN 46360

Middle Park High School
Attn: Mike Reigan or Adam Bright
or Brandon Wilkes
795 N 2nd
PO Box 130
Granby, CO 80446

Middleton High School
511 W Main St
Middleton, ID 83644


Middleton High School
Attn: Deanna Grywalsky
2100 Bristol St
Middleton, WI 53562


Middletown High School
Attn: Gary Lebo or Aaron Zupka
601 N Breiel Blvd
Middletown, OH 45042
                                        Page 124
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 125 of 216




Midwest City High School
Attn: Darrell Hall
213 Elm Dr.
Midwest City, OK 73110

Milan High School
Attn: Ryan Langferman
609 N Warpath Dr
Milan, IN 47031

Milby High School
1601 Broadway Blvd
Houston, TX 77012

Milford High School
Attn: Mark Trout
1 Eagles Way
Milford, OH 45150

Mililani High School
Attn: Glenn Nitta
95-1200 Meheula Pky
Mililani Town, HI 96789

Mill Creek High School
Attn: Gary Long
4400 Braselton Highway 124
Hoschton, GA 30548

Millennium High School
Attn: Remigio Gordillo
14802 W Wigwam Blvd
Goodyear, AZ 85395

Miller Athletics
Attn: Mike Clark
1029 Garth Brooks Blvd.
Yukon, OK 73099

Milton Eagles Basketball
ATTN: Brian Jones
13025 Birmingham Hwy
Milton, GA 30004

Milwaukee Arts High School
Attn: Bill Molbeck
2300 W Highland Ave
Milwaukee, WI 53233


Milwaukee Public Schools
Attn: Bill Molbeck
5525 W Vilet St.
                                     Page 125
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 126 of 216



Milwaukee, WI 53208

Milwaukee School Of Languages
Attn: Bill Molbeck
8400 W Burleigh St.
Milwaukee, WI 53222

Mineola High School
Attn: David Sauer
1000 West Loop 564
Mineola, TX 75773

Mineral County High School
Attn: John Gavin
601 A St
Hawthorne, NV 89415

Mira Costa Booster Club
1097 Aviation Blvd.
Hermosa Beach, CA 90254

Mira Mesa High School
Attn: Art Spurlock
10510 Marauder Way
San Diego, CA 92126

Mission Bay High School
Attn: Jorge Palacios
2475 Grand Ave.
San Diego, CA 92110


Mission Hills High School
Attn: Ken Putnam
1 Mission Hills Ct
San Marcos, CA 92069

Mississinewa High School
Attn: Steve Quaderer
1 Indian Trail
Gas City, IN 46933

Mona Shores High School
Attn: Ryan Portenga
1121 Seminole Rd
Norton Shores, MI 49441

Monarch HS Booster Club
Attn: Elizabeth Ryterski
329 Campus Dr
Louisville, CO 80027


Monroe Central Junior Senior High School
Attn: Tilmon Clark
                                      Page 126
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 127 of 216



1878 N 1000 W
Parker City, IN 47368

Monroe High School
Attn: John Ray
901 Herr Rd.
Monroe, MI 48161

Monrovia High School
Attn: Randy Bell
845 W Colorado Blvd
Monrovia, CA 91016

Monterey Senior High School
Attn: Ronnie Kirk
3211 47th St
Lubbock, TX 79413

Montgomery Area High School
120 Penn St
Montgomery, PA 17752

Montgomery County High School
Attn: Kevin Letcher
724 Woodford Dr.
Mount Sterling, KY 40353

Montrose High School
Attn: Lyle Wright
600 S Selig Ave
PO Box 10500
Montrose, CO 81401

Monument Valley High School
Attn: Jacob Holiday
N. Hwy 163
PO Box 337
Kayenta, AZ 86033

Moorpark High School
Attn: Rob Dearborn
4500 Tierra Rejada Rd.
Moorpark, CA 93021

Moreau Catholic High School
Attn: Christine Krisman
27170 Mission Blvd
Hayward, CA 94544

Morgan High School
Attn: Tyrel Mikesell
55 N 200 E.
PO Box 917
Morgan, UT 84050
                                     Page 127
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 128 of 216




Morris High School
Attn: Jonathan Clay
307 S 6th St
PO Box 89
Morris, OK 74445

Morse Marshall High School
Attn: Bill Molbeck
4141 N 64th St.
Milwaukee, WI 53216

Morton Senior High School
Attn: Debra Lueken
6915 Grand Ave
Hammond, IN 46323

Mother McAuley High School
Attn: Laurie Jakubczak
3737 W. 99th St.
Chicago, IL 60655

Mother Of Mercy High School
Attn: Denise Harvey
3036 Werk Rd
Cincinnati, OH 45211


Mount Carmel High School
Attn: Dan LaCount or Rebecca Kohn
6410 S. Dante Av
Chicago, IL 60637

Mount Dora Christian Academy
Attn: Tim Deem
301 W. 13th Avenue
Mount Dora, FL 32757

Mount Lebanon High School
Attn: John Grogan
155 Cochran Rd
Pittsburgh, PA 15228

Mount Pisgah Christian High School
Attn: Eric Anderson
9820 Nesbit Ferry Rd
Alpharetta, GA 30022

Mount Pleasant Area High School
Attn: Allan Bilinksy
265 State Street
Mount Pleasant, PA 15666

Mount Union Area High School
                                        Page 128
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 129 of 216



706 N Shaver St
Mount Union, PA 17066

Mount   Zion High School
Attn:   Ben Davis
305 S   Henderson
Mount   Zion, IL 62549

Mountain Pointe High School
Attn: Mike Griffith
4201 E Knox Rd
Phoenix, AZ 85044

Mountain Range High School
Attn: Jen Fenton
12500 Huron Street
Westminster, CO 80234


Mountain View High School
Attn: Lance Haas
2755 NE 27th St
Bend, OR 97701

Mountain View High School
Attn: BJ Roy
2351 Sunny Hill Rd.
Lawrenceville, GA 30043

Mt Carmel Athletic Foundation
Attn: Randy Wright
12396 World Trade Dr
STE 203
San Diego, CA 92128

Mt. Miguel Athletics
Attn: Ernie Reyes
8585 Blossom Lane
Spring Valley, CA 91977

Muhlenberg County High School
Attn: Jerry Hancock
501 West Everly Brothers Boulevard
Greenville, KY 42345

Mukwonago High School
Attn: Andy Trudell
605 W. School Rd.
Mukwonago, WI 53149

Mulberry Grove High School
Attn: Chad Nelson
801 W. Wall St
Mulberry Grove, IL 62262

                                       Page 129
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 130 of 216




Mumford High School
Attn: Kevin Jackson
17525 Wyoming St.
Detroit, MI 48221

Muncie Central High School
Attn: Tom Lyon
801 N Walnut St
Muncie, IN 47305

Mundelein High School
Attn: Troy Parola
1350 W Hawley St
Mundelein, IL 60060

Mundy's Mill High School
Attn: Patrick Smith
9652 Fayettville Rd
Jonesboro, GA 30238

Munster High School
Attn: Mike Wells
8808 Columbia Ave
Munster, IN 46321

Murphysboro High School
Attn: Len Novara
50 Blackwood Dr
Murphysboro, IL 62966


Murrieta Valley High School
Attn: Kathleen Kennedy
42200 Nighthawk Way
Murrieta, CA 92562

Musselman High School
ATTN: Steve Campbell - Athletics
126 Excellence Way
Inwood, WV 25428

Mustang High School
Attn: Chuck Bailey
906 South Heights Dr.
Mustang, OK 73064

Mustang Parents Football Club
95 North Main St.
Marlboro, NJ 07746


Naperville North High School
Attn: Robert Quinn
899 N. Mill St.
Naperville, IL 60563
                                       Page 130
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 131 of 216




Napoleon High School
Attn: Josh Meyer
701 Briarheath Dr
Ste 123
Napoleon, OH 43545

Natchitoches Central High School
Attn: Brandon Helms
6513 Hwy 1 Bypass
Natchitoches, LA 71457

Nathan Hale High School
Attn: Gil Cloud, Education Service Center
3027 South New Haven
Tulsa, OK 74114

Natrona County High School
Attn: Larry Meeboer
930 S Elm
Casper, WY 82601

Navasota Sports Medicine
Attn: Ryan Attridge
1 Rattler Drive
Navasota, TX 77868

Nazareth Academy
Attn: Duane Buturusis
1209 W Ogden Ave
La Grange Park, IL 60526

Neighbor's New Vistas High School
5201 US-6
Portage, IN 46368

Neosho High School
Attn: Cori Reid
511 Neosho Blvd
Neosho, MO 64850

Neshaminy High School
Attn: Tom Magdelinskas
2001 Old Lincoln Hwy.
Langhorne, PA 19047

Nevada Union High School
Attn: Jeff Dellis
11761 Ridge Rd
Grass Valley, CA 95945

New Albany High School
Attn: Richie Wildenhaus
                                        Page 131
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 132 of 216



7600 Fodor Rd
New Albany, OH 43054

New Boston High School
Attn: Mark Schroeder
1 Lion Dr
New Boston, TX 75570

New Britain High School
Attn: Len Corto
110 Mill St
New Britain, CT 06051

New Castle High School
Attn: Shane Osting
801 Parkview Dr
New Castle, IN 47362

New Iberia Senior High School
Attn: Jim Picheloup
1301 E Admiral Doyle Dr
New Iberia, LA 70560

New Palestine High School
Attn: Allen Cooper
4485 S. Victory St
P.O. Box 448
New Palestine, IN 46163

New Prairie High School
Attn: Kathy Zielke
5333 N Cougar Rd
New Carlisle, IN 46552

New Smyrna Beach High School
Attn: Gerald Fuller
1509 Live Oak St.
New Smyrna Beach, FL 32168

New Tech Institute
1901 Lynch Road
Evansville, IN 47711

New Washington High School
Attn: Carla Hobson
226 N. Hwy 62
New Washington, IN 47162

Newark High School
Attn: Jeff Quackenbush
314 Granville St.
Newark, OH 43055


                                     Page 132
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 133 of 216



Newark Memorial Senior High School
Attn: Rachel Kahoalii
39375 Cedar Blvd
Newark, CA 94560

Newman Central Catholic High School
Attn: Michael Papoccia
1101 St. Marys Rd
Sterling, IL 61081

Newport Central Catholic High School
Attn: Jimmy Ryan
13 Carothers Rd.
Newport, KY 41071


Newport Harbor High School
Attn: Thomas Kinder
600 Irvine Ave
Newport Beach, CA 92663

Newton High School
Attn: Steve Spruell or Vincent Byams
140 Ram Dr
Covington, GA 30014


Niagara Falls High School
4455 Porter Rd
Niagara Falls, NY 14305

Niles McKinley High School
Attn: Marc Fritz
616 Dragon Dr
Niles, OH 44446

Niles West High School
Attn: Kendall Griffin
5701 W Oakton
Skokie, IL 60077


Nimitz Senior High School
Attn: Debra Martinez
2005 W W Thorn Dr
Houston, TX 77073

Noble High School
Attn: Tony Smith
4601 E Etowah
PO Box 519
Noble, OK 73068


Noblesville High School
Attn: Tony Oilar
18111 Cumberland Rd
Noblesville, IN 46060
                                       Page 133
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 134 of 216




Nolan Catholic High School
Attn: Sharon Carey or Leah Rios
4501 Bridge St.
Fort Worth, TX 76103

Nordonia High School
Attn: Rob Eckenrode
8006 S Bedford Rd
Macedonia, OH 44056

Norfolk High School
Attn: Ben Ries
801 Riverside Blvd
Norfolk, NE 68701

Norristown Area High School
Attn: Anthony Palladino
1900 Eagle Dr.
Norristown, PA 19403

North Allegheny High School
Attn: Bob Bozzuto
10375 Perry Hwy
Wexford, PA 15090

North Atlanta High School
Attn: Andre Regan
4111 Northside Parkway
Atlanta, GA 30305


North Bend High School
2323 Pacific Ave
North Bend, OR 97459

North Branford High School
Attn: Kory Kevorkian
49 Caputo Rd
North Branford, CT 06471


North Callaway High School
Attn: Mike Emmons
2700 Hwy 54
PO Box 118
Kingdom City, MO 65262

North Central High School
Attn: Andy Elkins
1801 E 86th St
Indianapolis, IN 46240

North Clay High School
Attn: Brian Deadmond
                                      Page 134
             Case 19-12233-LSS    Doc 8    Filed 10/18/19   Page 135 of 216



500 S. U.S. Hwy. 45 South
Louisville, IL 62858

North Cobb High School
Attn: Matthew Williams
3400 Hwy 293 N.
Kennesaw, GA 30144

North Community High School
Attn: Kale Severson or Larry McKenzie
1500 James Ave N
Minneapolis, MN 55411

North County High School
Attn: Chad Mills or Ryun Kasten
7151 Raider Rd
Bonne Terre, MO 63628

North Decatur High School
Attn: Gary Cook
3172 N State Rd 3
Greensburg, IN 47240

North Forest High School
10725 Mesa Dr
Houston, TX 77078

North Forney High School
Attn: Neal Weaver
6170 N. Mason Blvd.
Forney, TX 75126

North Forsyth High School
Attn: Scott Tilden
3635 Coal Mountain Dr.
Cumming, GA 30028

North Gwinnett High School
Attn: Matthew Champitto
20 Level Creek Rd
Suwanee, GA 30024

North High School
Attn: Andrew Huff
15331 HWY 41 North
Evansville, IN 47725

North High School
Attn: Sandra Araiza
1101 E Thomas Rd
Phoenix, AZ 85014


North High School
                                        Page 135
               Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 136 of 216



Attn: Brant Bemus
4200 Cheyenne Blvd
Sioux City, IA 51104

North   Kansas City High School
Attn:   Chad Evans
620 E   23rd Ave
North   Kansas City, MO 64116


North Miami Beach Senior High School
Attn: Renee McCleod
1247 NE 167th St
Miami, FL 33162

North Muskegon High School
Attn: Jeff Cooke
1507 Mills Ave
North Muskegon, MI 49445

North Olmsted High School
Attn: Mike Ptacek
5755 Burns Rd.
North Olmsted, OH 44070

North Paulding High School
Attn: Greg Cherry
300 North Paulding Drive
Dallas, GA 30132

North   Ridgeville High School
Attn:   Brooke Uehlein or Tom Dzendrey
34600   Bainbridge Rd.
North   Ridgeville, OH 44039

North Scott High School
200 S 1st St
Eldridge, IA 52748

North Senior High School
Attn: David Shovlain
626 W 53rd St
Davenport, IA 52803

North Syracuse Central School
Attn: Tim Bednarski
6002 Route 31
Cicero, NY 13039

North Valleys High School
Attn: Richard Praldo
1470 E Golden Valley Rd
PO Box 30425
Reno, NV 89506

                                         Page 136
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 137 of 216




North Webster High School
Attn: Jeff Franklin
101 South Arkansas
Springhill, LA 71075

Northeast Bradford High School
RR 1 Box 211B
Rome, PA 18837

Northeast High School
Attn: Bradley Hutson
3701 Trenton Rd
Clarksville, TN 37040

Northeastern Senior High School
300 High St
Manchester, PA 17345


Northern Bedford County Senior High School
152 NBC Dr
Loysburg, PA 16659

Northern High School
653 S Baltimore St
Dillsburg, PA 17019


Northmont High School
Attn: Micah Harding
4916 National Rd
Clayton, OH 45315

Northridge High School
Attn: Kristin Wells
56779 Northridge Dr.
Middlebury, IN 46540

Northside High School
1101 Quitman St
Houston, TX 77009

Northside High School
Attn: Clarissa Johnson
301 Dunand St
Lafayette, LA 70501

Northview High School
Attn: Steve Roggenbaum
4451 Hunsberger NE
Grand Rapids, MI 49525


Northville Senior High School
Attn: Bryan Masi
                                      Page 137
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 138 of 216



45700 6 Mile Rd
Northville, MI 48168

Northwest High School
Attn: Brad Watkins
10761 Pippin Rd
Cincinnati, OH 45231

Northwestern High School
Attn: Ray Williams
2200 W. Grand Blvd
Detroit, MI 48208

Northwestern Senior High School
Attn: Jerry Molyneaux
6900 Park Heights Ave
Baltimore, MD 21215


Northwood High School
Attn: Saul Gleser
4515 Portola Pky
Irvine, CA 92620

Norwalk High School
Attn: Joshua Schlotterer
350 Shady Lane Dr
Norwalk, OH 44857

Norwood High School
Attn: JD Foust or Mitch Kroell
2020 Sherman Ave
Norwood, OH 45212

Notre Dame College Prep
Attn: Judy Byrne
7655 Dempster St.
Niles, IL 60714

Notre Dame High School
Attn: Ron Glasgow - Athletics
702 S Roosevelt Ave
Burlington, IA 52601

Notre Dame Preparatory
Attn: Georgie Hanlin
9701 East Bell Road
Scottsdale, AZ 85260

O.D. Wyatt High School
Attn: Zachary Criss
2400 E Seminary Dr
Fort Worth, TX 76119


                                      Page 138
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 139 of 216



Oak Creek High School
Attn: Scott Holler
340 E Puetz Rd.
Oak Creek, WI 53154

Oak Forest High School
Attn: Ron Towner
15201 S Central Ave
Oak Forest, IL 60452

Oak Grove High School
Attn: Cara Slusher or Helen Price
5198 Old Hwy 11
Hattiesburg, MS 39402

Oak Hill High School
Attn: Shawn Means
7756 W Delphi Pike 27
Converse, IN 46919

Oak Hills High School
Attn: Rob Tamayo
7625 CATABA ROAD
OAK HILLS, CA 92344

Oak Hills High School
Attn: Mike Coots or Kyle Prosser
3200 Ebenezer Rd.
Cincinnati, OH 45248

Oak Lawn Community High School
Attn: Marcus Wargin
9400 Southwest Hwy
Oak Lawn, IL 60453

Oak Park High School
Attn: Casey Vokolek
825 NE 79th Terrace
Kansas City, MO 64118


Oak Ridge High School
Attn: Dereck Rush
27330 Oak Ridge School Rd
Conroe, TX 77385

Oak Ridge High School
Attn: Antony Fisher
700 W. Oak Ridge School
Orlando, FL 32809

Oakdale High School
Attn: Lisa MacDonald
739 W G St
Oakdale, CA 95361
                                        Page 139
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 140 of 216




Oakland Christian High School
Attn: Dennis Hopkins
3075 Shimmons Rd
Auburn Hills, MI 48326

OAKLEAF HIGH SCHOOL
Attn: Frank Jenkins
4035 Plantation Oaks Blvd.
ORANGE PARK, FL 32065

Oakmont High School
Attn: Dean Perkins
1710 Cirby Way
Roseville, CA 95661

Oceanside High School
Attn: Brad Hollingsworth or Dave Barrett
1 Pirates Cove
Oceanside, CA 92054

OCHS Athletics
Attn: Matthew Jacobson
1150 N Hwy 393
PO Box 187
Buckner, KY 40010


Odessa High School
Attn: Todd Vesely
1301 N Dotsy St
PO Box 3912
Odessa, TX 79763

O'Fallon High School
Attn: Todd Moeller
600 S Smiley St.
O'Fallon, IL 62269

Ogallala High School
Attn: Scott Rezac
602 E G St
Ogallala, NE 69153

Ogden High School
Attn: Shawn MacQueen
2828 Harrison Blvd
Ogden, UT 84403
Ohio School Health Association
Attn: Ryan Collins
8050 N High Street
Suite 190
Columbus, OH 43235


                                     Page 140
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 141 of 216



Okaw Valley High School
Attn: Brooks Inman
709 S. St. John St.
Bethany, IL 61914

Okawville High School
Attn: Jon Kraus
400 S Hanover St.
Okawville, IL 62271

Okeechobee High School
Attn: Kenny Buckner
2800 Hwy 441 N
Okeechobee, FL 34972


Old Redford Preparatory High School
Attn: Carmella Lewis or Charles Davis
8001 W Outer Dr
Detroit, MI 48235

Olentangy Berlin High School
Attn: John Betz
3140 Berlin Station Road
Delaware, OH 43015

Olentangy High School
Attn: Jay Wolfe
675 Lewis Center Rd.
Lewis Center, OH 43035


Olentangy Liberty High School
Attn: Darin Meeker
3584 Home Road
Powell, OH 43065

Olentangy Orange High School
Attn: John Betz or Brett Diehl
2840 East Orange Road
Lewis Center, OH 43035


Olmsted Falls Board of Education
Attn: Emily Dales, Treasurer's Office
26937 Bagley Rd
Olmsted Falls, OH 44138


Olmsted Falls High School
Attn: Robert Coxon
26939 Bagley Rd
Olmsted Falls, OH 44138


Olympian High School
Attn: Eduardo Venegas
1925 Magdalena Avenue
Chula Vista, CA 91913
                                        Page 141
             Case 19-12233-LSS   Doc 8      Filed 10/18/19   Page 142 of 216




Omega Pensions, Inc.
Attn: Chuck Hunziker - VP Client Services
812 Huron Road
Suite 670
Cleveland, OH 44115

Ontario High School
Attn: Manny Alvarado
1115 W Idaho Ave
Ontario, OR 97914

Ontario High School
Attn: Ashyton Anderson
901 W Francis St
Ontario, CA 91763

Ontario High School
Attn: Dave Rehfeldt
467 Shelby Ontario Rd
Mansfield, OH 44906

OOHS - Athletics
Attn: John Betz
2840 East Orange Road
Lewis Center, OH 43035

OpenText Inc.
c/o J.P. Morgan Lockbox
24685 Network Place
Chicago, IL 60673-1246

Orange Glen High School
Attn: Jason Patterson
2200 Glenridge Rd
Escondido, CA 92025


Orcas Island High School
Attn: Chris Bullock
715 School Rd
Eastsound, WA 98245

Orchard View High School
Attn: LeRoy Hackley
16 Quarterline Rd
Muskegon, MI 49442

Oregon City Schools
Attn: Jane Fruth
5721 Seaman Road
Oregon, OH 43616

Oregon Davis Junior Senior High School
                                      Page 142
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 143 of 216



Attn: Jerry Miller
5990 N 750 E
Hamlet, IN 46532

Orono High School
Attn: Bucky Mieras
795 Old Crystal Bay Rd N
Long Lake, MN 55356


Osborn High School
Attn: Lonell Williams or Duane Travis
11600 E 7 Mile Rd.
Detroit, MI 48205


Oscoda High School
Attn: Scott Lueck
3550 E River Rd
Oscoda, MI 48750

Oshkosh Area School District
Attn: Oshkosh West Activities Director
375 N. Eagle St.
Oshkosh, WI 54902

Oswego High School
Attn: Darren Howard
4250 Route 71
Oswego, IL 60543

Otay Ranch High School
Attn: Mendel Nafarrete
1250 Olympic Parkway
Chula Vista, CA 91915

Otsego High School
Attn: Thomas Ferdig
18505 Tontogany Rd.
PO Box 290
Tontogany, OH 43565

Ottawa Hills High School
Attn: Tim Erickson
2532 Evergreen Rd
Ottawa Hills, OH 43606


Ottawa-Glandorf High School
Attn: Tyson McGlaughlin
630 Glendale Ave
Ottawa, OH 45875


Our Lady Of The Elms High School
Attn: Lindsay Fullerman
1375 W Exchange St
Akron, OH 44313
                                        Page 143
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 144 of 216




Outeredge Technology
P.O. Box 188
Pocopson, PA 19366

Overland High School
Attn: Stephen DeSchryver
12400 E Jewell Ave
Aurora, CO 80012

Owasso Athletics
Attn: Lori Snodgrass
12901 E 86th St N
Owasso, OK 74055

Owosso High School
Attn: Dallas Lintner
765 E North St
Owosso, MI 48867

Oxford High School
Attn: Larry Davidson
915 Stewart St.
Oxford, AL 36203

Oxford High School
Attn: Jordan Ackerman
745 N Oxford Rd
Oxford, MI 48371

Oxnard High School
Attn: Rick Garcia
3400 W. Gonzalez Rd.
Oxnard, CA 93030

Pacifica High School
Attn: Garth Anderson
6851 Lampson Ave
Garden Grove, CA 92845


Padua Franciscan High School
Attn: Athletic Director
6740 State Rd.
Parma, OH 44134

Pahrump Valley High School
Attn: John Toomer or Larry Goins
501 E Calvada Blvd
Pahrump, NV 89048


Palacios High School
Attn: Jeff Doege
100 Shark Dr
                                       Page 144
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 145 of 216



Palacios, TX 77465

Palestine High School
Attn: Robby Clark or Rodney Ross
1007 E. Park Ave
Palestine, TX 75801

Palisade High School
Attn: Gregg Hawkins
6679 G St
Palisade, CO 81526

Palmdale Aerospace Athletics
Attn: Ted Grissom
3300 E. Palmdale Blvd.
PALMDALE, CA 93550

Palmdale High School
Attn: JEFF WILLIAMS
2137 E Ave R
Palmdale, CA 93550

Palo Duro High School
Attn: Chris Fisher
1400 N Grant St
Amarillo, TX 79107

Pamela Carr
428 Five Farms Lane
Timonium, MD 21093

Pana High School
Attn: Gary Ade
201 W 8th St
Pana, IL 62557

Panama High School
Attn: Ryne Purdue
401 High School Dr
PO Box 1680
Panama, OK 74951

Panorama High School
Attn: Salvador Garcia
8015 Van Nuys Blvd
Panorama, CA 91406

Pantego Christian Academy
Attn: Jerry Hawkes
2201 W Park Row Dr
Arlington, TX 76013

Panther Boosters
                                       Page 145
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 146 of 216



Attn: Brett Carlson
19600 Ipava W Ave
Lakeville, MN 55044

Paradise High School
Attn: Jeff Marcus
5911 Maxwell Dr
Paradise, CA 95969


Paramus Catholic High School
Attn: Scott Langan
425 Paramus Rd
Paramus, NJ 07652


Park High School
Attn: William O'Malley
1901 12th St.
Racine, WI 53403

Parkersburg High School
Attn: Chris Way
2101 Dudley Ave.
Parkersburg, WV 26101

Parkersburg South High School
Attn: Roger Thompson
1511 Blizzard Dr
Parkersburg, WV 26101

Parkrose High School
Attn: David Richardson
12003 NE Shaver
Portland, OR 97220

Parkville High School
Attn: Jeff Markle
2600 Putty Hill Ave
Baltimore, MD 21234

Parkway High School Football
Attn: David Feaster
2010 Colleen Drive
Bossier City, LA 71112

Parma High School
Attn: Ryan Madison
6285 W 54th St.
Parma, OH 44129

Pasadena Athletic Department
Attn: Rodney Chant
2906 Dabney
Pasadena, TX 77502

                                     Page 146
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 147 of 216




Pasadena First Baptist Christian Academy
Attn: Justin Larsen
7500 Fairmont Parkway
Pasadena, TX 77505

Pasadena ISD
Attn: Liz Tolleson
2906 Dabney
Pasadena, TX 77502

Patrick Henry High School
Attn: Cody Clark
6702 Wandermere Drive
San Diego, CA 92120

Patterson High School
Attn: Damon Bomar
100 Kane St
Baltimore, MD 21224

Paul Laurence Dunbar High School
Attn: Jason Howell
1600 Man O War Blvd
Lexington, KY 40513

Paul Laurence Dunbar High School
Attn: Dana Johnson
1400 Orleans St
Baltimore, MD 21231


Paulding County High School
Attn: Jamie Watkins
1297 Villa Rica Hwy
Dallas, GA 30157

Paulding High School
Attn: Brock Bergman
405 N Water St
Paulding, OH 45879


Paw Paw High School
Attn: Michael Dahlinger
30609 Red Arrow Highway
Mattawan, MI 49071


Paxton Consolidated School
Attn: Del Dack
308 N Elm St
PO Box 368
Paxton, NE 69155


Payson High School
Attn: Rich Ormand
                                       Page 147
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 148 of 216



301 S. McLane Road
P.O. Box 919
Payson, AZ 85541

Payson Senior High School
Attn: Brian Argyle
1050 S Main St.
Payson, UT 84651


PCS Athletic Dept.
Attn: Brian Wardlow - AD
10255 Dexter-Pinckney Rd
Pinckney, MI 48169


Pea Ridge High School
Attn: Kevin Ramey
781 W Pickens Rd
Pea Ridge, AR 72751

Pearland High School
Attn: Dr. David Davis
3775 South Main
Pearland, TX 77581

Pecatonica High School
Attn: Kevin Kunkel
1300 Main St
Pecatonica, IL 61063

PEF Services LLC
300 Executive Dr.
Suite 150
West Orange, NJ 7052

Pell City High School
Attn: Brooks Dampeer
1300 Cogswell Ave.
Pell City, AL 35125

Pendleton Heights High School
Attn: Chad Smith
1 Arabian Dr
Pendleton, IN 46064

Penn Cambria High School
401 Linden Ave
Cresson, PA 16630

Penn High School
Attn: Derrick White
56100 Bittersweet Rd
Mishawaka, IN 46545


                                     Page 148
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 149 of 216



Penn Hills Senior High School
Attn: Stephanie Strauss
309 Collins Dr.
Pittsburgh, PA 15235

Penn Wood High School
Attn: Rap Curry
100 Green Ave
Lansdowne, PA 19050

Pennfield High School
Attn: Brett Steele
8299 Pennfield Rd.
Battle Creek, MI 49017

Pennsauken High School
Attn: Eric Mossop
800 Hylton Road
Pennsauken, NJ 08110

Peoria Notre Dame High School
5105 N Sheridan Road
Peoria, IL 61614

Perkins High School
Attn: Matt Schweinfurth
3714 Campbell St
Sandusky, OH 44870

Perry High School
Attn: Toni Ovens
One Success Blvd.
Perry, OH 44081

Perry Meridian High School
Attn: Doug Schornick
401 W. Meridian School Rd.
Indianapolis, IN 46217

Perrysburg High School
Attn: Chuck Jaco
13385 Roachton Rd.
Perrysburg, OH 43551

Pershing High School
Attn: Wydell Henry
18875 Ryan Rd
Detroit, MI 48234

Pescadero High School
Attn: Pat Talbot
350 Butano Box 730
Pescadero, CA 94060

                                     Page 149
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 150 of 216




Peters Township High School
Attn: Brian Geyer
264 E McMurray Rd
McMurray, PA 15317

Pewamo Westphalia High School
Attn: Lauren Christensen
5101 Clintonia Rd
Westphalia, MI 48894

Peyton High School
Attn: Tim Van Sickler
13885 Bradshaw Rd
Peyton, CO 80831

PGS Print Inc
9208 West Ridge Road
Brockport, NY 14420

Philipsburg-Osceola Area High School
502 Philips Street
Philipsburg PA 16866

Phillipsburg High School
Attn: Andy Kenney
410 S 7th St.
Phillipsburg, KS 67661

Phoenixville Area High School
Attn: Matt Gionta
1200 Gay St
Phoenixville, PA 19460

Pickerington High School Central
Attn: Scott Barrett or Bo Hanson
300 Opportunity Way
Pickerington, OH 43229

Pickerington High School North
Attn: Molly Feesler
7800 Refugee Road
Pickerington, OH 43147

Pierce County High School
Attn: Dara Bennett
4850 County Farm Rd
Blackshear, GA 31516

Pilot Point High School
Attn: Danny David
1300 N Washington St
Pilot Point, TX 76258

                                       Page 150
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 151 of 216




Pinckneyville High School
Attn: Bob Waggoner
600 E. Water St
Pinckneyville, IL 62274

Pine Tree High School
Attn: Jody Berryhill
900 Northwest Dr
Longview, TX 75604

Pineville High School
Attn: James Strange
401 W Virginia Ave.
Pineville, KY 40977

Pinole Valley High School
Attn: Tiffany Valdehueza
2900 Pinole Valley Rd
Pinole, CA 94564

Pioneer High School
Attn: Eve Claar
601 W Stadium Blvd
Ann Arbor, MI 48103

Piper High School
Attn: Chandler Sanzari
8000 NW 44th St
Sunrise, FL 33351

Piper High School
Attn: Doug Key
4400 N 107th St
Kansas City, KS 66109

Piqua High School
Attn: Chip Hare
1 Indian Trail
Piqua, OH 45356

Pitman High School
Attn: Dave Walls
2525 W. Christoffersen Parkway
Turlock, CA 95382

Pittsburg High School
Attn: Mindi Green
300 Texas St
Pittsburg, TX 75686

Plainfield Central High School
Attn: Mark Krusz
24120 W. Fort Beggs Drive
                                     Page 151
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 152 of 216



Plainfield, IL 60544

Plainfield East High School
Attn: Paul Raspolich
12001 S. Naperville Road
Plainfield, IL 60585

Plainfield High School
Attn: Melvin Siefert
1 Red Pride Drive
Plainfield, IN 46168

Plainfield High School
Attn: Yvonne Sheard or Carol Taffaro
950 Park Ave
Plainfield, NJ 07060

Plainfield North High School
Attn: Ron Lear
12005 S. 248th St.
Plainfield, IL 60585

Plainfield South High School
Attn: Ken Bublitz
7800 Caton Farm Rd.
Plainfield, IL 60586

Plainview High School
Attn: Kristy Worsham
1140 S Plainview Rd
Ardmore, OK 73401

Plainview High School
Attn: Ryan Rhoades
1501 Quincy
Plainview, TX 79072

Plano East Senior High School
Attn: Jamie Moore or Kristin Ekstein
or Jeff Clarkson
3000 Los Rios Blvd.
Plano, TX 75074

Plano Senior High School
Attn: Zach Price
2200 Independence Pkwy
Plano, TX 75075

Plano West Senior High School
Attn: Robert Clark
5601 W. Parker Rd.
Plano, TX 75093


                                       Page 152
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 153 of 216



Platte Valley High School
Attn: Travis Stinar
901 Campbell St
PO Box 487
Kersey, CO 80644

Pleasant Valley High School
1671 US-209
BRODHEADSVILLE, PA 18322

Pleasant Valley High School
Attn: D'Anne Kroemer
604 Belmont Rd
Bettendorf, IA 52722


Plymouth Christian Academy
Attn: Matt Windle
43065 Joy Rd
Canton, MI 48187

Plymouth High School
Attn: Luke Swanson
8400 N. Beck Rd.
Canton, MI 48187

Plymouth High School
Attn: Gale Grahn
125 Highland Ave.
Plymouth, WI 53073


PNC Bank
300 Fifth Avenue
The Tower at PNC Plaza
Pittsburgh, PA 15222

PNC Bank, N.A.
1 Cascade Plaza
4th Floor
Akron, OH 44308

Poland Seminary High School
Attn: Brian Banfield
3199 Dobbins Rd.
Poland, OH 44514

Polo High School
Attn: Ted Alston
100 S Union Ave
Polo, IL 61064


Polytechnic School
1030 E California Blvd
Pasadena, CA 91106

                                     Page 153
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 154 of 216




Ponderosa High School
Attn: Tyson Escobar or Davy Johnson
3661 Ponderosa Rd
Shingle Springs, CA 95682

Pontiac High School
Attn: Lee Montgomery Jr
1051 Arlene
Pontiac, MI 48340

Pontiac High School
Attn: Gary Brunner
1100 Indiana Av.
Pontiac, IL 61764

Pope High School
Attn: Josh Mathews
3001 Hembree Rd
Marietta, GA 30062

Port Saint Joe High School
Attn: John Palmer
100 Shark Dr
Port Saint Joe, FL 32456

PORTA High School
Attn: Jeff Hill
17651 Bluejay Road
Petersburg, IL 62675

Portage Central High School
Attn: Joe Wallace
8135 S. Westnedge Ave.
Portage, MI 49002

Portage Christian School
Attn: Jared Frick
3040 Arlene St
Portage, IN 46368

Portage Northern High School
Attn: Chris Riker
1000 Idaho Ave
Portage, MI 49024


Portage Public Schools
Attn: Joe Wallace
8135 S Westnedge Ave
Portage, MI 49002


Porterville High School
Attn: Brian Hill
465 W Olive Ave
                                      Page 154
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 155 of 216



Porterville, CA 93257

Poston Butte High School
Attn: Jake Neill
32375 N Gantzel Road
San Tan Valley, AZ 85143

Poth High School
Attn: Phillip Zwicke
505 N Dixon St
Poth, TX 78147

Potomac Senior High School
Attn: Melissa Bankert or Bill Stearns
3401 Panther Pride
Dumfries, VA 22026

Pottsboro High School
Attn: Matt Poe
105 Cardinal Ln
Pottsboro, TX 75076

Poudre High School
Attn: Carey Christensen
201 Impala Dr
Fort Collins, CO 80521

Prairie Central Athletic Department
Attn: Chris Harper
411 N. 7th St.
Fairbury, IL 61739

Prairie Grove High School
Attn: Danny Abshier
110 SCHOOL ST.
Prairie Grove, AR 72753

Prairie View High School
Attn: Heath Wilson
12909 E. 120th Ave.
Henderson, CO 80640

Prattville High School
Attn: Chad Anderson
1315 Upper Kingston Rd
Prattville, AL 36067

Preble High School
Attn: Dan Retzki
2222 Deckner Ave
Green Bay, WI 54302

Premier Southern
                                        Page 155
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 156 of 216



Attn: Kirk Schulz
7911 School Rd.
Cincinnati, OH 45249

Prestonwood Christian Academy
Attn: Dr. Terry Rodgers
6801 West Park Blvd
Plano, TX 75093

Princeton High School
Attn: Gary Croley
150 Viking Way
Cincinnati, OH 45246

Princeton Senior High School
Attn: Josh Wilburn - Princeton Athletics
1321 Stafford Dr
Princeton, WV 24740

Prior Lake High School Athletics
Attn: Russell Reetz or David Lund
7575 150th St W
Savage, MN 55378

Proctor High School
Attn: Dan Stauber
131 9th Ave
Proctor, MN 55810

Property Operations, LLC
812 Huron Road
Cleveland, OH 44115

Prophetstown High School
310 Riverside Dr
Prophetstown, IL 61277

Prosper High School
Attn: Valerie Little
300 Eagle Ln
PO Box 490
Prosper, TX 75078

Providence Catholic School
Attn: Jessica Sanchez or Elise Denoux
1215 N Saint Mary's St
San Antonio, TX 78215

Provine High School
Attn: Marcellus Speaks
2400 Robinson Rd
Jackson, MS 39209


                                        Page 156
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 157 of 216



Proviso East High School
Attn: Brian Colbert
807 S 1st Ave
Maywood, IL 60153

Provo High School
1125 N University Ave
Provo, UT 84604

PRP High School Athletics
Attn: Athletic Director
5901 Greenwood Rd
Louisville, KY 40258

Pryor Senior High School
Attn: Gerald Osborne
1100 SE 9th
Pryor, OK 74362

Pueblo Magnet High School
Attn: Brandon Sanders
3500 S 12th Ave
Tucson, AZ 85713

Pulaski High School
Attn: Bill Molbeck
2500 W Oklahoma Ave.
Milwaukee, WI 53215

Putnam County High School
Attn: Chris Newsome
402 E Silverspoon Ave
Granville, IL 61326

Quartz Hill High School
Attn: Lance Pierson
6040 W Ave L
Quartz Hill, CA 93536

Queen City High School
Attn: Justin Burk
905 Houston
Queen City, TX 75572

Quince Orchard High School
Attn: George Awkward or Jeff Rabberman
15800 Quince Orchard Rd
Gaithersburg, MD 20878

Quincy Notre Dame High School
Attn: Bill Connell
1400 S 11th St
Quincy, IL 62301

                                     Page 157
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 158 of 216




Quitman High School
Attn: Bryan Oakes
1101 E Goode St
Quitman, TX 75783

R.B.I. Cudas Baseball
Attn: Kathleen Zois - NSBHS Baseball
1015 10th Street
New Smyrna Beach, FL 32168

R3
22 Elizabeth St
South Norwalk, CT 6854

RABC
Attn: Mark Van Vessem
222 Collins Rd
Sunnyvale, TX 75182

Rains High School
Attn: Randy Barnes or Derek Smith
1759 W US Hwy 69
Emory, TX 75440

Ramona High School
Attn: Damon Baldwin
1401 Hanson Ln
Ramona, CA 92065


Rampart High School
Attn: Andy Parks
8250 Lexington Dr
Colorado Springs, CO 80920

Rancho Bernardo High School
Attn: Peggy Brose
13010 Paseo Lucido
San Diego, CA 92128

Rancho Buena Vista High School
Attn: Marty Nellis
1601 Longhorn Dr
Vista, CA 92011


Ranchview High School
Attn: Terry Smith
8401 Valley Ranch Pkwy E
Irving, TX 75063


Randall High School
Attn: Gaylon Selman
5800 Attebury Rd
Amarillo, TX 79110
                                        Page 158
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 159 of 216




Randallstown High School
Attn: Mike Gelman
4000 Offutt Rd
Randallstown, MD 21133

Randolph Southern Junior Senior High
Attn: Robert Mangus
2 Rebel Dr
Lynn, IN 47355

Rangeview High School
Attn: VIC STROUSE
17599 E Iliff Ave
Aurora, CO 80013

Rantoul High School
Attn: Travis Flesner
200 S. Sheldon St
Rantoul, IL 61866

Ravenna High School
Attn: Kyle Jawor
2766 S Ravenna Rd
Ravenna, MI 49451

Ravenscroft School
Attn: Ned Gonet
7409 Falls of Neuse Road
Raleigh, NC 27615

Ray High School
Attn: Brenda Marshall
1002 Texan Trail
Corpus Christi, TX 78411

Raymore-Peculiar High School
Attn: Phillip Miller
20801 School Rd
PO Box 366
Peculiar, MO 64078


Raytown High School
Attn: Josh Luke
6019 Blue Ridge Blvd
Raytown, MO 64133


Raytown South High School
Attn: Shunton Hammond
8211 Sterling Ave
Raytown, MO 64138

Reading High School
                                       Page 159
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 160 of 216



Attn: Jon Payne or Nick Lunsford
1301 Bonnell Ave
Cincinnati, OH 45215

Ready 2 Play Ball Inc
Attn: Afiba Fairnot
2425 Knapps Way
Odenton, MD 21113

Reagan High School
Attn: Leal Anderson
7104 Berkman Dr
Austin, TX 78752

Red Lion Area Senior High School
Attn: Don Dimoff
200 Horace Mann Ave
Red Lion, PA 17356


Red Oak Athletics
Attn: Pat Brady, Athletic Department
122 State Hwy. 342
Red Oak, TX 75154

Redford Union High School
Attn: Miles Tomasaitis
17711 Kinloch Rd.
Redford, MI 48240

Redmond High School
Attn: Kevin Bryant
675 SW Rimrock Dr
Redmond, OR 97756

Regina High School
Attn: Vic Michaels
13900 Masonic Blvd.
Warren, MI 48088

Renaissance High School
Attn: Eric Smith
6565 W Outer Dr
Detroit, MI 48235

Repros Inc.
P.O. Box 727
Akron, OH 44309

Revere High School
Attn: Tom McKinnon
3420 Everett Rd
Richfield, OH 44286


                                       Page 160
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 161 of 216



Reynoldsburg High School
Attn: Jacob Perkins
6699 E Livingston Ave.
Reynoldsburg, OH 43068

RHAM High School
Attn: Beth Fitzgerald
85 Wall St
Hebron, CT 06248

Rhinelander High School
Attn: Heather Lundt
665 Coolidge Ave
Rhinelander, WI 54501

RHS Athletics
Attn: Jacob Perkins
6699 E Livingston Ave.
Reynoldsburg, OH 43068

Rich Central High School
Attn: Donald Parker
3600 W 203rd St
Olympia Fields, IL 60461

Richards High School
Attn: Deborah Swanson
10601 S Central Ave
Oak Lawn, IL 60453

Richardson Senior High School
Attn: Leslie Slovak
400 S. Greenville Avenue
Richardson, TX 75081

Richfield High School
Attn: David Boie
7001 Harriet Ave S
Richfield, MN 55423

Richland High School
Attn: Mike Edwards
930 Long Ave
Richland, WA 99352

Richmond High School
Attn: Larry Cochren
380 Hub Etchison Pky
Richmond, IN 47374

Richmond High School
Attn: Chris Rinehart
35320 Division Rd
Richmond, MI 48062
                                     Page 161
             Case 19-12233-LSS   Doc 8      Filed 10/18/19   Page 162 of 216




Richmond Hill High School
Attn: Mickey Bayens
1 Wildcat Dr
Richmond Hill, GA 31324

Rider High School
Attn: Scott Hafley
4611 Cypress Ave
Wichita Falls, TX 76310

Ridge Point High School
Attn: Brett Sniffin
500 Waters Lake Blvd
Missouri City, TX 77459

Ridgeview High School
Attn: John Sgromolo
466 Madison Ave
Orange Park, FL 32065

Ridgeview High School
Attn: Kevin Bryant
4555 SW Elkhorn Avenue
Redmond, OR 97756

Rifle High School
Attn: Troy Phillips
1350 Prefontaine Ave
Rifle, CO 81650

Riley County High School
Attn: Harold Oliver
12451 Fairview Church Road
Riley, KS 66531

Riley High School
Attn: Daniel Kyle
1902 FELLOWS ST
South Bend, IN 46613

Rio Rancho High School
Attn: Vince Metzgar
301 Loma Colorado
Rio Rancho, NM 87124

Ripley-Union-Lewis-Huntington High School
Attn: Chris Young
502 South Second Street
Ripley, OH 45167

RISD Athletics
Attn: Kristen Ceaser
                                     Page 162
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 163 of 216



400 S. Greenville Avenue
Richardson, TX 75081

Rising Star High School
Attn: Caleb Callaway or Randy Jones
905 N Main St
PO Box 37
Rising Star, TX 76471

River Bluff High School
Attn: David Bennett
320 Corley Mill Road
Lexington, SC 29072

River City High School
1 Raider Lane
West Sacramento, CA 95691

River Forest Senior High School
Attn: Ryan Pitcock
3300 Indiana St
Hobart, IN 46342

River Hill High School
Attn: Brandon Lauer
12101 Rt. 108
Clarksville, MD 21029

River Ridge High School
Attn: Mike Santoro
400 ARNOLD MILL ROAD
Woodstock, GA 30188

River Ridge Senior High School
Attn: Ryan Benjamin or Jack Homko
11646 Town Center Rd
New Port Richey, FL 34654

River Road High School
Attn: Michele Upchurch or Bryan Welps
9500 N US Hwy 287
Amarillo, TX 79108

River Valley High School
Attn: Barry Dutt
4280 Marian-Mt Giliad Rd
Caledonia, OH 43314

Riverside High School
Attn: Tony Pallanez
301 Midway Dr
El Paso, TX 79915


                                        Page 163
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 164 of 216



Riverside High School
Attn: Bill Molbeck
1615 E Locust St.
Milwaukee, WI 53211

Riverside High School
Attn: Dave Bors
585 Riverside Dr
Painesville, OH 44077

Riverside Jr-Sr High School
Attn: John Wolf
300 Country Club Drive
Ellwood City, PA 16117


Riverwood High School
Attn: Mike Mezzio
5900 Raider Dr.
Sandy Spring, GA 30328

Roanoke-Benson High School
Attn: Abe Zeller
208 W High St
Roanoke, IL 61561

Roaring Fork High School
Attn: Jade Bath
2270 Highway 133
Carbondale, CO 81623


Robert Brickley
315 West Creek Ct
Avon Lake, OH 44012

Robert E Lee High School
Attn: Rosalyn Bloxom-Johnson
1200 S McDuff Ave
Jacksonville, FL 32205

Robert E Lee High School
Attn: David Wilkinson
1809 Market St
Baytown, TX 77520

Robert E Lee High School
1200 N Coalter St
Staunton, VA 24401

Robert M. Beren Academy
Attn: Tania Levenstein
11333 Cliffwood Dr.
Houston, TX 77035


                                     Page 164
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 165 of 216



Robichaud High School
Attn: Jason Malloy
3601 Janet St
Dearborn, MI 48125

Robinson High School
Attn: Tommy Allison
700 W. Tate
Robinson, TX 76706

Rock Canyon High School
Attn: Thomas Brieske
5810 McArthur Ranch Rd.
Highlands Ranch, CO 80130


Rock Creek Community Academy
Attn: Sara Hauselman
11525 Hwy 31
Sellersburg, IN 47172

Rock Hill High School
Attn: Bill Warren
320 W Springdale Rd
Rock Hill, SC 29730

Rock Island High School
1400 25th Ave
Rock Island, IL 61201

Rockcastle County High School
Attn: Barry Noble
1545 Lake Cumberland Highway
Mount Vernon, KY 40456

Rockdale High School
Attn: Jeff Miller
1205 Murray
Rockdale, TX 76567


Rockford High School
Attn: Tim Erickson
4100 Kroes Rd.
Rockford, MI 49341

Rockwall High School
Attn: Chris Curtis
1193 T.L. Townsend Dr
Rockwall, TX 75087

Rocky Mountain High School
Attn: Wayne Moddelmog
1300 W Swallow Rd
Fort Collins, CO 80526

                                     Page 165
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 166 of 216




Roger Bacon High School
Attn: Steve Rossi
4320 Vine St
Cincinnati, OH 45215

Rogue River High School
Attn: JJ Moses
1898 East Evans Creek Road
Rogue River, OR 97537

Roman Catholic High School
301 N Broad St
Philadelphia, PA 19107

Rome High School
Attn: John Reid
1000 Veterans Memorial Hwy, NE
Rome, GA 30161

Romeo Senior High School
Attn: Greg Brynaert or Cody Smith
11091 W 32 Mile Rd.
Romeo, MI 48065

Romulus Senior High School
9650 Wayne Road
Romulus, MI 48174

Ronald Reagan College Prep High School
Attn: Bill Molbeck
4965 S. 20th St.
Milwaukee, WI 53221

Ronald Reagan High School
Attn: Jamey Howard
19000 Ronald Reagan Rd
San Antonio, TX 78258

Roosevelt High School
Attn: Craig Buckingham
730 W 25th Ave.
Gary, IN 46407

Roosevelt High School
Attn: Randall Foster
5110 Walzem Road
San Antonio, TX 78218

Roosevelt Senior High School
Attn: Kevin Grimsland
4301 13th St NW
Washington, DC 20011

                                        Page 166
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 167 of 216




Ross High School
Attn: Brian Gunter
3601 Hamilton Cleves Rd
Hamilton, OH 45013

Rossford High School
Attn: Pat Murtha
701 Superior St
Rossford, OH 43460

Round Lake High School
Attn: Michael Mizwicki
1 Panther Blvd
Round Lake, IL 60073

Round Rock High School
Attn: Andrea Millers or Greg Miller
or Dwayne Weirich
201 Deep Wood Drive
Round Rock, TX 78681

Routt Catholic High School
Attn: Heath Wilson
500 E College Ave
Jacksonville, IL 62650

ROWVA High   School
Attn: Mike   Hinthorne
346 E Rova   Dr
Oneida, IL   61467


Roy High School
Attn: Bookkeeper
2150 W 4800 S
Roy, UT 84067

Roy Miller High School
Attn: Brenda Marshall
1 Battlin Buc Blvd
Corpus Christi, TX 78408

RSM US LLP
5155 Paysphere Circle
Chicago, IL 60674


Rufus King High School
Attn: Bill Molbeck
1801 W Olive St.
Milwaukee, WI 53209


Ruidoso High School
Attn: Kief Johnson
125 Warrior Dr.
                                       Page 167
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 168 of 216



Ruidoso, NM 88345

Russell County High School
Attn: Michael Carpenter
2166 S Hwy 127
Russell Springs, KY 42642

Ryan Neal
1403 Lisbon Ct.
Davenport, FL 33896

Ryle High School
Attn: Mario Kirkendall or Jim Demler
10379 US Hwy 42
Union, KY 41091

Sabine Pass School
Attn: Andy Bates
5641 S Gulfway Dr
Sabine Pass, TX 77655

Sachem East High School
Attn: Peter Blieberg
177 Granny Road
Farmingville, NY 11738


Sachse High School
Attn: Red Behrens
3901 Miles Rd
Sachse, TX 75048

Sacred Heart Elementary & High School
Attn: Chele Trammell
416 W 3rd St
Sedalia, MO 65301

Sacred Heart High School
Attn: Josh Harper
114 Trojan Ln.
Ville Platte, LA 70586

Sage Creek High School
Attn: Cory Leighton
3900 Cannon Rd
Carlsbad, CA 92010

Sahuarita High School
Attn: Sandy Novak or Chris Fanning
350 W Sahuarita Rd
Sahuarita, AZ 85629

Saint Anne High School
Attn: Kathryn Shutter
                                        Page 168
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 169 of 216



650 W. Guertin St.
Saint Anne, IL 60964

Saint Augustine Junior Senior High
Attn: Rodrigo Romo
1300 Galveston St
Laredo, TX 78040

Saint Bede Academy
Attn: Tom McGunnigal
24 W US Highway 6
Peru, IL 61354

Saint Charles East High School
Attn: Mike Sommerfeld
1020 Dunham Rd
Saint Charles, IL 60174

Saint Charles Preparatory School
Attn: David Lawler
2010 E Broad St.
Columbus, OH 43209

Saint Edward Central Catholic High
Attn: PJ White
335 Locust St.
Elgin, IL 60123

Saint Edward High School
Attn: Kevin Hickman
13500 Detroit Ave.
Lakewood, OH 44107

Saint Francis DeSales High School
Attn: Tom Neubert - Athletics
4212 Karl Rd.
Columbus, OH 43224

Saint Ignatius High School
Attn: Rory Fitzpatrick
1911 West 30th Street
Cleveland, OH 44113

Saint John Lutheran School
Attn: John Bauman
1915 SE Lake Weir Rd
Ocala, FL 34471

Saint John Vianney High School
Attn: Terry Cochran
1311 S Kirkwood Rd
Saint Louis, MO 63122


                                        Page 169
               Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 170 of 216



Saint John Vianney Regional High School
Attn: Richard Lamberson
540A Line Road
Holmdel, NJ 07733

Saint Joseph Central Catholic High School
Attn: Gary Geller
702 Croghan St.
Fremont, OH 43420

Saint   Joseph High School
Attn:   Debra Brown
453 N   Notre Dame Ave
South   Bend, IN 46617


Saint Joseph High School
Attn: Lynne Domenico
328 Vine St
Hammonton, NJ 08037

Saint   Joseph-Ogden High School
Attn:   Brady Smith
301 N   Main St
Saint   Joseph, IL 61873

Saint Laurence High School
Attn: Tim Chandler
5556 W. 77th St.
Burbank, IL 60459


Saint Louis Catholic High School
Attn: Christopher Fontenot
1620 Bank St
Lake Charles, LA 70601

Saint Mark's High School
Attn: Pete Curcio
2501 Pike Creek Rd
Wilmington, DE 19808


Saint Paul High School
Attn: Kate Aceves
9635 Greenleaf Ave
Santa Fe Springs, CA 90670

Saint Paul High School
Attn: Rick Peters
1305 Howard Ave
Saint Paul, NE 68873

Saint Peter's Preparatory School
Attn: Richard Hansen
144 Grand St
Jersey City, NJ 07302
                                       Page 170
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 171 of 216




Saint Rita High School
Attn: Roshawn Russell
7740 S. Western Av.
Chicago, IL 60620

Saint Teresa's Academy
Attn: Kathy Rohr
5600 Main St
Kansas City, MO 64113

Saint Thomas Aquinas High School
Attn: Sarah Burgess
11411 Pflumm Rd
Overland Park, KS 66215

Saint Ursula Academy
Attn: Kim Gunning
1339 E McMillan St
Cincinnati, OH 45206

Saint Vincent Saint Mary High School
Attn: Willie McGee
15 N Maple St
Akron, OH 44313

Salem High School
Attn: Hank Weedin
700 N Harrison St
Salem, IN 47167

Salem High School
Attn: Matt Freeman or Todd Huda
1200 E 6th St
Salem, OH 44460

Salinas High School
Attn: Patty Lamar
726 S Main St
Salinas, CA 93901

Saline Athletics
Attn: MS Athletics
1300 Campus Pkwy
Saline, MI 48176

Saline High School
Attn: Scott Theisen
1300 Campus Pky
Saline, MI 48176


Salpointe Catholic High School
Attn: Danny Preble or Keith Shinaberry
                                      Page 171
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 172 of 216



1545 E Copper St
Tucson, AZ 85719

Sam Houston High School
Attn: Melton Schultz
4635 E. Houston St
San Antonio, TX 78220

Sam Houston High School
Attn: Anthony Criss
2000 Sam Houston Dr
Arlington, TX 76014

Sam Houston High School
9400 Irvington Blvd
Houston, TX 77076

Samuel W Wolfson Senior High School
Attn: Cindy Talley
7000 Powers Ave
Jacksonville, FL 32217

San Benito High School
Attn: Daniel Gomez
450 S. Williams Road
San Benito, TX 78586

San Dieguito High School Academy
Attn: Scott Jordon
800 Santa Fe Dr
Encinitas, CA 92024

San Fernando High School
Attn: Anthony Chavez
11133 O'Melveny Ave
San Fernando, CA 91340

San Leandro High School
Attn: Jason Strickland
2200 Bancroft Ave
San Leandro, CA 94577

San Ysidro High School
Attn: Mario Ramirez
5353 Airway Road
San Diego, CA 92154

Sandalwood High School
Attn: LESLIE GUZZONE
2750 John Prom Blvd
Jacksonville, FL 32246

Sanderson High School
                                       Page 172
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 173 of 216



Attn: Tony Lewis
5500 Dixon Dr
Raleigh, NC 27609

Sandusky High School
Attn: Shawn Coakley
2130 Hayes Ave
Sandusky, OH 44870


Sandy Creek High School
Attn: Richard Smith
360 Jenkins Rd
Tyrone, GA 30290


Sangamon Valley High School
Attn: Josh Myers
398 N. Illinois St.
P.O. Box 200
Niantic, IL 62551

Santa   Fe High School
Attn:   Brooke Griffin
16000   Highway 6
Santa   Fe, TX 77510

Santa Margarita Catholic High School
Attn: Rocco DeFilippo
22062 Antonio Pky
Rancho Santa Margarita, CA 92688


Santa Paula High School
Attn: Daniel Guzman
404 North Sixth Street
Santa Paula, CA 93060

Santa Rosa High School
Attn: Rebecca Corpus
102 North Main St
Santa Rosa, TX 78593


Santana High School
Attn: Emily Snipes or Lucas Phillips
9915 Magnolia Ave
Santee, CA 92071

Sapulpa Senior High School
Attn: Jason Parker
3 S Mission St
Sapulpa, OK 74066

Saraland High School
Attn: Jeff Kelly
1115 Industrial Parkway
Saraland, AL 36571
                                       Page 173
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 174 of 216




Satsuma High School
Attn: Steven Cochran
1 Gator Circle
Satsuma, AL 36572

Savannah High School
Attn: Chad Dreyer
701 State Rt E
Savannah, MO 64485

Sayre Area High School
331 W Lockhart St
Sayre, PA 18840

Scappoose High School
Attn: Athletics
33700 SE High School Way
Scappoose, OR 97056

Scarborough High School
Attn: Gary Howard
4141 Costa Rica Rd
Houston, TX 77092

Schoolcraft High School
Attn: Jeff Clark
629 E Clay St
Schoolcraft, MI 49087

Scott High School
Attn: William Schwartz
5400 Old Taylor Mill Rd.
Taylor Mill, KY 41015

Scotts Valley High School
Attn: Louie Walters
555 Glenwood Dr
Scotts Valley, CA 95066

Sealy High School
Attn: Harvest Lafrance
2327 Championship Lane
Sealy, TX 77474

Seaman High School
Attn: Athletic Department
4850 NW Rochester Rd
Topeka, KS 66617


Seaside High School
Attn: Jason Boyd
1901 N Holladay Dr
                                     Page 174
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 175 of 216



Seaside, OR 97138

Sebring High School
Attn: Jasone DeWitt
3514 Kenilworth Blvd
Sebring, FL 33870

Segerstrom High School
Attn: Nick Canzone
2301 W. MacArthur Blvd.
Santa Ana, CA 92704

Seguin High School
Attn: Wendy Cox
7001 Silo Rd
Arlington, TX 76002

Seminole County High School
Attn: Kent Richardson
5582 Georgia Highway 39
Donalsonville, GA 39845

Seneca High School
10770 Wattsburg Rd
Erie, PA 16509

Sequoyah High School
Attn: Allen Carden
4485 Hickory Rd
Canton, GA 30115

Service High School
Attn: James Hancock
5577 Abbott Rd
Anchorage, AK 99507

Seton Catholic High School
Attn: Trent Tremain
233 S. 5th St
Richmond, IN 47374


Seton Catholic Prep High School
Attn: Phillip Kent
811 NE 112th Ave
Vancouver, WA 98684

Seven Rivers Christian School
Attn: Gary Dreyer
4221 W Gulf To Lake Hwy
Lecanto, FL 34461

Seymour High School
Attn: Kirk Manns
                                      Page 175
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 176 of 216



1350 W 2nd St.
Seymour, IN 47274

Shadow Hills High School
Attn: Ron Shipley
39-225 Jefferson St.
Indio, CA 92203

Shadyside High School
3890 Lincoln Ave
Shadyside, OH 43947

Shallowater High School
Attn: Bryan Wood
1100 Ave K
Shallowater, TX 79363

Sharpstown High School
7504 Bissonnet St
Houston, TX 77074

Shawnee High School
Attn: Mike Fair or Todd Boyer
1001 N Kennedy
Shawnee, OK 74801

Shawnee High School
Attn: Dick Heath
3333 Zurmehly Rd
Lima, OH 45806


Shawnee Mission East High School
Attn: Debbie Katzfry
7500 Mission Rd
Prairie Village, KS 66208


Shawnee Mission North High School
Attn: Kent Glasser
7401 Johnson Dr
Shawnee Mission, KS 66202


Shawnee Mission Northwest Senior High School
Attn: Angelo Giacalone
12701 W 67th St
Shawnee Mission, KS 66216


Shawnee Mission West Senior High School
Attn: Todd McAtee
8800 W 85th St
Overland Park, KS 66212

Sheboygan North High School
Attn: Dan Stengel
                                        Page 176
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 177 of 216



1042 School Ave.
Sheboygan, WI 53083

Shelbyville High School
Attn: Ryan Mack or Paul Heidenreich
2003 S Miller St
Shelbyville, IN 46176

Sheldon High School
Attn: Denise Aguilar
8333 Kingsbridge Dr
Sacramento, CA 95829

Shenandoah High School
7354 W US 36
Middletown, IN 47356

Shepard High School
Attn: Joanna Stasiak
13049 S Ridgeland Ave
Palos Heights, IL 60463

Sheridan High School
Attn: Rick Davis
24185 N Hinsley Rd
Sheridan, IN 46069

Sheridan High School
Attn: Les Gomez
3201 W Oxford Ave
Denver, CO 80204

SHHS Athletic Dept.
Attn: Toby Peer
1101 S Potomac St.
Hagerstown, MD 21740


Shiloh High School
Attn: Robert Wilson
4210 Shiloh Rd
Smellville, GA 30039

Shippensburg Area Senior High School
201 Eberly Drive
Shippensburg, PA 17257

Show Low High School
Attn: David Nikolaus or Greg Schubert
500 W. Old Linden Rd.
Show Low, AZ 85901

SHS FBC
                                        Page 177
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 178 of 216



Attn: Marylee Lajoie
870 W. Buckingham Rd.
Garland, TX 75040

Sierra Vista High School
Attn: Brett Stevens
3600 Frazier St
Baldwin Park, CA 91706


Signature High School
Attn: Jean Hitchcock
610 Main St
Evansville, IN 47708


Silver Creek High School
Attn: Jeff Harrell
557 Renz Ave
Sellersburg, IN 47172

Simi Valley High School
Attn: John Arisohn
5400 Cochran St
Simi Valley, CA 93063

Simley High School
Attn: Will Short
2920 80th St E
Inver Grove Heights, MN 55076


Simon Kenton High School
Attn: Jeff Marksberry
11132 Madison Pike
Independence, KY 41051

Sinton High School
Attn: Eian Adams
400 N. Pirate Blvd.
Sinton, TX 78387

Sisters High School
Attn: Gary Thorson
1700 W Mckinney Butte Rd
Sisters, OR 97759

Skyline High School
Attn: Greg Schultz
845 S Crismon Rd
Mesa, AZ 85208

Skyline High School
Attn: Bob Wellman
2552 N Maple Rd
Ann Arbor, MI 48103

                                     Page 178
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 179 of 216




Skyline High School
Attn: Doug Bingham or Steve Marlowe
3251 E 3760 S
Salt Lake City, UT 84109

Skyridge High School
Attn: Karen Ashmann
3000 N Center St
Lehi, UT 84043

Slaton High School
Attn: Shaye Murphy
105 N 20th St
Slaton, TX 79364

Smith-Cotton High School
Attn: Rob Davis
312 E Broadway
Sedalia, MO 65301

Smithville High School
Attn: Anna Murray
801 Wilks St
PO Box 479
Smithville, TX 78957

Smoky Hill High School
Attn: JOHN THOMPSON
16100 E Smoky Hill Rd
Aurora, CO 80015

Snowflake High School
Attn: Kevin Stranderfer
682 W Schoolbus Ln
Snowflake, AZ 85937


SOH ASB
Attn: Manuel Tapia
1685 Hollister St
San Diego, CA 92154


Solon High School
Attn: Donna Thomas or Nancy Westrich
33600 Inwood Drive.
Solon, OH 44139

Somerset Academy Bay
Attn: Michelle Peterson
9500 SW 97th Street
Miami, FL 33176

Somerset Academy Key
Attn: Ryan Combs
                                       Page 179
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 180 of 216



959 SE 6th Avenue
Deerfield Beach, FL 33441

Somerset High School
Attn: John Walsh
645 Sunrise Dr
Somerset, WI 54025

Somerset Senior High School
645 S Columbia Ave
Somerset, PA 15501

Sonoraville High School
Attn: Brent Mashburn
7340 Fairmount Hwy SE
Calhoun, GA 30701

South Caldwell High School
Attn: Jeff Parham
7035 Spartan Dr
Hudson, NC 28638

South Central High School
Attn: Darren Hunt
3305 Greenwich Angling Rd
Greenwich, OH 44837

South Central Junior Senior High School
Attn: Benjamin Anderson
9808 S 600 W
Union Mills, IN 46382

South Cobb High School
Attn: Matt Bradford
1920 Clay Rd
Austell, GA 30106


South Elgin High School
Attn: Carol Sather or Jason Ward
760 E. Main Street
South Elgin, IL 60177

South Eugene High School
Attn: Dave Hancock
400 E 19th Ave.
Eugene, OR 97401

South Fayette Township High School
Attn: Lisa Hoover
3640 OLD OAKDALE ROAD
McDonald, PA 15057

South Forsyth High School
                                       Page 180
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 181 of 216



Attn: Keith Gravitt
585 Peachtree Pky
Cumming, GA 30041

South Lafourche High School
Attn: Brian Callais
16911 E Main St.
Cut Off, LA 70345


South Laurel High School
Attn: Ryan Nolan
201 S Laurel Rd
London, KY 40741


South Milwaukee High School
Attn: Ante Udovicic
801 15th Ave.
South Milwaukee, WI 53172

South Mountain High School
Attn: Brian Fair
5401 S 7th St
Phoenix, AZ 85040

South Prairie High School
Attn: Darwin Routledge
100 177th Ave SW Minot
Minot, ND 58701

South Range High School
Attn: Don Feren or Wayne Allegretto
11300 Columbiana-Canfield Rd.
Ste. H
Canfield, OH 44406

South Ripley High School
Attn: Joe Ralston
1589 S Benham Rd
Versailles, IN 47240


South River High School
Attn: David Klingel
201 Central Ave.
Edgewater, MD 21037


South San Antonio High School
Attn: Ronald Kretz
7535 Barlite Blvd
San Antonio, TX 78224

South Sumter High School
Attn: Christina McKinney
706 N Main St
Bushnell, FL 33513
                                      Page 181
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 182 of 216




South Warren High School
Attn: Chris Decker
8140 Nashville Road
Bowling Green, KY 42104

Southeast High School
5401 S Shields Blvd
Oklahoma City, OK 73129

Southeast High School
Attn: Daniel Bradshaw
1200 37th Ave E
Bradenton, FL 34208

Southeastern High School
Attn: Anthony Paciero
3030 Fairview St
Detroit, MI 48214

Southern Columbia Area High School
812 SOUTHERN DRIVE
CATAWISSA, PA 17820

Southern Lee High School
Attn: Don Simon
2301 Tramway Road
Sanford, NC 27332

Southern Ohio Chamber Alliance
P.O. Box 49358
Dayton, OH 45449-0358


Southfield A&T High School
Attn: Anika McEvans or Gary Winstron
24675 Lahser Rd
Southfield, MI 48033

SOUTHSIDE CHRISTIAN SCHOOL
Attn: Janice Lee
3439 Knight Ave
WAYCROSS, GA 31503

Southside High School
Attn: Jim Rowland
3205 Jenny Lind Road
Fort Smith, AR 72901

Southside High School
Attn: Richard Lock
1460 Martinez Losoya Rd
San Antonio, TX 78221

                                       Page 182
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 183 of 216




Southwest High School
Attn: Lisa Langston
4100 Altamesa Blvd
Fort Worth, TX 76133

Southwood High School
Attn: Coach McClain
9000 Walker Rd
Shreveport, LA 71118

Spanish Fort High School
Attn: Mitch Kitchens
1 Plaza de Toro
Spanish Fort, AL 36527

Sparta High School
Attn: Kelly Rider
475 W Spartan Dr
Sparta, MI 49345

Sparta High School
Attn: Rich Williams
205 W Hood Ave
Sparta, IL 62286

Spartan Boosters
Attn: Basketball Team
15127 Main Street E.
Suite 104
PMB #311
Sumner, WA 98390

Speedway High School
Attn: Brian Avery
5357 W 25th St
Speedway, IN 46224

Spring High School
Attn: Elizabeth Vazquez
19428 I 45 N
Spring, TX 77373

Spring Hill High School
Attn: Teri Burns
2800 George Richey Rd
Longview, TX 75605

Springfield High School
Attn: Jody Barnhart
875 7th St
Springfield, OR 97477

Springfield High School
                                     Page 183
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 184 of 216



ATTN: Dustin Wilson
5240 Hwy 76E
Springfield, TN 37172

Springtown High School
Attn: Stan Gideon
915 W Hwy 199
Springtown, TX 76082


Springville Senior High School
Attn: Mark Binks
1205 E 900 S
Springville, UT 84663


SSC, Inc.
PO Box 135
Brattleboro, VT 05302-0135

St. John's Jesuit High School
Attn: Bob Ronai
5901 Airport Highway
Toledo, OH 43615

Stafford High School
Attn: Ken Savanah
1625 Staffordshire
Stafford, TX 77477

Stafford Senior High School
Attn: Chris Dodd
33 Stafford Indians Ln
Fredericksburg, VA 22405

Staley High School
Attn: Jason Fowler
2800 NE Shoal Creek Parkway
Kansas City, MO 64156

Stamford County Line ISD School
Attn: Ronnie Casey
507 S Orient St
Stamford, TX 79553

Stanton College Preparatory School
Attn: Chris Crider
1149 W 13th St
Jacksonville, FL 32209

Start High School
Attn: Michael Johnson
2010 Tremainsville Rd
Toledo, OH 43613


                                      Page 184
             Case 19-12233-LSS   Doc 8     Filed 10/18/19   Page 185 of 216



Steamboat Springs High School
Attn: Luke DeWolfe
45 E Maple St
Steamboat Springs, CO 80487

Steelton-Highspire Junior Senior High
SWATARA ST & REYNDERS AVE
Steelton, PA 17113


Stephen F. Austin High School
Attn: Vianey Nino
1700 Dumble St
Houston, TX 77023


Stephenville High School
Attn: Mike Carroll
2650 W Overhill Dr
Stephenville, TX 76401

Sterling High School
11625 Martindale Rd
Houston, TX 77048

Stillwater High School
Attn: Ricky Michel
5701 Stillwater Blvd N
Stillwater, MN 55082

Stillwater High School
Attn: Tucker Barnard
1224 N Husband St
Stillwater, OK 74075

Stow Munroe Falls High School
Attn: Cyle Feldman
3227 E. Graham Rd.
Stow, OH 44224

Strafford High School
Attn: Brett Bough
201 W McCabe St
Strafford, MO 65757

Streetsboro High School
Attn: Randy Tevepaugh
8585 State Route 14
Streetsboro, OH 44241

Streetsboro High School
8585 State Route 14
Streetsboro, OH 44241

Strongsville High School
                                        Page 185
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 186 of 216



Attn: Paul Moses or Andy Jalwan
20025 Lunn Rd.
Strongsville, OH 44149

Struthers High School
Attn: Nancy Knight
111 Euclid Ave
Struthers, OH 44471

Stuttgart High School
Attn: Hanna Maier
2501 S Main St
Stuttgart, AR 72160

Suburban Christian School
Attn: Joe Borders
722 East County Line Rd
Indianapolis, IN 46227

Sulphur High School
Attn: Corey Cole
700 W. Broadway
Sulphur, OK 73086

Summit Country Day School
Attn: Gregory Dennis
2161 Grandin Rd
Cincinnati, OH 45208

Summit High School
Attn: Travis Avery
16201 HWY 9
Breckenridge, CO 80424

Summit High School
Attn: Mike Carpenter
2855 NW Clearwater Dr.
Bend, OR 97703

Summit High School
Attn: Amy Raymond
16201 US 9
PO Box 7
Frisco, CO 80443

Sumner Fredericksburg High School
Attn: Allan Eckelman
802 W 6th St.
Sumner, IA 50674

Sunlake High School
Attn: Reesa Hendrix-Pledge
3023 Sunlake Blvd
Land O-Lakes, FL 34638
                                        Page 186
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 187 of 216




Sunnyside High School
Attn: Ricky Torres
2238 E Ginter Rd
Tucson, AZ 85706

Sunnyvale High School
Attn: Mark Van Vessem
222 Collins Rd
Sunnyvale, TX 75182

Sutherland Public Schools
Attn: Dustin Mitchell
401 Walnut St.
Sutherland, NE 69165

Suwannee High School
Attn: Mike Braun
1314 Pine Ave SW
Live Oak, FL 32064

Sweetwater High School
Attn: Kirk Byrd
207 Musgrove Street
Sweetwater, TX 79556

Sweetwater High School
Attn: Wesley Charles or Alex Salazar
2900 Highland Ave
National City, CA 91950

Switzerland County Senior High
Attn: David Todd
1020 W Main St
Vevay, IN 47043

Sycamore High School
Attn: Phil Poggi
7400 Cornell Rd
Cincinnati, OH 45242

Sylvania Northview High School
Attn: Chris Irwin
5403 Silica Dr.
Sylvania, OH 43560

Sylvania Southview High School
Attn: Jim Huss
7225 Sylvania Ave.
Sylvania, OH 43560


T L Hanna High School
Attn: John Cann
                                       Page 187
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 188 of 216



2600 Hwy 81 N
Anderson, SC 29621

Tahoma Senior High School
Attn: Tony Davis
18200 SE 240th
Covington, WA 98042

Talawanda High School
Attn: Wes Cole
5301 University Blvd
Oxford, OH 45056

TA-Petro
Attn. Jocelyn Albrecht
24601 Center Ridge Road
Westlake, OH 44145-5639

Tascosa Senior High School
Attn: Ken Plunk
3921 Westlawn St
Amarillo, TX 79102

Tates Creek High School
Attn: John Dixon or Antoine Sims
1111 Centre Pky.
Lexington, KY 40517

Tawas Area High School
245 West M-55
Tawas City, MI 48763

Taylor County High School
900 Johnson Stripling Rd
Perry, FL 32347

Taylor High School
Attn: Larry Herges
56 Cooper Rd
Cleves, OH 45002

Taylor Junior Senior High School
Attn: Eric Hartman
3794 E. 300 S.
Kokomo, IN 46902

Taylorsville Senior High School
Attn: Bill Geist
5225 S Redwood Rd
Taylorsville, UT 84123

Tecumseh High School
Attn: John Zajac
                                       Page 188
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 189 of 216



760 Brown St
Tecumseh, MI 49286

Tecumseh Local Schools
Attn: Craig Eier
9830 W National Rd
New Carlisle, OH 45344

Temecula Valley High School
31555 Rancho Vista Rd
Temecula, CA 92592

Tenafly High School
Attn: Yas Usami
19 Columbus Dr
Tenafly, NJ 07670

Terra Nova High School
1450 Terra Nova Blvd
Pacifica, CA 94044

Terrebonne High School
Attn: Joe Clement
7318 Main St
Houma, LA 70360

Terrell High School
Attn: Buster Leaf
400 Poetry Rd
Terrell, TX 75160


Terry Parker High School
Attn: Megan Pardue
7301 Parker School Rd
Jacksonville, FL 32211

Texas Christian High School
Attn: Jessica Lirette
17810 Kieth Harrow
Houston, TX 77084

Texas Scottish Rite Hospital
Attn: McKay Heim - Dir. Communications
2222 Wellborn Street
Dallas, TX 75219

Texoma Christian School
Attn: Mark Ellison
3500 West Houston
Sherman, TX 75092


The Brook Hill School
Attn: Wally Dawkins
                                     Page 189
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 190 of 216



1051 N Houston St.
Bullard, TX 75757

The King's Academy
Attn: Adam Winters
8401 Belvedere Rd
West Palm Beach, FL 33409

The Magnet Guys
4811 King Hill Ave
St. Joseph, MI 64504

The Woodlands Christian Academy
Attn: Randy Hollas
5800 Academy Way
The Woodlands, TX 77384

The Wow Center
Attn: Anay Abraham
11450 S.W. 79th Street
Miami, FL 33173

Thomas A Edison High School
Attn: Jim Harris
5801 Franconia Rd
Alexandria, VA 22310

Thomas B Doherty High School
Attn: Chris Noll
4515 Barnes Rd
Colorado Springs, CO 80917

Thomas Downey High School
Attn: Steve Garrett
1000 Coffee Rd
Modesto, CA 95355

Thomas Edison High School
Attn: Dawris Gomez
165 65 84th Ave
Jamaica, NY 11432

Thomas Edison High School
Attn: Albert Torres
701 Santa Monica
San Antonio, TX 78212

Thomas Nelson High School
Attn: Sara Thurmond
150 Generals Blvd
Bardstown, KY 40004

Thomas Worthington High School
                                      Page 190
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 191 of 216



Attn: Jen Goebbel or Scott Dorne
300 W Dublin Granville Rd
Worthington, OH 43085

Thornapple Kellogg High School
Attn: Dave Chrisinske
3885 Bender Rd
Middleville, MI 49333

Thrall Junior Senior High School
Attn: Jeff Doege
100 Bounds St
Thrall, TX 76578

ThunderRidge High School
Attn: Sean Patterson
1991 Wildcat Reserve Pky
Highlands Ranch, CO 80129


Thurgood Marshall High School
Attn: James Williams
1220 Buffalo Run
Missouri City, TX 77489

Tidehaven High School
Attn: Amie Collins
Hwy 35 Farm Rd 1095
El Maton, TX 77440


Tigers Boosters
Attn: Danny Bell
708 K Ave
La Grande, OR 97850

Time Warner Cable - Northeast
P.O. Box 0901
Carol Stream, IL 60132-0901

Tioga High School
Attn: Tom O'Kelly
1207 Tioga Rd.,
Ball, LA 71477

Tippecanoe High School
Attn: Matt Shomper or JD Foust
615 E. Kessler Cowlesville Rd.
Tipp City, OH 45371

Tolleson Union High School
Attn: Dr. Ray Perkins
9419 W Van Buren
Tolleson, AZ 85353


                                       Page 191
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 192 of 216



Topeka West High School
Attn: Richard Mariani
2001 SW Fairlawn Rd
Topeka, KS 66604

Toro Foundation Club
Attn: Mitch Kitchens
101 Raphael Semmes Dr W
Spanish Fort, AL 36527

Torrey Pines High School
Attn: Zephyr Fletcher or Nicole Baril
3710 Del Mar Heights Rd
San Diego, CA 92130


Traverse City Central High School
Attn: Karyn Hertel
1150 Milliken Dr.
Traverse City, MI 49686

Traverse City West High School
Attn: Karyn Hertel
5376 N Long Lake Rd
Traverse City, MI 49685

Travis High School
Attn: Trey Sissom
11111 Harlem Road
Richmond, TX 77406


Trego Community High School
Attn: Craig Malsam
1200 Russell Ave
WaKeeney, KS 67672

Tremper Senior High School
Attn: John Matera
8560 26th Ave.
Kenosha, WI 53140

Trenton High School
Attn: James Trush
2601 Charlton Rd
Trenton, MI 48183

Trenton High School
Attn: Rick Foreman
505 S Ballentine St
PO Box 5
Trenton, TX 75490

Trevor G. Browne Athletics Adv
Attn: David Provost
7402 W Catalina Dr
                                        Page 192
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 193 of 216



Phoenix, AZ 85033

Tri High School
Attn: Scott Widner
6972 S State Rd 103
Straughn, IN 47387

Trico High School
Attn: Drew Pettit
16343 IL-4
Campbell Hill, IL 62916

Trimble Technical High School
Attn: Dwayne Henry
1003 W Cannon St
Fort Worth, TX 76104

Trinity Christian Academy
Attn: Jeff Smith or Brian Rodriguez
17001 Addison Rd.
Addison, TX 75001

Trinity Christian School
Attn: Troy Williams
1231 E Pleasant Run Rd
Cedar Hill, TX 75104

Trinity High School
Attn: Ricci Rich
231 Park Ave.
Washington, PA 15301

Trinity High School
Attn: John Odermann
810 Empire Rd
PO Box 1177
Dickinson, ND 58601

Trinity High School
Attn: Mandy Leahy or Mike Flint
321 Victory Ln
PO Box 1060
Weaverville, CA 96096

Trinity High School
Attn: Tony San Filippo
12425 Granger Rd
Garfield Heights, OH 44125


Trinity High School
3601 Simpson Ferry Rd
Camp Hill, PA 17011


                                      Page 193
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 194 of 216



Trinity High School Athletics
Attn: Bob - Athletics
P.O. Box 1060
Weaverville, CA 96093

TRINITY LUTHERAN HIGH SCHOOL
Attn: Andy Denny
7120 N COUNTY ROAD 875 E
SEYMOUR, IN 47274

Trinity School Of Midland
3500 W Wadley Ave
Midland, TX 79707


Tri-Point High School
Attn: Justin Cox
100 E Van Alstyne St.
Cullom, IL 60929

Triton Central High School
Attn: Bryan Graham
4774 W 600 N
Fairland, IN 46126

Tri-Valley Athletics
Attn: Josh Roop
503 E. Washington
P.O. Box 109
Downs, IL 61736

Tri-Valley High School
Attn: Justin Buttermore
46 E Muskingum Ave
Dresden, OH 43821


Tri-West High School
Attn: Nathan Begle
7883 NORTH SR 39
Lizton, IN 46149

Troup High Athletics
Attn: Robert Schweizer
1920 Hamilton Rd
La Grange, GA 30240

Troy Christian High School
Attn: Julie Newcomer
700 S. Dorset Road
Troy, OH 45373

Tualatin High School
Attn: Ted Rose
22300 SW Boones Ferry Rd
Tualatin, OR 97062
                                     Page 194
               Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 195 of 216




Tucson High School
Attn: Bobby DeBarry
400 N 2nd Ave
Tucson, AZ 85705

Tulia High School
Attn: Duane Toliver
501 Hornet Place
Tulia, TX 79088

Tuloso Midway High School
Attn: Kelly Rozypal
2653 McKinzie Dr.
Corpus Christi, TX 78410

Tumwater High School
Attn: Tim Graham
700 Israel Rd SW
Tumwater, WA 98501

Turkey Valley Community School
Attn: Jay Jurrens
3219 State Hwy 24
Jackson Junction, IA 52171

Turpin High School
Attn: Tony Hemmelgarn
2650 Bartels Rd
Cincinnati, OH 45244

Twentynine Palms High School
Attn: TJ Stanford
72750 Wildcat Way
Twentynine Palms, CA 92277

Twin Lakes High School
300 S 3rd St
Monticello, IN 47960

UAHS Athletics
Attn: Tony Pusateri
1650 Ridgeview Rd
Columbus, OH 43221

Union   City Community High School
Attn:   Mike Thornburg
603 N   Walnut St
Union   City, IN 47390


Union County High School
Attn: Ronny Pruitt
1000 S Lake Ave
                                         Page 195
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 196 of 216



Lake Butler, FL 32054

Union Grove High School
Attn: Kelli Smith
120 East Lake Rd
McDonough, GA 30252

Union High School
Attn: Kim Dalgord
6201 NW Friberg/Strunk
Camas, WA 98607

Unity High School
Attn: Doug Ramich
1908 150th St
Balsam Lake, WI 54810

University City High School
Attn: Donna Fallon
6949 Genesee Ave
San Diego, CA 92122

University High School
Attn: Jason Barnard
2450 Cougar Way
Orlando, FL 32817

Up Snap
Attn: Accounts Receivable
PO Box 131943
Spring, TX 77393

Upper Arlington High School
Attn: Tony Pusateri
1650 Ridgeview Rd
Columbus, OH 43221

Upper Merion Athletic Department
Attn: Rob Devers
435 Crossfield Rd
King Of Prussia, PA 19406

Ursuline High School
Attn: Larry Kempe
750 Wick Ave
Youngstown, OH 44505

Uvalde High School
Attn: Gary Griffin
1 Coyote Trl
Uvalde, TX 78801

Valencia ASB
                                       Page 196
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 197 of 216



Attn: Brian Stiman
27801 Dickason Dr
Santa Clarita, CA 91355

Valencia High School
Attn: Kevin Ferguson
500 N Bradford Ave
Placentia, CA 92870


Valencia High School
Attn: Brian Stiman
27801 Dickason Dr
Santa Clarita, CA 91355

Valencia High School
Attn: Trisha Brandt
310 Bonita Vista
Los Lunas, NM 87031

Valley Center High School
31322 Cole Grade Rd
Valley Center, CA 92082

Valley Christian High School
Attn: Zac Chan
17700 Dumont Ave
Cerritos, CA 90703


Valley Christian High School
Attn: Greg Haagsma
6900 W. Galveston St.
Chandler, AZ 85226

Valley Forge High School
Attn: Chris Medaglia
9999 Independence Blvd.
Parma Heights, OH 44130

Valley High School
Attn: Kevin McWain
1001 Birch St
PO Box 156
Gilcrest, CO 80623

Valley High School
Attn: Darren Crabtree
1821 State Route 728
Lucasville, OH 45648

Valley View High School
Attn: Jonathan Kenyon
13135 Nason Street
Moreno Valley, CA 92555

                                     Page 197
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 198 of 216




Valley Vista High School
Attn: Brad Larremore
15550 W. Parkview Place
Surprise, AZ 85374

Van High School
Attn: Jared Moffatt
985 N Maple
Van, TX 75790

Van Horn High School
Attn: Chris Corrie
1109 Arlington
Independence, MO 64053

Van Nuys Senior High School
Attn: Yolanda Gardea
6535 Cedros Ave
Van Nuys, CA 91411

Van Vleck High School
Attn: Robert Blackmon
133 S 4th St
Van Vleck, TX 77482

Vandalia High School
Attn: Nick Casey
1109 N. Eighth St
Vandalia, IL 62471


Varsity Spirit Corporation
Attn: Landon Craft
6745 Lenox Center Court
Suite 300
Memphis, TN 38115

Veritas Preparatory Academy
2131 East Lincoln Drive
Phoenix, AZ 85016

Vermilion High School
Attn: Phil Brickner
1250 Sanford St
Vermilion, OH 44089

Vern Thompson
134 Ansel Rd.
Geneva, OH 44041


Verrado High School
Attn: Nicholas Browder
20050 W. Indian School Road
Buckeye, AZ 85396
                                     Page 198
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 199 of 216




Versailles High School
Attn: Kyle Middleton
913 W Newton
Versailles, MO 65084

Veterans Memorial High School
Attn: Brenda Marshall
3750 Cimarron
Corpus Christi, TX 78414

Veterans Memorial High School
Attn: Richard Mendoza
7618 Evans Road
San Antonio, TX 78266

Vicksburg High School
Attn: Michael Roy
501 E Highway St
Vicksburg, MI 49097

Victor J. Andrew High School
Attn: Michael Dwyer
9001 W 171st St
Tinley Park, IL 60487

Victoria East High School
Attn: Leonard McAngus
4103 East Mockingbird
Victoria, TX 77904


Victoria West High School
Attn: Leonard McAngus
307 Tropical Dr
Victoria, TX 77904

Victory Baptist Church
Attn: Pastor Mike
610 West Alto Road
Kokomo, IN 46902

Vincent High School
Attn: Bill Molbeck
7501 N Granville Rd.
Milwaukee, WI 53224

Virgin Valley High School
Attn: Yori Ludvigson or Joey Bowler
820 Valley View Dr
Mesquite, NV 89027

Vista Peak Preparatory School
Attn: Craig Lyle
                                      Page 199
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 200 of 216



24500 E 6Th Avenue
Aurora, CO 80018

W. H. Adamson High School
Attn: Joe Borunda
201 E NINTH ST
Dallas, TX 75203

W.B. Mason Co., Inc
PO Box 981101
Boston, MA 02298-1101

Wabash High School
Attn: Floyd McWhirt
580 N Miami St
Wabash, IN 46992

Waco ISD Athletics
Attn: Mark Driskill
1401 S. New Road
Waco, TX 76711

Waconia High School
Attn: Jill Johnson
1400 Community Dr
Waconia, MN 55387

Walled Lake Western High School
Attn: Jay/Carol Weiss
600 Beck Rd
Walled Lake, MI 48390

Walnut Hills High School
Attn: Steve Ellison
3250 Victory Pky
Cincinnati, OH 45207

Walsh Jesuit High School
Attn: Barb Salata
4550 Wyoga Lake Rd
Cuyahoga Falls, OH 44224

Walton High School
Attn: David Arnold
1590 Bill Murdock Rd
Marietta, GA 30062

Waltonville High School
Attn: Allen Haley
804 West Knob St.
Waltonville, IL 62894

Waltrip High School
                                      Page 200
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 201 of 216



1900 W 34th St
Houston, TX 77018

WAO Schools
Attn: Wade Johnson
224 E Bridge St
Warren, MN 56762

Wapahani High School
10401 E County Rd 167 S
Selma, IN 47383

Wapakoneta High School
Attn: Brad Rex
1 W Redskin Trl
Wapakoneta, OH 45895

Ware County High School
Attn: Jennifer Roberts
700 Victory Dr
Waycross, GA 31503

Warren Central High School
Attn: Marques Clayton
9500 E 16th St.
Indianapolis, IN 46229

Warren Central High School
Attn: Chase Goff
559 Morgantown Rd
Bowling Green, KY 42101

Warren Central High School
Attn: Preston Nailor
1000 Highway 27
Vicksburg, MS 39180

Warren Harding High School
Attn: Bill Nicholson
860 Elm Rd. NE
Warren, OH 44483

Warren High School
Attn: Russ Hieckie
8141 De Palma St
Downey, CA 90241

Warren High   School
Attn: Steve   Harold
130 Warrior   Dr.
Vincent, OH   45784

Warren Mott High School
                                       Page 201
             Case 19-12233-LSS    Doc 8   Filed 10/18/19   Page 202 of 216



Attn: Dave Noble
3131 12 Mile Rd
Warren, MI 48092

Warrensburg-Latham High School
Attn: Craig Olson
425 W North St
PO Box 409
Warrensburg, IL 62573

Warrenton High School
Attn: Rod Heyen
1700 SE Main St
Warrenton, OR 97146


Warsaw Community High School
Attn: Dave Anson
1 Tiger Ln
Warsaw, IN 46580

Washburn High School
201 W 49th St
Minneapolis, MN 55419

Washington High School
Attn: Thomas Sims
4747 W Washington St
South Bend, IN 46619

Washington High School
119 E 39th St
Houston, TX 77018

Washington High School
Attn: Mike Tripp
38442 Fremont Blvd
Fremont, CA 94536

Washougal High School
Attn: Doug Cox
1201 39th St
Washougal, WA 98671

Waterford High School
Attn: Dr. Ignacio Ramirez
121 S Reinway Ave
Waterford, CA 95386

Waterford Kettering High School
Attn: ALLISON SARTORIUS
2800 Kettering Dr.
Waterfood, MI 48329


                                      Page 202
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 203 of 216



Waterford Mott High School
Attn: Allison Sartorius
1151 Scott Lake Rd
Waterford, MI 48328

Waukegan High School
Attn: Enjioli Figueroa
2325 Brookside Ave.
Waukegan, IL 60085

Waukesha North High School
Attn: Brian Schlei
2222 Michigan Ave.
Waukesha, WI 53188


Waukesha South High School
Attn: Dan Domach or Todd Sobrilsky
401 E Roberta Ave.
Waukesha, WI 53186

Waukesha West High School
Attn: Kyle LeMieux - Athletics
3301 Saylesville Rd
Waukesha, WI 53189

Wauwatosa East High School
Attn: Michelle Guyant-Holloway
7500 Milwaukee Ave.
Wauwatosa, WI 53213


Wauwatosa West High School
Attn: Athletics
11400 W Center St.
Wauwatosa, WI 53222

Waverly-Shell Rock High School
Attn: David Litterer
1405 4th Ave SW
Waverly, IA 50677

WA-WM Education Foundation-WAA
Attn: Tess Heiderscheit
1205 S. 70th Street- 5th Floor
West Allis, WI 53214

Waxahachie High School
Attn: Greg Reed
3001 N. Bypass US Hwy 287
Waxahachie, TX 75167

Wayne High School
Attn: Jay Minton
5400 Chambersburg Rd
Huber Heights, OH 45424
                                     Page 203
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 204 of 216




Weatherford High School Athletics
Attn: Richard Scoggin
2121 Bethel Rd
Weatherford, TX 76087

Webster Groves High School
Attn: Jerry Collins
100 Selma Ave
Webster Groves, MO 63119

Weldon, Williams & Lick, Inc.
P.O. Box 168
Fort Smith, AR 72902-0168


Wellington High School
Attn: John Bowman
629 N Main St
Wellington, OH 44090

Welsh High School
Attn: Coach Richardson
306 E Bourgeois St
Welsh, LA 70591

Wenatchee High School
Attn: Brigid Chvilicek
1101 Millerdale St
Wenatchee, WA 98801

Wes Del High School
Attn: Adam Perdue
10000 N County Rd 600 W
Gaston, IN 47342

Wesclin High School
Attn: Tom Hund or Ray Kauling
699 Wesclin Road
Trenton, IL 62293


Weslaco High School
Attn: Oscar Riojas
1005 W Pike Blvd
Weslaco, TX 78596


Wesley Chapel High School
Attn: Kelly Shoaff
30651 Wells Rd
Wesley Chapel, FL 33544

West Albany High School
Attn: Rich Engel or Patrick Richards
1130 SW Queen Ave
                                        Page 204
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 205 of 216



Albany, OR 97321

West Bend East High School
Attn: Shane Hansen
1305 E Decorah Rd
West Bend, WI 53095

West Bend West High School
Attn: Brian Heimark
1305 E Decorah Rd.
West Bend, WI 53095

West Blocton High School
Attn: Terry Lawley
4734 Truman Aldrich Pky
West Blocton, AL 35184

West Bloomfield High School
Attn: Eric Pierce
4925 Orchard Lake Rd
West Bloomfield, MI 48323

West Brunswick High School Athletics
Attn: Jimmy Fletcher
550 Whiteville Rd SW
Shallotte, NC 28470

West Chester East High School
Attn: Sue Cornelius
450 Ellis Lane
West Chester, PA 19380

West Clermont High School
Attn: James Collins
4101 Bach Buxton Road
Batavia, OH 45103


West Covina High School
Attn: Dr. Stephen R. D. Glass
1609 E Cameron Ave
West Covina, CA 91790

West Creek High School
Attn: Patrick Digby
1210 West Creek Coyote Trail
Clarksville, TN 37042

West Forsyth High School
Attn: Brett Phipps
4155 Drew Rd
Cumming, GA 30040

West Geauga High School
                                       Page 205
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 206 of 216



Attn: Joe Leonette or Tim Skoszen
13401 Chillicothe Rd.
Chesterland, OH 44026

West Grand Booster Club
Attn: Kim Bodemann
PO Box 1031
Kremmling, CO 80459


West High School
Attn: Al Blocker or Kevin Petersen
3505 W Locust St
Davenport, IA 52804


West High School
Attn: Bill Atkinson
20401 Victor St
Torrance, CA 90503

West High School
Attn: David Woodard
801 N Reagan St
West, TX 76691

West High School
Attn: Justin Saylor or Mike Brookhart
951 Elati Ave
Denver, CO 80204

West High School
Attn: Scott Davisson
1200 New Stine Rd
Bakersfield, CA 93309

West Hills High School
Attn: Don Rutledge
8756 Mast Blvd.
Santee, CA 92071

West Monroe High School
201 Riggs St
West Monroe, LA 71291

West Nassau County High School
Attn: Randalyn Bryant
1 Warrior Dr
Callahan, FL 32011

West Ouachita High School
Attn: Gary Mercer
4061 Caples Rd
West Monroe, LA 71292


                                        Page 206
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 207 of 216



West Potomac High School
Attn: Aaron Helmick
6500 Quander Rd
Alexandria, VA 22307

West Ranch High School
Attn: CASSANDRA PEREZ
26255 W. Valencia Blvd.
Stevenson Ranch, CA 91381

West Side Leadership Academy
Attn: Terrance Little
9th Ave & Gerry St
Gary, IN 46406


Westbury High School
11911 Chimney Rock Dr
Houston, TX 77035

Western Brown High School
Attn: Tim Cook
476 W Main St
Mount Orab, OH 45154

Western High School
Attn: Jermaine Hollis
1200 SW 136th St
Davie, FL 33325

Western Hills High School
Attn: Blake Moilan
3600 Boston Ave
Fort Worth, TX 76116

Western International High School
Attn: Terrance Butler
1500 Scotten St
Detroit, MI 48209

Western Reserve Academy
Attn: Herbert Haller
115 College St
Hudson, OH 44236

Westerville Central High School
Attn: Andy Ey
7118 Mount Royal Avenue
Westerville, OH 43082

Westerville North High School
Attn: Wes Elifritz
950 County Line Rd
Westerville, OH 43081

                                        Page 207
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 208 of 216




Westerville South High School
Attn: Josh DeVoll or Buck Weaver
303 S Otterbein Ave
Westerville, OH 43081

Westfield High School
Attn: Bill Davis
18250 N Union St
Westfield, IN 46074

Westfield High School
Attn: Elizabeth Vazquez or Sam Parker
16713 Ella Blvd
Houston, TX 77090

Westfield High School
Attn: Erin M. Mone
550 Dorian Rd
Westfield, NJ 07090

Westhill High School
Attn; Frank Marcucio or Richard Cerone
125 Roxbury Rd
Stamford, CT 06902

Westlake High School
Attn: Christina Harrison or Melissa Cahalan
or Frank Enderle
100 N Lakeview Canyon Rd
Westlake Village, CA 91362

Westlake High School
Attn: Phil Fontenot
1000 Garden Dr
Westlake, LA 70669

Westlake High School
Attn: Jarvis Adams or Robert Wilson
2400 Union Rd SW
Atlanta, GA 30331

Westlake High School
Attn: Tony Cipollone
27830 Hilliard Blvd.
Westlake, OH 44145

Westlake High School
Attn: Dominic Zaccarelli
3300 Middleton Rd
Waldorf, MD 20603

Westlake High School
Attn: Michael O'Connor
                                        Page 208
             Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 209 of 216



99 North Thunder Blvd
Saratoga Springs, UT 84045

Westminster High School
Attn: Glenda Bates
6933 Raleigh St
Westminster, CO 80030

Westmont High School
Attn: D.J. Cocks
909 N Oakwood Dr
Westmont, IL 60559

Westmoore High School
Attn: John Burruss
12613 S Western Ave
Oklahoma City, OK 73170

Weston High School
Attn: Mark Berkowitz
115 School Rd
Weston, CT 06883

Westosha Central High School
Attn: Jonathan Lindh
24617 75th St
Salem, WI 53168

Westover High School
Attn: Johnny Seabrooks
2600 Partridge Ln
Albany, GA 31707

Westside High School
Attn: James LaVois
14201 Briar Forest Dr
Houston, TX 77077

Westside High School
Attn: Rayvan Teague
806 Pearman Dairy Rd
Anderson, SC 29625

Westville Junior Senior High School
207 E. Valparaiso St
Westville, IN 46391

Westwood High School
Attn: Richard Long
945 W 8th St
Mesa, AZ 85201

Westwood High School
                                      Page 209
               Case 19-12233-LSS   Doc 8   Filed 10/18/19   Page 210 of 216



Attn: Dwayne Weirich
12400 Mellow Meadow Dr
Austin, TX 78750

WHARTON ALTERNATIVE SCHOOL
Attn: Mr. Butler
1010 N Rusk
WHARTON, TX 77488


Wharton High School
Attn: Tina Herrington
1 Tiger Ave
Wharton, TX 77488


Wheatley High School
4900 Market St
Houston, TX 77020

Wheaton North High School
Attn: Matt Fisher
701 W Thomas Rd
Wheaton, IL 60190

Wheeler High School
Attn: Randy Stelter
587 W 300 N
Valparaiso, IN 46385

Wheeler High School
1 Mustang Dr
PO Box 1010
Wheeler, TX 79096

White   Oak High School
Attn:   Mitzi Neely
200 S   White Oak Rd
White   Oak, TX 75693

White Plains High School
Attn: Candi Cronan
250 White Plains Road
Anniston, AL 36207

Whitefish Bay High School
Attn: John Gustavson
1200 E Fairmont Ave.
Whitefish Bay, WI 53217

Whitehall High School
Attn: Greg Russell
3100 White Lake Dr
Whitehall, MI 49461


                                       Page 210
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 211 of 216



Whitehaven High School
Attn: Faragi Phillips
4851 Elvis Presley Blvd
Memphis, TN 38109

Whiting High School
Attn: Tyler Tampier
1751 Oliver St
Whiting, IN 46394

Whitney Young Magnet High School
Attn: Chris Cassidy
211 S Laflin St
Chicago, IL 60607


WHS Activities
Attn: Jill Johnson
1400 Community Dr
Waconia, MN 55387

WHS Boys Basketball Booster
Attn: Eric Ezar
1201 FM Rd 830
Willis, TX 77378

Wichita Falls High School
Attn: Scott Hafley
2149 Avenue H
Wichita Falls, TX 76309

Wichita Falls ISD
Attn: Scott Hafley
1104 Broad Street
Wichita Falls, TX 76301

Wiggins Junior Senior High School
Attn: Aaron Phillips
320 Chapman St
Wiggins, CO 80654


Wildcat Booster Club
Attn: Christine Dickson
301 W Hills Rd
Huntington Station, NY 11746

Willamette High School
Attn: Garron Lamoreau
1801 Echo Hollow Rd
Eugene, OR 97402

Willamette High School
Attn: Lance Haas
2067 west 29th Ave
Eugene, OR 97405
                                        Page 211
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 212 of 216




William B Travis High School
Attn: Leal Anderson
1211 E Oltorf St
Austin, TX 78704

William Henry Harrison High School
Attn: Jeff Dierlam
211 Fielding Rd.,
Evansville, IN 47715

William Penn High School
Attn: Matt Sabol
713 E Basin Rd
New Castle, DE 19720

Williams Field High School
Attn: Terri Wattawa or Darrell Stangle
2076 South Higley Road
Gilbert, AZ 85295

Williamsport Area Senior High School
2990 W 4th St
Williamsport, PA 17701

Williamstown High School
Attn: Jeff Givens
219 W 5th St
Williamstown, WV 26187

Willis High School
Attn: Julie Holly
204 W. ROGERS
Willis, TX 77378

Willoughby South High School
Attn: Jim Mormino
5000 Shankland Rd.
Willoughby, OH 44094

Willow Canyon High School
Attn: John Williams
17901 West Lundburg Street
Suprise, AZ 85374


Willowridge High School
Attn: Richard Lazarou
16301 Chimney Rock Rd
Sugar Land, TX 77053


Wimberley High School
Attn: Doug Warren
100 Carney Lane
                                       Page 212
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 213 of 216



Wimberley, TX 78676

Winchester Community High School
Attn: Scott Hargrave
700 N Union St
Winchester, IN 47394

Winchester High School
Attn: Dennis Vortman
200 W Cross St
Winchester, IL 62694

Window Rock High School
Attn: Byron Bolen
PO Box 559
Fort Defiance, AZ 86504

Windsor Charter Academy
Attn: Emily Land
810 AUTOMATION DRIVE
Windsor, CO 80550

Winnetonka High School
Attn: Cheryl Friesz
5815 NE 48th St
Kansas City, MO 64119

Winnfield Senior High School
Attn: Andy Pyles
631 Thomas Mill Rd
Winnfield, LA 71483

Winnsboro High School
Attn: David Pinnell
409 Newsome St
Winnsboro, TX 75494


Winona High School
Attn: Keylon Kincade
605 Wildcat Dr
Winona, TX 75792


Winston Churchill High School
Attn: Ronald Harris
12049 Blanco Rd
San Antonio, TX 78216

Winston Churchill Senior High School
Attn: Jesse Smith
11300 Gainsborough Rd
Potomac, MD 20854

Winter Haven High School
                                       Page 213
             Case 19-12233-LSS   Doc 8    Filed 10/18/19   Page 214 of 216



Attn: Marcus Pritchard
600 6th St SE
Winter Haven, FL 33880

Winton Woods High School
Attn: David Lumpkin
1231 W Kemper Rd
Cincinnati, OH 45251

Withrow High School
Attn: Monica Ratterman
2520 Madison Rd
Cincinnati, OH 45208

Wollmuth Maher & Deutsch LLP
500 Fifth Avenue
New York, NY 10110

Wolsey Wessington School
Attn: Jennifer Boomsma
375 Ash St SE
PO Box 428
Wolsey, SD 57385

Wood River High School
Attn: Kevin Stilling
1250 Fox Acres Rd
Hailey, ID 83333

Woodland High School
Attn: John Howard
800 Old Alabama Rd
Cartersville, GA 30120

Woodland Hills High School
Attn: Timothy Bostard
2550 Greensburg Pike
Pittsburgh, PA 15221

Woodridge High School
Attn: Nick Mayer
4440 Quick Rd
Peninsula, OH 44264

Woodrow Wilson Classical High School
Attn: Jeffrey Evans
4400 E 10th St
Long Beach, CA 90804

Woodrow Wilson High School
Attn: Tim Carrico
400 Stanford Rd
Beckley, WV 25801

                                       Page 214
             Case 19-12233-LSS      Doc 8   Filed 10/18/19   Page 215 of 216




Woodstock High School
Attn: Tonya Sebring
2000 Townlake Hills S. Dr.
Woodstock, GA 30189

Wooster High School
Attn: Andy Kellar
515 Oldman Rd
Wooster, OH 44691

Worcester Technical High School
Attn: Paul Dowd
1 Skyline Dr.
Worcester, MA 01605

Worthing High School
Attn: James LaVois
9215 Scott St
Houston, TX 77051

Worthington High School
Attn: Josh Dale
1211 Clary Street
Worthington, MN 56187

Worthington High School
Attn: Scott Langerud
1600 Stower Drive
Worthington, MN 56187


Worthington Kilbourne High School
Attn: Jeff Todd
1499 Hard Rd
Worthington, OH 43235

Wossman High School
Attn: Randall Smith
1600 Arizona Ave
Monroe, LA 71202

Wylie High School
Attn: Virdie Montgomery or Eric Maxey
or Kyle Craighead
2550 W Farm Rd 544
Wylie, TX 75098

Wyoming Area High School
20 Memorial St
Exeter, PA 18643


Wyoming High School
Attn: Jan Wilking
106 Pendery Ave
                                        Page 215
             Case 19-12233-LSS     Doc 8   Filed 10/18/19   Page 216 of 216



Wyoming, OH 45215

Yates High School
Attn: Ronnie Morgan
3703 Sampson St
Houston, TX 77004

York Catholic High School
Attn: Rick Luckman
601 E Springettsbury Ave.
York, PA 17403

Yorktown High School
Attn: Paul Heidenreich
1100 S Tiger Dr
Yorktown, IN 47396

Yorkville High School
Attn: Eva Schoenfielder
797 Game Farm Rd.
Yorkville, IL 60560

Youngstown City School Distric
Attn: Rick Shepas / Athletics
474 Benington Ave.
Youngstown, OH 44511

Ypsilanti Community High School
Attn: Lawrence Reeves
2095 Packard Rd.
Ypsilanti, MI 48197

Ysleta High School
8600 Alameda
El Paso, TX 79907

Yukon High School
Attn: Mike Clark
1777 S. Yukon Parkway
Yukon, OK 73099

Zion-Benton Township High Scho
Attn: Lonnie Bible
3901 21st St.
Zion, IL 60099

Zionsville Community High School
Attn: Greg Schellhase
1000 Mulberry St
Zionsville, IN 46077




                                       Page 216
